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11
                             UNITED STATES DISTRICT COURT
12
                           CENTRAL DISTRICT OF CALIFORNIA
13
                                     WESTERN DIVISION
14
15   ARKANSAS TEACHER RETIREMENT                Case No. 17-cv-08841-VAP(SKx)
     SYSTEM and JOHN A. PROKOP,
16   Individually and on Behalf of All Others   CONSOLIDATED CLASS
     Similarly Situated,                        ACTION
17
                       Plaintiffs,              CONSOLIDATED CLASS
18                                              ACTION COMPLAINT FOR
           vs.                                  VIOLATIONS OF THE FEDERAL
19                                              SECURITIES LAWS
     OSI SYSTEMS, INC., DEEPAK
20   CHOPRA, ALAN EDRICK,
     and AJAY MEHRA                             DEMAND FOR JURY TRIAL
21
                       Defendants.              Judge: Hon. Virginia A. Phillips
22
23
24
25
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27
28
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 1         This is a class action for violations of the federal securities laws brought by
 2   Plaintiffs Arkansas Teacher Retirement System (“Lead Plaintiff”) and named
 3   plaintiff John A. Prokop (collectively, “Plaintiffs”) individually and on behalf of all
 4   persons who purchased or otherwise acquired OSI Systems, Inc.’s (“OSI” or the
 5   “Company”) common stock and 1.25% convertible senior notes due 2022 (“OSI
 6   Bonds”) (collectively, “OSI Securities”) between August 21, 2013 and February 1,
 7   2018, inclusive (the “Class Period”).1 Plaintiffs allege violations of Sections 10(b)
 8   and 20(a) of the Securities Exchange Act of 1934 (“Exchange Act”), and Rule 10b-5
 9   promulgated by the Securities and Exchange Commission (“SEC”) thereunder (17
10   C.F.R. § 240.10b-5), against: (i) OSI; (ii) OSI’s Chief Executive Officer (“CEO”)
11   Deepak Chopra (“Chopra”); (iii) OSI’s Chief Financial Officer (“CFO”) Alan Edrick
12   (“Edrick”); and (iv) OSI’s Executive Vice President and Director, Ajay Mehra
13   (“Mehra”) (collectively, “Defendants”).
14         Plaintiffs allege the following based upon personal knowledge with respect to
15   Plaintiffs’ own acts, and upon information and belief as to all other matters based on
16   the investigation undertaken by Court-appointed Lead Counsel, Kessler Topaz
17   Meltzer & Check, LLP (“Lead Counsel”) and its agents, including Albanian
18   consultants and an Albanian-speaking attorney.          Lead Counsel’s investigation
19   included, inter alia, the review and analysis of: (i) public filings by OSI with the
20   SEC; (ii) public reports and news articles regarding OSI, including online news
21   sources; (iii) research reports regarding OSI by securities and financial analysts; (iv)
22   economic analyses of securities price movements and data; (v) transcripts of investor
23   calls and conferences with OSI senior management; (vi) interviews with former OSI
24   employees (identified herein as Confidential Witnesses (“CWs”); (vii) public
25   documents from Albania, reviewed and/or translated into English by an Albanian-
26   speaking attorney; and (viii) other publicly available material and data identified
27   1
            Excluded from the Class are Defendants, directors and officers of OSI and
28   their families and affiliates.
     CONSOLIDATED CLASS ACTION COMPLAINT                                      1
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 1   herein.    Lead Counsel and its agents’ investigation into the factual allegations
 2   contained herein is continuing and many of the facts supporting Plaintiffs’ allegations
 3   are known only to Defendants or are exclusively within Defendants’ custody or
 4   control. Plaintiffs believe that further substantial evidentiary support will exist for
 5   the allegations contained herein after a reasonable opportunity for discovery.
 6
           INTRODUCTION
 7
           1.     OSI manufactures and sells electronic scanning systems and components
 8
     for homeland security, healthcare, defense, and aerospace. During the Class Period,
 9
     the Company generated more than 50% of its revenues from its core Security
10
     division, operated primarily through its Rapiscan Systems, Inc. (“Rapiscan”)
11
     subsidiary, which sells and provides services for X-ray security and inspection
12
     systems to detect explosives, weapons, drugs, and other illegal goods.
13
           2.     Before the Class Period, Rapiscan’s largest and most important customer
14
     was the U.S. Government, including the Department of Homeland Security (“DHS”)
15
     and the Transportation Security Administration (“TSA”). These government entities
16
     purchased OSI’s security and inspection systems for use at airports, border crossings,
17
     shipping ports, military installations, and other locations.
18
           3.     From approximately 2011 to 2013, OSI was plagued by multiple
19
     scandals involving its contracts with the U.S. Government. First, in November 2012,
20
     a U.S. Congressman sent a letter to the TSA stating that Rapiscan “may have
21
     attempted to defraud the Government” by “knowingly manipulating” body scanner
22
     tests and concealing information relating to its contracts with the TSA.2 These
23
     allegations led to the U.S. Government’s issuance of a “show cause” letter and
24
     “Notice of Proposed Debarment” of Rapiscan from future DHS contracts.
25
           4.     Second, OSI was accused of misleading the U.S. Government from 2010
26
     through 2013 regarding its checkpoint baggage and parcel scanners, including
27
     2
28        Throughout this Complaint, all emphasis is added unless otherwise noted.
     CONSOLIDATED CLASS ACTION COMPLAINT                                       2
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 1   concealing the use of unapproved Chinese components to repair and manufacture
 2   scanners in violation of its contract with the TSA. OSI’s actions resulted in the
 3   termination of a $67.1 million contract with the DHS and an “Administrative
 4   Agreement” with the DHS which concluded, inter alia, that Rapiscan “provided false
 5   or misleading information to the Government.” This conduct led to a federal civil
 6   securities fraud lawsuit that ultimately settled for $15 million in 2015. It also resulted
 7   in the effective ouster of Defendant Mehra—Chopra’s first cousin who led Rapiscan
 8   during its government contract schemes—from his role as President of Rapiscan. As
 9   detailed herein, however, Mehra was simply transferred to another OSI division that
10   soon became the hub of Defendants’ newest financial scheme.
11         5.     In the wake of these scandals, Defendants realized that OSI needed to
12   reduce its dependence on U.S. Government contracts and convince investors that the
13   Company: (i) had put past improprieties behind it; (ii) had implemented adequate
14   monitoring policies and internal controls to prevent future non-compliance and
15   misconduct; and (iii) could pivot OSI’s business to larger, long-term service contracts
16   with foreign governments. Defendants thus embarked on an intensive campaign to
17   shift investor focus to a new business model called “turnkey security screening
18   solutions,” that purportedly would “transform the Company” and provide future
19   growth and more consistent revenues.
20         6.     Defendants represented that under the “turnkey” model, sold through the
21   Company’s “S2 Global” subsidiary, OSI provided full turnkey services to support
22   foreign governments and customs officials with the installation, maintenance, and
23   operation of the Company’s security inspection products—as well as the
24   construction, staffing, and long-term operation of security screening checkpoints. The
25   turnkey model differed from OSI’s traditional equipment sales business in that the
26   customer did not own the equipment but instead paid a subscription or per-scan fee.
27   During the Class Period, Defendants repeatedly told investors that its turnkey model
28
     CONSOLIDATED CLASS ACTION COMPLAINT                                             3
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 1   was OSI’s most promising new business segment that would provide higher profit
 2   margins, greater revenue visibility and consistency, and substantial growth
 3   opportunities in international markets.
 4         7.     To support this turnkey narrative, Defendants needed to show the market
 5   and analysts that foreign governments were willing to pay exorbitant fees for long-
 6   term service contracts, as opposed to simply buying the equipment and running it
 7   themselves (which was far cheaper). Leading up to the Class Period, however, the
 8   Company had only booked a total of two turnkey contracts in Mexico and Puerto
 9   Rico and had not announced a new major turnkey deal since 2012. This caused
10   intense pressure from analysts who repeatedly questioned Defendants about the
11   timing of the next big turnkey contract.
12         8.     On August 21, 2013, the first day of the Class Period, Defendants finally
13   announced a new long-term turnkey contract with the government of Albania, then
14   controlled by the Prime Minister Sali Berisha (“Berisha”) and his Democratic Party.
15   According to the Company, the Albanian turnkey contract provided a 15-year term
16   and $150 million to $250 million in revenues.         The Company’s press release
17   announcing the deal quoted Defendant Mehra as stating: “our selection [for the
18   Albanian contract] reinforces the attractiveness and compelling value of our
19   turnkey service model.”
20         9.     Throughout the Class Period, Defendants continued to tout the
21   Company’s turnkey business model, and in particular, the Albanian contract, as
22   evidence of the acceptance and success of the turnkey solution. For example, on
23   January 28, 2014, Defendant Chopra proclaimed, “[a]fter winning the new turnkey
24   services contract earlier this year in Albania, we have clearly established our
25   leadership in growing this particular service segment and expect to continue to
26   leverage our position for further growth.” Similarly, on March 4, 2014, the
27
28
     CONSOLIDATED CLASS ACTION COMPLAINT                                          4
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  1   Company’s CFO, Defendant Edrick, stated that the turnkey model provided the
  2   Company with a “first-mover advantage” over competitors:
  3         [W]hat’s been driving the growth over the past year has been largely
            dominated by our turnkey security solutions. We pioneered this area.
  4         …There’s only been three contracts of this type awarded to the world.
            And to date, well, we’ve won all three. So today, we have 100% market
  5         share in that area.
  6
            10.   Defendants continued to represent that the turnkey model “has been
  7
      extraordinarily successful for us” and “in just a few short years, this has gone from
  8
      0% of our Security business to about 30% today. So it’s been very, very exciting.
  9
      It’s a nice revenue, higher margin business for us of a recurring nature.” Defendants
10
      also issued numerous public filings with the SEC assuring investors that, inter alia:
11
      (i) the Company’s financial disclosures were accurate; (ii) its SEC filings did not
12
      contain misstatements and “fairly present[ed]” the Company’s business condition “in
13
      all material respects”; and (iii) OSI’s internal compliance controls were adequate to
14
      prevent misstatements, corruption, and impropriety, including under the U.S. Foreign
15
      Corrupt Practices Act (“FCPA”) and the federal securities laws.
16
            11.   Unbeknownst to investors, Defendants’ representations regarding the
17
      success and sustainability of the turnkey model, including the Albanian contract,
18
      were materially false and misleading and deliberately concealed material facts. Most
19
      prominently, Defendants concealed that the Company’s $150 to $250 million turnkey
20
      contact with the Albanian government was subject to a secret and corrupt
21
      arrangement whereby OSI surreptitiously transferred 49% of its Albanian contract
22
      entity and lucrative “profit shar[ing]” rights to an undisclosed Albanian shell entity
23
      owned by an Albanian dentist, Olti Peçini (“Peçini”), with reported ties to the
24
      outgoing Albanian government that issued the contract to OSI.
25
            12.   Under the hidden arrangement, OSI agreed to set up an Albanian
26
      business subsidiary, S2 Albania SHPK (“S2 Albania”), to service and own rights and
27
      obligations of the $150 to $250 million Albanian turnkey contract.          OSI then
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                          5
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  1   transferred 49% of that company to an Albanian holding company—Inspection
  2   Control & Measuring Systems SHPK (“ICMS”)—for a price of only 490 Albanian
  3   Lekë—the equivalent of $4.50. This arrangement, personally overseen and executed
  4   by Defendant Mehra, also included an undisclosed “profit shar[ing]” agreement with
  5   ICMS relating to the Albanian turnkey contract. Notably, the Albanian Minister of
  6   Finance’s approval of the 49% transfer to ICMS occurred only a few days before his
  7   party left office and the new regime came to power.
  8         13.    None of these facts were disclosed to investors. Indeed, throughout the
  9   Class Period, Defendants continued to conceal the corrupt Albanian arrangement
10    while repeatedly touting the significance of the Albanian turnkey deal as
11    demonstrating widespread acceptance of the “transformative” new business model.
12    In bond offering documents issued in February 2017, OSI falsely represented that it
13    owned “all of the issued and outstanding capital stock” of its subsidiaries, including
14    “S2 Albania,” despite knowing that 49% of that subsidiary and lucrative profit-
15    sharing rights had been transferred to ICMS years earlier for the paltry sum of $4.50.
16          14.    At the same time Defendants were concealing the corrupt Albanian
17    arrangement, they also were dumping hundreds of thousands of shares of OSI stock
18    at artificially inflated prices, collectively pocketing more than $51 million in
19    proceeds. Defendants’ stock dispositions represented large percentages of their total
20    stock holdings and were suspiciously timed to take advantage of OSI’s inflated stock
21    price. Indeed, during the middle of the Class Period, only two weeks after OSI
22    disclosed that the new Albanian government “halted further progress” on OSI’s
23    turnkey contract, Defendant Chopra entered into a Rule 10b5-1 stock “trading plan”
24    to facilitate the immediate sale of 48,000 shares of OSI stock to unsuspecting
25    investors for millions of dollars in illicit proceeds. As detailed below, both the SEC
26    and U.S. Attorney’s Office for the Central District of California (“DOJ”) are now
27    investigating OSI’s executives’ stock trading.
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                           6
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  1         15.   On December 6, 2017, Muddy Waters Research (“MWR”) issued a
  2   detailed report exposing certain facts surrounding the corrupt Albanian contract,
  3   including the previously undisclosed transfer of 49% of OSI’s Albanian turnkey
  4   entity to ICMS (the “MWR Report”). The MWR Report concluded that OSI was
  5   “rotten to the core” and “obtained a major turnkey contract in Albania through
  6   corruption.” The report included translations from previously undisclosed Albanian
  7   reports calling OSI’s turnkey contract the “theft of the century” and a “Mafia of
  8   scanning concession.” One such report asked “how did the doctor Olti Peçini [buy]
  9   49% of the shares of a concession worth 316 million USD for 490 lekë. Who is
10    hiding behind the ICMS…?!”
11          16.   Within hours of the MWR Report, Defendants issued a cryptic press
12    release admitting certain core facts underlying the report—namely, the previously
13    undisclosed partnership and “profit shar[ing]” arrangement with ICMS surrounding
14    the Albanian contract. Defendants continued, however, to falsely deny and conceal
15    certain details and known risks surrounding the contract, and misleadingly suggested
16    that the deal was legitimate. Following these revelations (and despite Defendants’
17    misleading statements of comfort), the price of OSI’s common stock and OSI Bonds
18    plummeted by more than 29% and 15%, respectively, causing significant damage to
19    OSI investors.
20          17.   Less than eight weeks later, on February 1, 2018, OSI abruptly
21    announced that it was the target of investigations by both the SEC and DOJ regarding
22    its compliance with the FCPA. The same disclosure revealed that “[t]he SEC and
23    DOJ are also conducting an investigation of trading in the Company’s securities,
24    and have subpoenaed information regarding trading by executives, directors and
25    employees, as well as Company operations and disclosures in and around the time
26    of certain trades.”   Upon this further revelation of previously concealed risks
27    associated with Defendants’ misleading statements, omissions and stock trading, the
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                        7
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  1   price of the Company’s common stock and OSI Bonds dropped another 18% and
  2   about 6%, respectively, causing further damage to Class members.
  3         18.    Defendants’ fraudulent conduct during the Class Period has caused
  4   significant damage to investors and long-term injury to the Company and its stock
  5   price. OSI’s stock price has never fully recovered and currently hovers at around $65
  6   per share, roughly 30% lower than its Class Period high of over $95 per share.
  7
            JURISDICTION AND VENUE
  8
            19.    The claims asserted herein arise under Sections 10(b) and 20(a) of the
  9
      Exchange Act (15 U.S.C. § 78j(b) and § 78t(a)), and Rule 10b-5 promulgated
10
      thereunder (17 C.F.R. § 240.10b-5).
11
            20.    This Court has jurisdiction over the subject matter of this action pursuant
12
      to § 27 of the Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331.
13
            21.    Venue is proper in this District pursuant to Section 27 of the Exchange
14
      Act, 15 U.S.C. § 78aa and 28 U.S.C. § 1391(b). Many of the acts and transactions
15
      alleged herein, including the preparation and dissemination of materially false and
16
      misleading information, occurred in substantial part in this District. Additionally,
17
      OSI’s principal executive offices are located within this District.
18
            22.    In connection with the acts, transactions, and conduct alleged in this
19
      Complaint, Defendants directly and indirectly used the means and instrumentalities
20
      of interstate commerce, including the United States mail, interstate telephone
21
      communications, and the facilities of a national securities exchange.
22
23          PARTIES

24          A.     Plaintiffs

25          23.    Lead Plaintiff Arkansas Teacher Retirement System is a large pension
26    fund for Arkansas’s public school and education employees, with approximately $15
27    billion in assets under management and provides retirement, disability, and survivor
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                           8
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  1   benefits for more than 120,000 members. Lead Plaintiff purchased the OSI Securities,
  2   as set forth in its certification filed herewith, at artificially inflated prices during the
  3   Class Period, and suffered damages as a result of the misconduct alleged herein.
  4         24.    Named plaintiff John A. Prokop purchased OSI common stock, as set
  5   forth in his certification filed herewith, at artificially inflated prices during the Class
  6   Period, and suffered damages as a result of the misconduct alleged herein.
  7         B.     Defendants
  8
                          Corporate Defendant OSI
  9
            25.    OSI is incorporated in Delaware with its “World Headquarters” located
10
      in Hawthorne, California. OSI designs, develops, manufactures, and provides
11
      services related to electronic systems and components for applications in homeland
12
      security, healthcare, defense, and aerospace, through several wholly-owned
13
      subsidiaries, including Rapiscan Systems and S2 Global. OSI does business both
14
      domestically and internationally, including in Albania and Mexico. OSI common
15
      stock trades on the NASDAQ under the ticker symbol “OSIS.”
16
17                        Individual Defendants

18          26.    Defendant Chopra is the founder of OSI and, at all relevant times, was
19    the Company’s President, CEO, and Chairman of the Company’s Board of Directors.
20    In these roles, Chopra certified and signed the Company’s Form 10-Ks, including
21    those filed on August 16, 2013, August 27, 2014, August 24, 2015, August 19, 2016,
22    and September 7, 2017; and the Company’s Form 10-Qs, including those filed on
23    October 25, 2013, January 30, 2014, May 2, 2014, October 24, 2014, January 27,
24    2015, April 28, 2015, October 30, 2015, January 28, 2016, April 28, 2016, October
25    31, 2016, February 1, 2017, April 27, 2017, and October 31, 2017.
26          27.    Defendant Edrick is and, at all relevant times was, OSI’s Executive Vice
27    President and CFO. Edrick has over 25 years of financial management and public
28
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  1   accounting experience, including mergers and acquisitions and regulatory
  2   compliance. As CFO of OSI, Edrick certified and signed the Company’s Form 10-Ks,
  3   including those filed on August 16, 2013, August 27, 2014, August 24, 2015, August
  4   19, 2016, and September 7, 2017; and the Company’s Form 10-Qs, including those
  5   filed on October 25, 2013, January 30, 2014, May 2, 2014, October 24, 2014, January
  6   27, 2015, April 28, 2015, October 30, 2015, January 28, 2016, April 28, 2016,
  7   October 31, 2016, February 1, 2017, April 27, 2017, and October 31, 2017.
  8         28.    Defendant Mehra is and, at all relevant times was, OSI’s Executive Vice
  9   President, the President of OSI Solutions Business, and a member of OSI’s Board of
10    Directors. Mehra currently serves as the President of S2 Global—a position held
11    since 2014. From 1998 to 2015, Mehra was the President of OSI’s Security division.
12    Mehra also served as President of OSI’s subsidiary, Rapiscan Systems, from
13    September of 2007 until his removal in August of 2014. Prior to serving as Executive
14    Vice President of OSI, Mehra was the Company’s CFO from November 1992
15    through November 2002. Mehra signed the Company’s Form 10-Ks, including those
16    filed on August 16, 2013, August 27, 2014, August 24, 2015, August 19, 2016, and
17    September 7, 2017. Mehra reported to Defendant Chopra and is Chopra’s first cousin.
18          29.    Defendants Chopra, Edrick, and Mehra are referred to collectively
19    herein as the “Individual Defendants.”
20          30.    Defendants are liable under Section 10(b) for making false and
21    misleading statements and omitting material adverse facts and/or participating in the
22    fraudulent course of conduct alleged herein. In addition, each of the Individual
23    Defendants was a “controlling person” within the meaning of Section 20(a) of the
24    Exchange Act, as they possessed direct or indirect power to direct or cause the
25    direction of the management and the policies of the Company and persons who
26    engaged in the unlawful conduct complained of herein in violation of Section 10(b).
27    Due to their control, the Individual Defendants are jointly and severally liable for any
28
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  1   false and misleading statements, omissions, or conduct alleged herein that are
  2   attributable to OSI or other person they controlled.
  3         31.    Because of their positions and responsibilities, each of the Individual
  4   Defendants had access to the adverse undisclosed information about OSI’s turnkey
  5   business and operations, including details about its turnkey contract with Albania,
  6   and its internal controls via access to internal corporate documents, conversations and
  7   contact with other corporate officers and directors, attendance at meetings, and
  8   receipt of and/or access to reports and other information provided to them. Each of
  9   the Individual Defendants, by virtue of his high-level position, was directly involved
10    in the operations of OSI at the highest levels and was privy to confidential
11    information concerning the Company.
12          32.    Their positions of control and authority as officers or directors also
13    enabled these Individual Defendants to control the content of the SEC filings, press
14    releases, and other public statements of OSI during the Class Period. Accordingly,
15    each of the Individual Defendants bears responsibility for the accuracy of the public
16    reports and press releases detailed herein and is therefore primarily liable for the
17    misrepresentations and omissions contained therein.
18          33.    During the Class Period, each of the Individual Defendants substantially
19    approved, participated in the preparation of, furnished information in connection
20    with, and had ultimate authority for OSI’s SEC filings, press releases, and public
21    statements, and engaged in conduct that made it necessary or inevitable that material
22    misrepresentations or omissions would be made to investors based on that conduct.
23          34.    The Defendants were obligated to refrain from issuing false and
24    misleading public filings and were prohibited from using the instrumentalities of
25    interstate commerce or the U.S. mails to: (i) employ any device, scheme or artifice to
26    defraud; (ii) make any untrue statement of a material fact or to omit to state a material
27    fact necessary in order to make the statements made, in light of the circumstances
28
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  1   under which they were made, not misleading; or (iii) engage in any act, practice or
  2   course of business which operates or would operate as a fraud upon any person.
  3   Defendants’ conduct violated the Exchange Act and SEC regulations promulgated
  4   thereunder in connection with the purchase or sale of OSI Securities.
  5         35.   Each of the Individual Defendants is liable as a participant in a
  6   fraudulent scheme and course of business whose primary purpose and effect was to
  7   operate as a fraud and deceit on purchasers of OSI Securities by disseminating
  8   materially false and misleading statements and/or concealing material adverse facts
  9   about OSI’s turkey operations, including its contract with Albania. Defendants’
10    course of conduct deceived the investing public and caused Plaintiffs and other
11    members of the Class to be damaged as a result of their acquisition of OSI Securities.
12          C.    Relevant Non-Parties
13
            36.   CW 1 was a Vice President of OSI’s Rapiscan division in 2014 and
14
      2015. CW 1 was part of the team that was brought in after the TSA threatened
15
      Rapiscan with debarment.3 In CW 1’s role, CW 1 was involved with Rapiscan’s
16
      contracts in foreign countries, dealt directly with the TSA, and spoke numerous times
17
      with Chopra and Mehra.
18
            37.    CW 2 was employed as a Director at Rapiscan from at least 2007
19
      through mid to late 2013. In CW 2’s position at Rapiscan, CW 2 had direct access to
20
      the U.S. Government, including Customs and Border Protection, the State
21
      Department, and the Commerce Department. CW 2 was also involved in Rapiscan’s
22
      international operations, particularly when problems arose with foreign sales. During
23
      her tenure at the Company, CW 2 attended a couple of the Company’s once-per-
24
      quarter meetings with executives from all divisions, including Defendant Chopra.
25
26
27    3
           To preserve anonymity, all CWs are referred to herein using feminine
28    pronouns.
      CONSOLIDATED CLASS ACTION COMPLAINT                              12
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  1         38.    CW 3 was a Rapiscan Executive from 2013 through 2015. CW 3 had
  2   direct communications with Defendant Mehra until February 2014, when Mehra was
  3   removed from her position. Thereafter, CW 3 had direct communications with
  4   Defendant Chopra. CW 3 was familiar with the Albanian turnkey contract from
  5   conversations with Mehra.
  6         39.    Jonathan Fleming (“Fleming”) founded S2 Global in 2009 and assisted
  7   in the merger of S2 Global into OSI in 2010. Fleming was the President of S2 Global
  8   until 2014, when Mehra was named President of S2 Global. Since 2014, Fleming has
  9   been the Executive Vice President of S2 Global. Since March 19, 2013, Fleming has
10    been the administrator of Rapiscan’s Albanian subsidiary S2 Albania.
11          BACKGROUND AND OVERVIEW OF DEFENDANTS’ SECURITIES
            LAW VIOLATIONS
12
13          40.    OSI operates through three primary divisions: (i) Security; (ii)

14    Healthcare; and (iii) Optoelectronics and Manufacturing. The Security division is the

15    largest and most important, representing approximately 50% of the Company’s net

16    revenues between 2013 and 2017. Defendant Edrick described OSI’s Security

17    business as “our biggest business.” As a result, investors and analysts were highly

18    focused on OSI’s Security division during the Class Period.

19          41.    OSI’s Security division consists of two segments: (i) Rapiscan, which

20    designs, manufactures, and markets, and sells security inspection systems; and (ii)

21    S2, which provides what the Company calls “turnkey security screening solutions,”

22    as described in detail in Section IV.B. below. Historically, OSI focused on its

23    Rapiscan equipment business. However, with the Company’s traditional business

24    model faltering due to Defendants’ misconduct surrounding its U.S. Government

25    contracts, Defendants shifted focus to the turnkey business as the driving force of the

26    Company’s future success.

27
28
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  1         A.    Prior to the Class Period, OSI’s Core Business Was Under Pressure
  2         42.   Traditionally, OSI’s “base business model” was the manufacture and
  3   sale of security equipment through Rapiscan. These products include systems for
  4   baggage and parcel inspection, cargo and vehicle inspection, checked baggage
  5   screening, people screening, and radiation detection. The products are used for
  6   security purposes at locations such as airports, border crossings, shipping ports,
  7   military and other government installations, and freight forwarding facilities. In
  8   addition to equipment sales, Rapiscan also generated revenues by providing “after-
  9   market support,” including the sale of spare parts and maintenance services.
10    Rapiscan’s main customers were domestic and foreign government agencies,
11    including the TSA, the DHS, U.S. Customs and Border Protection, Puerto Rico,
12    Mexico, and Albania.
13          43.   Prior to the Class Period, Rapiscan’s single largest customer was the
14    U.S. Government, which provided a substantial portion of the Company’s revenue.
15    As OSI disclosed in Forms 10-K between 2009 and 2013, “[t]he U.S. government
16    currently plays an important role in funding the development of certain of our
17    security and inspection systems and sponsoring their deployment at airports, ports,
18    military installations and border crossings.” Moreover, according to a December 9,
19    2013 Bloomberg article titled “OSI Tumbles on Possible Contract Ban for Chinese
20    Parts,” between 2009 and December 2013, OSI received a total of $463 million in
21    U.S. Government contracts—nearly a third of the Security division’s total reported
22    net revenue for the same period.
23                       Under Defendant Mehra’s Leadership, Rapiscan                  Is
                         Repeatedly Accused of Defrauding the U.S. Government
24
25          44.   Defendant Mehra—who is Defendant Chopra’s first cousin—served as

26    the President of Rapiscan since at least 2005. Under his leadership, Rapiscan’s

27    relationship with the U.S. Government deteriorated between 2009 and 2013 when

28    Rapiscan was accused of two separate schemes to mislead the government. These
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  1   scandals led to the cancellation of multi-million dollar contracts with the U.S.
  2   Government, subjected the Company to increased scrutiny, and caused Rapiscan to
  3   lose market share.
  4         45.    First, Rapiscan was accused of fraud in connection with a $173 million
  5   contract awarded by the TSA in 2009 for “whole-body imaging” scanners to be used
  6   for security screening in U.S. airports (the “2009 Contract”). In November 2012,
  7   TSA issued a show cause letter alleging that Rapiscan failed to fully disclose issues it
  8   discovered during the development of body scanners under the 2009 Contract.
  9   Shortly thereafter, Congressman Mike Rogers (then Chairman of the Homeland
10    Security Subcommittee on Transportation Security) asserted that OSI “may have
11    attempted to defraud the Government by knowingly manipulating an operational test
12    of [the] . . . software in the field in order to have a successful outcome.”
13          46.    On January 17, 2013, OSI announced that the TSA had cancelled the
14    $173 million 2009 Contract with Rapiscan. Four months later, OSI announced that
15    the DHS had issued a “Notice of Proposed Debarment” in connection with TSA’s
16    show cause letter, which “allege[d] that Rapiscan failed to disclose a defect with the
17    Products and replaced hardware in the Products without being granted proper
18    governmental approval.” The Notice of Debarment proposed prohibiting Rapiscan
19    from doing any future business with the U.S. Government.
20          47.    Second, Rapiscan was accused of fraud in connection with a $325
21    million contract awarded in 2010 (before the first scandal was exposed) by the TSA
22    for checkpoint baggage and parcel scanners (the “2010 Contract”). On November 20,
23    2013, the TSA issued Rapiscan another show cause letter regarding Rapiscan’s use of
24    unapproved components for the scanners, concluding that Rapiscan “provided false
25    or misleading information to the Government,” which “was a sufficient independent
26    basis for TSA to terminate” the contract. As a result, the TSA canceled the $67
27    million 2010 Contract on December 4, 2013. Thereafter, OSI issued a press release
28
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  1   admitting that the component change “did not meet the contractual requirement of
  2   obtaining TSA’s approval in advance.”
  3                      OSI Moves Defendant Mehra to S2 After the U.S.
                         Government Demands His Removal from Rapiscan
  4
  5         48.   Defendants’ repeated scandals with the U.S. Government had serious

  6   implications for the Company. A debarment from the DHS would prevent OSI from

  7   contracting with the U.S. Government in the future, jeopardizing hundreds of

  8   millions of dollars in Company revenue. To avoid this outcome, OSI made several

  9   concessions to the U.S. Government, including the removal of Defendant Mehra as

10    President of Rapiscan and the imposition of extensive compliance requirements.

11          49.   As discussed above, Mehra was Rapiscan’s President during the time it

12    repeatedly misled the U.S. Government. According to CW 1, the TSA saw Defendant

13    Mehra as “slick,” “not trustworthy,” a “PNG” or persona non grata, and not willing

14    to meet government compliance requirements.4 CW 1 also noted that, in

15    conversations between CW 1 and the TSA after the misconduct occurred, the TSA

16    often asked CW 1 whether Defendant Mehra, specifically, had been involved in any

17    way with the contract because the TSA did not trust Mehra and believed that he was

18    not willing to satisfy contract compliance requirements, and that he would push non-

19    compliance forward. Thus, the TSA did not want Mehra involved in any TSA

20    contracts after the threat of debarment and pushed to have Mehra terminated.

21          50.   CW 1 explained that the Company agreed to terminate Mehra as

22    President of Rapiscan as part of a consent decree with the TSA. Instead of removing

23    Mehra from OSI altogether, however, and despite the allegations of fraud at Rapiscan

24    under his watch—in 2014 OSI promoted Mehra to President of S2 Global. In this

25    position, Mehra would oversee the Company’s all-important turnkey solutions

26    business—which Defendant Edrick called “one of the most exciting areas within our

27    4
            “Persona non grata” means an unacceptable or unwelcome person, and is
28    typically used to indicate a person who is prohibited from entering a location.
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  1   Security business[,]” an area that “really significantly transformed our overall
  2   financial [situation],” the “number one” “biggest growth opportunit[y] for us in
  3   Security[,]” and “a tremendous opportunity for us.” In short, rather than terminating
  4   Mehra for spearheading multiple schemes, OSI put him in charge of one of the most
  5   important businesses in the Company—one which the Company told investors was
  6   going to fill the revenue hole and credibility gap created by those schemes.
  7         51.    In addition to “removing” Defendant Mehra, OSI was subjected to
  8   additional compliance requirements that further burdened OSI’s business in the U.S.
  9   In particular, OSI entered into a 30-month administrative agreement (“Administrative
10    Agreement”) with the DHS whereby the Company agreed to certain compliance
11    upgrades and organizational improvements, made certain personnel changes, and
12    created additional positions dedicated to compliance and quality assurance.
13          52.    More specifically, the Administrative Agreement required Rapsican to
14    “maintain a self-governance program that includes compliance programs for internal
15    controls, designed for the effective monitoring and auditing of contracts and grants,
16    and a business ethics program that covers all employees.” It also required Rapiscan to
17    “maintain a robust and functional program that includes business ethics compliance
18    programs, and internal controls to ensure that Rapiscan effectively monitors, audits,
19    and communicates about its compliance and ethics obligations and its commitment to
20    the highest standards of integrity and transparency.” Additionally, the reporting
21    requirements required that Rapiscan “submit a written report to DHS describing the
22    measures taken by Rapiscan during the semi-annual period to implement the business
23    ethics program and to ensure compliance with [the] Agreement.”
24                       Rapiscan’s Traditional Business Struggles               After   Its
                         Regulatory Problems with the U.S. Government
25
26          53.    Despite narrowly avoiding total disbarment, leading into the Class

27    Period, OSI’s misfeasance was taking a serious toll on the Company’s core Security

28    business. According to CW 2, the Company’s actions in connection with the U.S.
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  1   Government contracts were “grossly unethical,” ultimately cost the Company
  2   millions of dollars, and had a major effect on sales, operations, and morale. Indeed,
  3   the combined value of the two contracts TSA suspended was $498 million.
  4         54.    Moreover, as the misconduct relating to the U.S. Government was
  5   playing out, the Company’s body scanners were losing competitive edge and market
  6   share and becoming backlogged. As Defendant Edrick summarized, “So if you go
  7   back for our last four, five conference calls, we’ve been telling everybody about body
  8   scanners we haven’t sold any units over the last two years. So the great growth that
  9   we had in Security in 2011 and 2012 lot of people thought it came from body
10    scanners. It didn’t, we didn’t sell any units in those periods. And we said further
11    that we don’t expect to be selling any body scanners to the TSA going forward.”
12          55.    The U.S. Government problems also threatened OSI’s reputation and
13    sales, including future U.S. Government contracts. For example, Oppenheimer
14    commented that “[t]he risk is that the probe metastasizes into something bigger,
15    threatening Rapiscan’s reputation, broader TSA business (estimated at 5-10% of
16    revenue), and US certification of the new RTT product.” Likewise, Stephens reported
17    that “[t]he greater concern . . . is the reputational harm caused by the missteps with
18    the TSA, which is strong reference customer for international sales efforts. That
19    reputational impact will be difficult and take time to assess.”
20          56.    Further compounding the fallout from the Company’s efforts to mislead
21    the U.S. Government, Rapiscan’s TSA contracts had been procured under a
22    temporary stimulus package set to expire. Specifically, in the aftermath of the 2008-
23    2009 financial crisis, Congress enacted the American Recovery and Reinvestment
24    Act of 2009 to provide temporary stimulus funding for government agencies,
25    including the DHS, who purchased security equipment from Rapiscan. According to
26    CW 2, prior to the Company’s issues with the U.S. Government, Rapiscan had
27    received a “bump” in its sales due to the ARRA, which was set to expire.
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                          18
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  1         57.    Due to all of these negative factors, between 2013 and 2015, the
  2   Company laid off employees in multiple rounds. In 2013, according to CW 2, there
  3   were at least three rounds of layoffs. In 2015, according to CW 1, the Company laid
  4   off several members of senior leadership who had been hired to try to regain the
  5   TSA’s confidence in Rapiscan.
  6         B.     As OSI’s Traditional Business Stagnates, OSI Touts S2’s Turnkey
                   Business As the Key to the Company’s Future
  7
  8         58.    In early 2013, as OSI’s core Rapiscan Security business in the U.S.

  9   floundered, OSI shifted its focus to its second business model in the Security

10    division—turnkey solutions. Defendant Edrick described this shift at a February 26,

11    2013 Morgan Stanley Technology, Media & Telecom Conference, stating: “[o]ne of

12    the areas that we’ve really been trying to grow is our turnkey business.” Likewise,

13    at the June 4, 2013 Stephens Spring Investment Conference (the “June 4, 2013

14    Conference”), Defendant Edrick touted that the Company’s Security business “has

15    been growing significantly and we’ve been transforming our business model . . .

16    with some new turnkey services, which has led to some significant operating margin

17    expansion, not only within the Security division but all of OSI.”

18          59.    According to Defendants, the turnkey model differed from OSI’s

19    traditional equipment sales business. Under its turnkey model, OSI’s customer did

20    not buy or own the security equipment but instead paid a subscription or pay-as-you-

21    go plan such as a per scan fee. By contrast, under OSI’s traditional model, OSI

22    simply sold security equipment to a customer, who then owned the equipment.

23          60.    According to Defendants, a standard turnkey contract works as follows:

24    Rapiscan manufactures the requested product (i.e., scanners, equipment, installations)

25    and sells it to S2, who installs it at the customer’s location. While OSI continues to

26    own the equipment—i.e., it still appears on OSI’s balance sheet—the customer has

27    the right to use it. OSI then presents the customer with a number of add-on services,

28    including design and construction of the security checkpoint site(s), installation of the
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  1   equipment at the site(s), selecting, training, and managing the personnel operating the
  2   site(s), operation of the equipment, and maintenance and security of the site(s).
  3          61.    Defendants hailed the turnkey model as the Company’s most critical
  4   business opportunity. As Defendant Edrick stated at the March 11, 2014 ROTH
  5   Capital Partners Conference (the “March 11, 2014 Conference”), “Turnkey . . . we
  6   view it as perhaps our largest growth opportunity.” Likewise, at a May 14, 2014
  7   Oppenheimer Industrials Conference, Defendant Edrick stated, “[I]f you look at the
  8   Security business, I’d say the three biggest growth opportunities for us in Security
  9   would be, number one would be Turnkey. That’s a tremendous opportunity for us.”
10           62.    Additionally, Defendants repeatedly touted OSI as a “pioneer” in the
11    turnkey industry—being the first of its competitors to offer the service and the only
12    Company in the world to obtain three such contracts. Indeed, throughout the Class
13    Period, Defendants consistently boasted that the Company had “100% market share”
14    of the turnkey security business. As Defendant Edrick explained at a March 4, 2014
15    Morgan Stanley Technology, Media and Telecom Conference:
16           [R]eally, what’s been driving the growth over the past year has been
             largely dominated by our turnkey security solutions. We pioneered this
17           area….There’s only been three contracts of this type awarded to the
             world. And to date, well, we’ve won all three. So today, we have 100%
18           market share in that area.
19
             63.    Similarly, at a Jefferies Global Industrials Conference on August 14,
20
      2014, Defendant Edrick stated: “[T]here have been three contracts awarded in the
21
      world. So, right now, we’re batting a thousand, and we think that first mover
22
      advantage is going to lead to substantial capturing of future business going
23
      forward . . . .”
24
             C.     OSI Touts the Purported Benefits of the Turnkey Model
25
             64.    In addition to assuring the market that the Company’s turnkey business
26
      would drive growth, Defendants also boasted that the turnkey model had numerous
27
      purported advantages that would result in a strategic edge over OSI’s competitors.
28
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  1   For instance, Defendants repeatedly emphasized that turnkey contracts generate
  2   higher profit margins than standard equipment contracts for the Company. According
  3   to CW 1, OSI considered its turnkey contracts to be “cash cows.” Although the
  4   Company deliberately refused to disclose the exact margins it was seeing on these
  5   contracts during the Class Period, Defendants repeatedly represented to the market
  6   that OSI’s turnkey margins were “significantly above our corporate average or our
  7   Security division average. [And] they are very, very favorable.”
  8         65.    Additionally, Defendants praised the turnkey contracts as providing a
  9   consistent long-term and recurring revenue stream. As Defendant Edrick stated
10    during a February 8, 2017 conference, the turnkey model “has been extraordinarily
11    successful for us. . . It’s a nice revenue, higher margin business for us of a
12    recurring nature.” Similarly, at the March 11, 2014 Conference, Defendant Edrick
13    stated that “[t]he new turnkey revenues is really an exciting business model in order
14    to have recurring revenues as substantially higher margins makes a big impact for us
15    and gives us a great deal of visibility as we look forward.”
16          D.     After Repeatedly Hyping the Turnkey Business, the Market
                   Pressures Defendants For A Third Turnkey Contract
17
18          66.    Before the Class Period, OSI had secured only two turnkey contracts—

19    one in Puerto Rico in 2010 and another in Mexico in 2012. Given Defendants’

20    repeated representations that turnkey would drive future growth, analysts began

21    pressing Defendants on new turnkey deals to demonstrate that the new model was

22    sustainable. Defendants insisted that new turnkey opportunities were on the horizon.

23    For instance, in a February 13, 2013 report, Oppenheimer recounted discussions with

24    OSI management, stating:

25          Turnkey solutions. OSIS continues to work on approximately half a
            dozen potential deals. Sales cycles remain long and render the timing of
26          deal closings unpredictable. But OSI believes the competitive
            differentiators that allowed it to win PR/Mexico still hold and will allow
27          it to add an average of at least one incremental deal a year.
28
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  1         67.   Similarly, a month after OSI lost a contract with the TSA, at a February
  2   26, 2013 conference, Defendant Edrick stated:
  3         [T]here is a customer set out there that is very interested in the turnkey.
            So we’re pursuing additional turnkey opportunities. They are
  4         generally longer sales cycles, but we’re working through those, some
            of those we’ve been working on for some time and I think we’re going
  5         to see some nice rewards and in the future.
  6
            68.   As a result of these promises, analysts expected to see a turnkey contract
  7
      within the year. In a May 9, 2013 report, for example, CRT Capital Group stated
  8
      “New turnkey win expected this calendar year. We would expect it to be bigger than
  9
      Puerto Rico on a revenue generating basis . . . .” Likewise, at the June 4, 2013
10
      Conference, Stephens analyst Timothy Quillin (“Quillin”) asked about future turnkey
11
      opportunities: “[C]an you talk about the turnkey services business both in Puerto
12
      Rico, maybe how Puerto Rico helped you win Mexico and then maybe how Mexico
13
      might help you win the next project?”
14
            69.   Defendants’ promise of a new turnkey contract assuaged analyst
15
      concerns about the Company’s struggling Rapiscan business. For instance, Stephens
16
      commented in a March 27, 2013 report that “Dysfunction in the U.S. Government
17
      procurement process and economic sensitivity internationally has resulted in longer
18
      sales cycles in the Security business[,]” but highlighted “opportunities for new
19
      turnkey contracts[.]” Similarly, in an August 14, 2013 report, Stephens expressed
20
      optimism about OSI’s turnkey prospects, stating “[t]urnkey pipeline still looks good,
21
      we think. The Company’s pipeline of turnkey contracts has grown over the past few
22
      months, and management remains optimistic about the prospects of another turnkey
23
      award by the end of the calendar year.” In short, with its Rapiscan business faltering
24
      and its credibility under scrutiny, the Company desperately needed another turnkey
25
      win to convince the market that its turnkey business would reduce dependence on the
26
      U.S. Government and drive growth in its key Security division.
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            E.    Defendants Mislead Investors about OSI’s New Turnkey Contract
  1               in Albania and Overall Success of the Turnkey Business While
                  Concealing Material Facts
  2
  3         70.   The Class Period begins on August 21, 2013 when the Company

  4   announced its highly anticipated third turnkey contract in Albania. In an August 21,

  5   2013 press release entitled, “OSI Systems Receives a Fifteen-Year Agreement to

  6   Provide Turnkey Screening Services in Albania,” the Company announced that

  7   “[the] Government of Albania has awarded its Security division, Rapiscan Systems, a

  8   fifteen-year contract to provide turnkey cargo and vehicle security screening services

  9   at various sites throughout the country.” The Company touted that it expected total

10    gross revenues from the Albanian contract to “range from $150 million - $250

11    million over the term of the agreement.”

12          71.   As discussed below, throughout the Class Period, Defendants made a

13    series of false and/or misleading statements and/or omissions of material fact

14    concerning OSI’s Albanian turnkey contract, its turnkey business generally, and the

15    Company’s ownership interest in the Albanian subsidiary that held the rights to the

16    Albanian contract.

17                         Defendants Misleadingly Promote the Albanian Contract as
                           Proof of the Turnkey Model’s Success
18
            72.   Immediately upon announcing the Albanian contract, Defendants hailed
19
      the deal as proof that the Company’s turnkey model was a success. For instance, in
20
      the August 21, 2013 press release, Defendant Chopra stated:
21
            This significant award from Albania to provide turnkey screening
22          services builds upon similar long-term agreements awarded by the
            Puerto Rico ports authority and Mexico’s tax and customs authority. Our
23          strategy of expanding our security offerings beyond the manufacture and
            sale of screening and detection equipment by providing comprehensive
24          turnkey screening services continues to be well received in the
            marketplace.
25
26          73.   In the same press release, Defendant Mehra represented that “[t]he

27    Albanian government’s initiative to secure its ports and land crossings represents

28    another significant step in the security inspection arena. We are proud to have been
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  1   selected to execute this critical program. Our selection reinforces the attractiveness
  2   and compelling value of our turnkey service model.”
  3         74.   Throughout the Class Period, Defendants continued to tout the Albanian
  4   deal as proof of the sustainability of the turnkey model. At the Company’s January
  5   28, 2014 conference call for the second quart of fiscal year 2014 (“2Q14”) (the
  6   “January 28, 2014 Conference Call”), Defendant Edrick highlighted that the Albanian
  7   contract validated the turnkey model: “Although this new 15-year contract is not
  8   expected to contribute much to the top line in fiscal ‘14, we expect that it could
  9   contribute more substantially in fiscal ‘15 and beyond and further validates the
10    increasing acceptance of this model in the global market for security screening
11    solutions.” Likewise, on the same call, Defendant Chopra boasted: “[a]fter winning
12    the new turnkey services contract earlier this year in Albania, we have clearly
13    established our leadership in growing this particular service segment[.].”
14                       Defendants Continue to Misleadingly Tout the Progress of the
                         Albanian Contract and the Turnkey Business Overall
15
16          75.   In the months following the announcement of the Albanian contract,

17    Defendants repeatedly trumpeted the progress of the Albanian contract, creating the

18    misleading impression that the Albanian contract faced no impediments and would

19    soon generate considerable revenues.       For instance, at the January 28, 2014

20    Conference Call, Defendant Edrick stated: “[W]e have been busy preparing to go

21    live before fiscal year end for our latest turnkey contract award in Albania.” On the

22    same call, Defendant Chopra stated: “I should mention here that the build-out phase

23    for the Albanian turnkey services project is well underway, and we’re happy to

24    announce that it’ll start generating revenues before the end of the fiscal year.”

25          76.   Defendants continued to make similar statements in 2014. Defendant

26    Edrick confirmed the progress of the Albanian contract at a March 4, 2014 Morgan

27    Stanley Technology, Media and Telecom Conference, stating that, “Albania, we’re

28    ramping up as we speak.” Edrick reiterated this status update on at the March 11,
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  1   2014 Conference, stating “[a]nd most recently earlier in our fiscal year, we sold our
  2   third deal in Albania, which we’re ramping up right now. So very, very exciting for
  3   us. It’s really changed our profile significantly.” Likewise, on an April 30, 2014
  4   conference call (“April 30, 2014 Conference Call”), Defendant Chopra emphasized:
  5   “[r]egarding Albania, we are making progress and we are on track. But I don’t think
  6   so there will be any contribution in revenue in Q4. But we are moving on target.
  7   We’re working diligently with it and looking forward to 2015.”
  8         77.    Defendants also repeatedly boasted about the performance of OSI’s
  9   turnkey business overall. For example, during an April 27, 2016 Conference Call,
10    Defendant Chopra proclaimed that “[o]n the turnkey services front, Mexico, Puerto
11    Rico and Albania turnkey screening service contracts continue to perform well and
12    we continue to add new opportunities to the turnkey pipeline.” Similarly, on an
13    August 16, 2016 conference call, Chopra emphasized that the turnkey “market
14    represents a key growth driver for us going forward . . . we believe we are in
15    excellent position to capture additional turnkey services opportunities.”
16                       Defendants’ Statements Knowingly Conceal                  Corrupt
                         Arrangements Underlying the Albanian contract
17
18          78.    Unbeknownst to investors, Defendants’ statements were highly

19    misleading in that the Albanian contract neither “reinforce[d] the attractiveness” of

20    the turnkey model nor was it “ramping up” without a problem. To the contrary,

21    Defendants concealed, inter alia, that: (i) the Albanian contract was subject to a

22    secret arrangement whereby OSI sold 49% of its Albanian subsidiary that held the

23    rights to the $150 to $250 million Albanian contract to a suspicious holding company

24    owned by an Albanian doctor for only $4.50; (ii) OSI was not entitled to all of the

25    contracts profits, as it had entered into a secret “profit share” arrangement with the

26    doctor’s company; and (iii) the 49% transfer occurred under suspicious circumstances

27    the same week that the outgoing Albanian government (who had given OSI

28    extremely favorable terms on the contract) left office.
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                          a.    Unbeknownst to Investors, Defendants Sell Nearly
  1                             Half of OSI’s Rights to the Albanian Contract
                                Entity
  2
  3           79.    According to the May 10, 2013 Official Gazette of the Government of

  4   Albania(the “May 10, 2013 Official Gazette”), on April 10, 2013, Rapiscan officially

  5   entered into a turnkey contract with Albania’s Ministry of Finance for the financing,

  6   establishment, and operation of scanning services for containers and other vehicles.

  7   The contract was signed by then-President of S2 Global, Fleming, and then-Minister

  8   of Finance, Ridvan Bode, a member of the Albanian Democratic Party. According to

  9   S2 Albania’s Historical Register, on May 22, 2013, OSI, through Rapiscan, registered

10    an Albanian corporation, S2 Albania, to accept the rights and obligations of the

11    contract. According to S2 Albania’s “Articles of Association” signed by Fleming and

12    dated March 19, 2013, the entity was formed for the “execution of the concession

13    agreement, as well as any other activity related to such matter, or required in order to

14    fulfill it.”

15            80.    Unbeknownst to the market, on August 30, 2013, Minister of Finance

16    Ridvan Bode—the member of the Democratic Party who signed the Albanian

17    contract—approved a sale of 49% of S2 Albania to an Albanian entity called ICMS.

18    Under the Albanian contract, OSI was required to obtain government approval for the

19    transfer of more than 25% of S2 Albania. On September 6, 2013, Defendant Mehra—

20    who also oversaw the prior misconduct at Rapiscan—authorized the sale of 49% of

21    S2 Albania to ICMS. More specifically, on September 6, 2013, Mehra signed a

22    Power of Attorney in Los Angeles explicitly authorizing an Albanian attorney named

23    Endrit Shijaku (“Shijaku”) to “carry out the [] sale” of S2 Albania to ICMS “for 490

24    Albanian lekë” (the equivalent of $4.50), sign the contract transferring 49% of S2

25    Albania to ICMS, and execute any necessary steps to complete the sale. Below are

26    the relevant portions of the Power of Attorney, a full copy of which is attached hereto

27    as Exhibit A:

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  1         81.    Pursuant to Defendant Mehra’s instructions, on September 16, 2013,
  2   Shijaku secretly signed the formal contract for the sale of 49% of S2 Albania to
  3   ICMS for approximately $4.50. As Defendants later admitted following the MWR
  4   Report, S2 Albania also entered into an undisclosed “profit shar[ing]” agreement with
  5   ICMS relating to the Albanian turnkey contract.
  6         82.    Below is a copy of the relevant portion the sale contract reflecting the
  7   purchase price, a full copy of which is attached hereto as Exhibit B:
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      CONSOLIDATED CLASS ACTION COMPLAINT                                         28
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  1         83.    According to S2 Albania’s Historical Register, on September 19, 2013,
  2   OSI completed the transfer of the 49% ownership in S2 Albania. Below is the
  3   relevant excerpt of S2 Albania’s Historical Register, reflecting the 49% transfer.
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15          84.    According to ICMS’s Historical Register, at the time of the transfer,
16    ICMS’s sole shareholder was Peçini. Below is the relevant excerpt of ICMS’s
17    Historical Register:
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  1         85.    Peçini is an Albanian dentist, according to a list published by “Rreth
  2   Shendetit Publik” (an Albanian public health organization).5 He has owned several
  3   companies in Albania, including a cleaning service and an insurance brokerage,
  4   according to searches on Albania’s National Business Center. He also founded the
  5   Salus Hospital in Tirana, Albania, according to the Salus Hospital website.6 But he
  6   had no reported experience in providing security services on par with the Albanian
  7   contract. Indeed, Peçini’s only ostensible connection to the Albania turnkey contract
  8   was his relationship with then-Prime Minister Berisha (a doctor himself), who—
  9   according to a January 14, 2012 press release by the Albanian Council of Ministers
10    titled “PM Berisha attends inauguration of Italian-Albanian SALUS hospital”—
11    attended and spoke at the inauguration of the Salus Hospital founded. At the time of
12    the 49% transfer, records show that ICMS appears to have lacked any material assets
13    aside from its ownership of S2 Albania. According to ICMS’s fiscal year 2013
14    financial statements, ICMS had liabilities that exceeded its less than one million
15    dollars in assets and was operating at a loss of over $100,000.
16          86.    Although Peçini only paid $4.50 for a 49% stake in the lucrative S2
17    Albanian contract entity, he used his stake in S2 Albania to immediately secure a
18    €1.9 million loan. More specifically, according to a Pledge Agreement dated
19    December 7, 2013, Peçini pledged 49% of ICMS’s shares for a €1.9 million loan
20    from the National Bank of Commerce sh.a. According to a the Decision of the
21    General Assembly of ICMS issued on December 11, 2013, ICMS’s credit agreement
22    with the National Bank of Commerce sh.a. prohibited ICMS from selling its shares in
23    S2 Albania without approval from the National Bank of Commerce sh.a.
24
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      5
27         Available      at     (http://shendetipublik.com/al/wp-content/uploads/bsk-pdf-
      manager/34_lista_e_stomatologeve_me_te_dhena.pdf).
      6
28         Available at (http://www.salus.al/rreth-nesh/#vizioni).
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                         b.      Defendants Conceal the Corrupt Arrangement of
  1                              the Albanian Contract that Secured Highly
                                 Favorable Terms for the Company
  2
  3         87.    In addition to concealing their sale of half of the entity with the rights to

  4   the Albanian contract, Defendants also concealed various indicia of corruption that

  5   permeated the history of the Albanian contract, including special favors, a non-

  6   competitive bid, and approval of the transfer of 49% of S2 Albania by the outgoing

  7   Albanian government, only days before the new government took office.

  8         88.    In particular, OSI was pursuing the Albanian contract since at least late

  9   2011 when Albania was governed by the Democratic Party, led by then-Prime

10    Minister Berisha—a cardiologist and professor in the Faculty of Medicine at the

11    University of Tirana (in the same city as the hospital founded by Peçini ). Almost

12    immediately, OSI began receiving favorable treatment from Albania’s government.

13    As first reported by MWR in its December 6, 2017 report exposing certain details

14    surrounding the Albanian turnkey contract, on November 11, 2011, Berisha’s

15    government granted OSI an 8% bonus on its bid—thereby giving OSI a significant

16    advantage against any potential competitors. More specifically, a decision of the

17    Council of Ministers of the Government of Albania signed by Berisha awarded a

18    “bonus of 8% for the technical and financial result in the procedure selective bidding

19    (unsolicited proposal).”

20          89.    In 2012, the Albanian government issued a request for proposal for the

21    Albanian contract, according to the May 10, 2013 Official Gazette. However, several

22    previously untranslated Albanian reports—which were only reported in Albania, in

23    Albanian, and remained unknown to market analysts and investors until the

24    December 6, 2017 MWR Report—evidence signs of collusion. For example,

25    according to a September 19, 2014 Monitor (an Albanian language publication)

26    article entitled “‘Rapiscan’ requires the revocation of recommendations for scanning

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  1   of containers, Competition revokes it,”7 the Albanian Competition Authority
  2   concluded that the bid was not a public tender where bidders were on the same
  3   footing. Additionally, in a November 26, 2014, Gazeta Telegraf article titled “Brace:
  4   Berisha laments, the energy price will not be over 10 ALL,” Erion Brace—a member
  5   of the Socialist Party in the Albanian Parliament—argued that the money of the
  6   Albanian contract went into the pockets of Berisha and the ministers who signed the
  7   contract. Moreover, at a July 7, 2015 meeting of the Albanian Committee for
  8   Economy and Finances, Brace criticized the contract because OSI’s bid was the only
  9   offer. As MWR later reported on December 6, 2017, OSI originally proposed a €32
10    scanning fee, yet the Democratic government inexplicably awarded Rapiscan a
11    contract with a €39 scanning fee, and agreed to pay the scanning fee to OSI for all
12    customs declarations, even if OSI did not scan them.
13          90.    In June 2013, Berisha’s party lost power and began transitioning to a
14    new administration. On September 6, 2013, Defendant Mehra approved the sale of
15    49% of S2 Albania to ICMS and the contract was signed on September 16, 2013—
16    within days of the departure of the Berisha government.
17          91.    Unbeknownst to investors, immediately after Berisha’s departure from
18    Office, the newly-elected government denounced the contract. By June 2014, the
19    Albanian Competition Authority recommended the revision of the contract. Business
20    opposition by this time was also considerable due to the extremely high service fee,
21    according to a July 13, 2015 Monitor article titled “New ‘Tax’ on Customs” (the
22    “July 13, 2015 Article”).
23          92.    As a result of this opposition, the new government refused to implement
24    the contract and attempted to unilaterally terminate it, according to the July 13, 2015
25    Article. Meanwhile, Defendants continued falsely touting the progress of the
26
27    7
            Originally titled: “‘Rapiscan’ kërkon revokimin e rekomandimeve për
28    skanimin e kontejnerëve; Konkurrenca e rrëzon.”
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  1   Albanian contract, in June 2014, stating “in Albania, similarly, the construction is
  2   ongoing, which is our latest deal, as well as the equipment.”
  3         93.    None of these facts were disclosed to investors. To the contrary, when
  4   Defendants disclosed in late-August 2014 that the Albanian government was “halting
  5   further progress” of the turnkey contract, they continued to knowingly conceal the
  6   true facts and corrupt history of the deal, including the 49% transfer and profit-
  7   sharing agreement with ICMS.
  8                        Defendants Mislead Investors Regarding the Suspension of
                           the Contract
  9
10          94.    By August 2014, OSI’s troubles in Albania were still entirely unknown

11    in the United States, including by investors, analysts and U.S. media. On August 25,

12    2014, Defendants cryptically informed investors of the Albanian government’s

13    decision to suspend the contract, stating that:

14          Last year, we announced a 15-year contract that we received from the
            government of Albania to provide turnkey cargo and vehicle screening
15          services at various sites throughout the country of Albania.
            Unfortunately, we recently learned that the customer, the Albanian
16          newly elected government, has halted further progress on the contract
            and put into doubt the continuation of the program. The program had
17          been proceeding smoothly and ahead of schedule. We intend to
            strongly enforce our contractual rights and hope to reach an amicable
18          outcome. I would also note here that no revenues from Albania are
            included from this contract in the revenue guidance we are providing
19          for fiscal 2015. You can understand that, under the circumstances, we
            cannot comment further at this time.
20
            95.    Additionally, OSI’s Form 10-K for fiscal year 2017 further stated that
21
      “in August 2013, we announced a 15-year contract award from the Government of
22
      Albania to provide turnkey cargo and vehicle screening services at various sites
23
      throughout the country. We were recently notified that the Government of Albania
24
      has halted further progress on the contract. We have begun proceedings to protect
25
      our legal rights.”
26
            96.    Defendants’ statements were highly misleading, in that they led
27
      investors to believe that the contract had simply been halted by a change in power in
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  1   Albania, rather than as a result of corruption in the procurement of the Albanian
  2   contract and the secret arrangement with ICMS and Peçini. Indeed, Defendants
  3   continued to conceal, inter alia: (i) their 49% transfer of S2 Albania to Peçini who
  4   was associated with the outgoing Albanian administration for $4.50; (ii) the
  5   Company’s joint venture and profit-sharing agreement with ICMS; (iii) the 8% bonus
  6   and more favorable contract terms that Berisha inexplicably awarded the Company
  7   during its bid; (iv) accusations reported in Albania that the Company’s bid had been
  8   collusive; and (v) the undisclosed opposition to the deal due to allegations of
  9   corruption. Moreover, because all of these facts and accusations were partially
10    reported only in Albania (and in Albanian), OSI’s investors remained completely in
11    the dark.
12                      OSI Obtains a Less Favorable Contract Through Arbitration
13          97.   Unable to proceed under the contract, OSI brought an action against the
14    Government of Albania before the International Court of Arbitration. On April 28,
15    2015, OSI settled the case under less favorable contract terms, to be effective by
16    October 31, 2015, according to Law No. 75/2015 of the Assembly of the Republic of
17    Albania.
18          98.   Under the renegotiated contract, OSI’s payment terms were contingent
19    on the amount of each customs declaration. For example, for all customs declarations
20    over 1,000 euros, OSI would be paid a scanning fee of 22 euros—i.e., 17 euros or
21    approximately 44% less than the fee in the original contract. Moreover, for customs
22    declarations under 1,000 euros, Albania would charge a fee of 5 euros. On June 5,
23    2015, the Council of Ministers of Albania submitted the renegotiated concession to
24    the Albanian Assembly, and stated that the value of the contract had been reduced
25    from approximately 316 million euros to 210 million euros, according to a December
26    12, 2017 Lapsi article titled “The scan concession crashes Ball with Berisha” (the
27    December 12, 2017 Article”)—a difference of 106 million euros.
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  1         99.    As MWR later revealed in its December 6, 2017 report, previously
  2   untranslated Albanian reports pointed to the contract as evidence of collusion and
  3   corruption with the former government, and highlighted the exorbitant fees to be
  4   imposed under the contract. A July 7, 2015, Pamfleti Online article called the
  5   Albanian contract a “Mafia of scanning concession,” while Ora News published in
  6   Albanian a television news program called “Rapiscan, Theft of the Century” referring
  7   to the Albanian contract.8
  8         100. Until the MWR Report was published, however, neither analysts nor
  9   investors were aware of the material facts concealed by Defendants. Indeed, it was
10    not until MWR undertook a comprehensive investigation, including hiring
11    investigators, obtaining documents directly from Albania, translating previously
12    undisclosed Albanian reports, and piecing together the ties between these many
13    scattered and obscure pieces of information, that these previously undisclosed facts
14    were revealed to OSI investors.
15                       OSI Announces the Reinstatement of the Albanian Contract,
                         and Defendants Continue to Mislead Investors
16
17          101. When Defendants announced the reinstatement of the Albania deal,

18    Defendants continued to mislead investors and deliberately conceal the secret

19    arrangement with ICMS and the corruption underlying the contract. More

20    specifically, on October 13, 2015, OSI issued a press release (the “October 13, 2015

21    Press Release”) announcing that “the Company has commenced the operations

22    phase with the Government of Albania to provide turnkey cargo and vehicle

23    security screening services at multiple sites throughout the country. The Company

24    currently anticipates total revenues to be approximately €200 million over the

25    multi-year term of the agreement.”

26
27
      8
28         Originally titled: “Rapiskan, vjedhja e shekullit.”
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  1         102. Similarly, during an October 29, 2015 conference call, Defendant Edrick
  2   touted “Albania we expect to be fully ramped during the course of this fiscal year.
  3   It’s moving up at a nice pace and we think will enter fiscal 2017 at a full ramp rate.
  4   So we are very pleased with the progress that we are making in Albania.”
  5   Defendant Edrick highlighted that the Albanian contract was worth $10-$15 million a
  6   year, stating, “We also note that Albania is expected to ramp in FQ3’16 (March).
  7   This contract is expected to generate $10M-$15M in recurring annual revenue.”
  8         103. As fiscal year 2016 drew to a close, the Company continued to tout the
  9   Albanian contract as driving the Security division’s performance and making up for
10    poor performance in its other business segments. For instance, the Company’s Form
11    10-K for fiscal year 2016 reported:
12          Fiscal 2016 Compared with Fiscal 2015. Revenues for the Security
            division decreased 15% primarily as a result of a $66.4 million reduction
13          in revenues associated with a Foreign Military Sale contract with the
            U.S. Department of Defense . . . This decrease was partially offset by
14          revenues from the commencement of our turnkey scanning operation
            in Albania during the year.
15
16          104. Likewise, the Company’s Form 10-K for fiscal year 2017 represented:

17          Fiscal 2017 Compared with Fiscal 2016. Revenues for the Security
            division increased primarily as a result of increased sales of cargo and
18          vehicle inspection systems . . . and increased revenue from turnkey
            scanning operations as a result of a full year of operations in our
19          Albanian program, which commenced in the second quarter of fiscal
            2016, and our expanded operations within our Mexican program, which
20          added several sites in the fourth quarter of the current year.
21          105. At the same time, Defendants continued to conceal the hidden
22    arrangement with ICMS, including the 49% transfer and profit sharing agreement.
23                       Defendants Falsely Represent That OSI Owns S2 Albania in
                         Its Entirety
24
25          106. Defendants went to great lengths to conceal their joint venture with

26    ICMS from investors. This was crystallized in the offering documents for the

27    Company’s issuance of $250 million in OSI Bonds. In Exhibit 1.1 to the Purchase

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  1   Agreement for the notes, OSI explicitly represented that it fully owned all of the
  2   shares of each Subsidiary, stating:
  3         Except as otherwise disclosed in the General Disclosure Package and
            the Final Offering Memorandum, all of the issued and outstanding
  4         capital stock of each Subsidiary has been duly authorized and validly
            issued, is fully paid and non-assessable and is owned by the Company,
  5         directly or through subsidiaries, free and clear of any security interest,
            mortgage, pledge, lien, encumbrance, claim or equity. None of the
  6         outstanding shares of capital stock of any Subsidiary was issued in
            violation of the preemptive or similar rights of any securityholder of
  7         such Subsidiary . . . The only Subsidiaries of the Company are the
            subsidiaries listed on Schedule D hereto.
  8
  9         107. Schedule D of the Purchase agreement listed S2 Albania (Albania) as a

10    wholly owned “Subsidiary.” Nowhere in the Purchase Agreement did OSI disclose

11    anything about the secret arrangement with ICMS or its 49% interest and profit-

12    sharing rights in S2 Albania.

13          F.     Defendants’ Misconduct in Albania Subjected OSI to Significant
                   FCPA Risk that Jeopardized the Entire Company
14
            108. Defendants’ wrongdoing in connection with the Albanian contract and
15
      their related misstatements and omissions created the significant and foreseeable risk
16
      that OSI would be investigated for violations of and found to have violated the
17
      FCPA.
18
            109. Congress enacted the FCPA in 1977 after revelations of widespread
19
      global corruption, including the SEC’s discovery that more than 400 companies had
20
      paid hundreds of millions of dollars in bribes to foreign officials to secure business
21
      overseas. The FCPA addresses the problem of international corruption in two ways:
22
      (i) anti-bribery provisions; and (ii) accounting provisions.
23
            110. The FCPA’s anti-bribery provisions prohibit U.S. persons and
24
      businesses from offering to pay, paying, promising to pay, or making or authorizing a
25
      payment of money or anything else of value to a foreign official in order to influence
26
      any act or decision in his or her official capacity or to secure any other improper
27
28
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  1   advantage for the purpose of obtaining or retaining business. Many FCPA
  2   enforcement actions involve bribes to obtain or retain government contracts.
  3         111. The FCPA’s accounting provisions require companies to: (i) make and
  4   keep books, records, and accounts that, in reasonable detail, accurately and fairly
  5   reflect an issuer’s transactions and dispositions of an issuer’s assets (“books and
  6   records”); and (ii) devise and maintain a system of internal accounting controls
  7   sufficient to assure management’s control, authority, and responsibility over the
  8   firm’s assets. The FCPA’s internal control provisions address the fact that the
  9   payment of bribes often occurs in companies that have weak internal control
10    environments. The FCPA’s books and records provisions address the concern that
11    bribes are often mischaracterized in companies’ books and records, with companies
12    utilizing things like commissions, consulting fees, sales and marketing fees, and
13    rebates or discounts to conceal corrupt payments. Additionally, given that bribes may
14    be paid in small amounts or installments over a number of years or across a number
15    of recipients, there are no materiality thresholds for enforcing the FCPA’s accounting
16    provisions.
17          112. The DOJ and SEC both have authority to enforce compliance with the
18    FCPA. Failure to comply with any of the FCPA’s provisions can result in civil or
19    criminal penalties, including substantial fines, prohibitions on operations in an
20    industry or particular country, or disbarment from doing business with the federal
21    government. These penalties also cause material damage to a company’s brand,
22    business, and operating results, and often involve costly investigations and
23    remediation efforts.
24          113. As discussed above, Defendants’ conduct during the Class Period
25    created a material and entirely foreseeable risk that OSI was vulnerable and would be
26    subjected to an investigation and potential criminal and civil penalties—which could
27    prohibit OSI from doing business with the U.S. and foreign governments. Defendants
28
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  1   knew that such a result would be devastating for OSI. Indeed, they repeatedly touted
  2   the Company’s “international operations as providing an important strategic
  3   advantage over competitors” and “significant growth opportunities” during the Class
  4   Period.
  5         G.     Defendants’ Opaque Turnkey Business Model Enabled Their Fraud
  6         114. As part of their attempt to mislead investors, Defendants created a
  7   business model that allowed them to conceal crucial details of their turnkey
  8   operations and their contracts in general. Indeed, the Company worked in foreign
  9   jurisdictions that had little oversight but had notoriously high corruption and
10    purposefully refused to provide crucial details regarding the turnkey business and
11    contracts.
12                       OSI’s Turnkey Business Existed Only in Jurisdictions Where
                         Oversight Was Minimal and Corruption Was Prevalent
13
14          115. OSI sought to do business in foreign jurisdictions that allowed the

15    Company to operate without the stringent reporting and ethics standards required in

16    the U.S. According to the Company, it sought to do business with countries where a

17    “fear of corruption” existed and the government might be looking to lend credibility

18    to their programs. As Defendant Edrick explained:

19          We are dealing with governments, and we are not generally dealing with
            the Western world. Most of the turnkeys we are looking at are not in
20          the US or Western Europe. They are in places that have other unique
            challenges. . . . [O]thers might have other concerns in their particular
21          country such as fear of corruption and things like that. And being able
            to outsource it to another Company could lend greater credibility to
22          the overall program.
23          116. For instance, Albania’s dismal record on transparency and corruption
24    was notorious. In 2013, when OSI secured its Albania turnkey contract, “[c]orruption
25    in all branches of government was pervasive,” and “officials frequently engaged in
26    corrupt practices with impunity,” according to the State Department. Indeed, in 2013,
27    Albania ranked 116th on Transparency International’s Corruption Transparency
28
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  1   Index. Because OSI’s turnkey business was exclusively located in foreign
  2   jurisdictions where corruption was pervasive and the government lacked
  3   transparency, Defendants were able to conceal its corrupt arrangements, as they did
  4   in Albania.
  5                      The Company’s Financial Treatment of Turnkey Contracts
                         Obscured Details About the Business
  6
  7         117. Although Defendants enthusiastically promoted the importance of the

  8   Company’s turnkey contracts, they repeatedly refused to provide financial details for

  9   the contracts or turnkey services more generally, which facilitated Defendants’ fraud.

10          118. For example, Defendants refused to disclose OSI’s actual profit margins

11    from its turnkey contracts or distinguish between non-turnkey and turnkey financial

12    results. At a May 14, 2014 Oppenheimer Industrials Conference, Defendant Edrick

13    unequivocally stated “[W]e don’t break out the margin specifically between

14    Turnkey and non-Turnkey.” Nevertheless, Edrick did not hesitate to emphasize that

15    “[t]he overall margin improvement has been largely driven by the uptick in revenues

16    associated with the Turnkey business.”

17          119. Nor did Defendants provide insight into turnkey revenues. For instance,

18    on the April 30, 2014 Conference Call in response to questions from an analyst

19    regarding “Security bookings” and the “number for Security funded backlog,”

20    Defendant Edrick stated, “We don’t break down our revenues precisely between

21    turnkey and non-turnkey as a matter of course.” When pressed for more

22    information regarding the turnkey business, Defendant Edrick declined to do so,

23    stating: “We don’t break out our turnkey revenues. But I think you have a pretty

24    good idea of the range of what our turnkey revenues are. But we don’t break that out

25    separately.”

26          120. Because Defendants did not disclose margins or revenues specifically

27    due to turnkey, they were able to conceal the financials associated with the Albanian

28    contract, including the profits that S2 Albania shared with ICMS.
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  1         H.    The Relevant Truth Is Slowly Revealed
  2         121. Defendants’ scheme began to unravel on December 6, 2017 when MWR
  3   issued a detailed report entitled, “OSIS: Rotten to the Core.” The MWR Report
  4   revealed, among other things:
  5         There was an unannounced transfer of 49% of OSIS’s project company,
            S2 Albania SHPK, to a holding company owned by an Albanian doctor,
  6         for consideration of less than $5.00. To be clear, this company (S2
            Albania SPHK) is the company to which all rights and obligations under
  7         the turnkey contract award belong, so 49% of the company is
            presumably worth many millions of dollars. It appears to us that OSIS’s
  8         accounts do not reflect the transfer – there are no deductions for non-
            controlling interests in the income statement, and February 2017 bond
  9         offering documents appear to show the subsidiary as 100% owned by
            OSIS.
10
11          122. According to MWR, this demonstrated that the Albanian contract was

12    obtained “through corruption,” which put “at significant risk OSIS’s Security

13    Division contracts with the U.S. and European government agencies.” MWR also

14    noted that “OSIS could face liability under the Foreign Corrupt Practices Act

15    (‘FCPA’), which could be in the many hundreds of millions of dollars.”

16          123. In response to these revelations, the price of OSI Securities plummeted.

17    By mid-day, MT Newswires Live had issued a report entitled, “Market Chatter: OSI

18    Systems Falls to 13-Month Low; [MWR] Said to Unveil Short Position Tied to

19    Corruption Accusations,” stating, “OSI Systems (OSIS) shares fell by more than 21%

20    Wednesday to their lowest level in more than a year after a major Wall Street hedge

21    fund established a short position in the company amid allegations of corruption and

22    unsustainable earning expectations.”

23          124. Before the close of business that same day, Defendants issued a terse

24    half-page response confirming certain facts, including ICMS’s ownership and profit-

25    sharing in S2 Albania, but denying any wrongdoing:

26         Our Albania turnkey security inspection program is operated in
           partnership with ICMS, a local company with civil works construction
27         capabilities in Albania, with a profit share in accordance with the terms
           of our agreement with ICMS. ICMS implemented all civil works
28         construction for the program. As such, both we and ICMS made
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            significant capital investments toward the implementation of the
  1         program in a value well beyond the par value of shares.
  2
            125. Despite these admissions, however, the Company characterized MWR’s
  3
      conclusions regarding corruption in Albania as “misleading allegations” and
  4
      represented that the Albanian contract was secured as “the result of [a] public
  5
      tender[].”
  6
            126. Following these disclosures, the price of OSI’s Securities fell
  7
      precipitously. OSI’s common stock price plummeted nearly 30% in a single day—
  8
      from a close of $84.07 per share on December 5, 2017 to a close of $59.52 per share
  9
      on December 6, 2017, wiping out $465.7 million in market capitalization.
10
      Additionally, on December 6, 2017, OSI’s common stock traded on extremely heavy
11
      volume of 10,596,800 shares—significantly higher than the 209,128 average daily
12
      trading volume during the Class Period. OSI Bonds, likewise, dropped precipitously
13
      by $162.62 or 15.67%—from a close of $1,037.50 on December 5, 2017, to a close
14
      of $874.88 on December 6, 2017.
15
            127. The market attributed the decline to the facts revealed by MWR. For
16
      example, in a December 7, 2017 article entitled, “$canner ‘Muddy’ed,” the New
17
      York Post reported:
18
            OSI Systems, the maker of airport scanning systems, lost nearly a third
19          of its value on Wednesday after short seller Carson Block accused it of
            underhanded practices . . . . ‘We think this company is rotten to the
20          core,’ Block’s firm, [MWR], said in a 19-page report. . . . A potential
            $250 million contract OSI signed with Albania is tainted by corruption,
21          [MWR] claimed. . . . Late Wednesday, the company, based in
            Hawthorne, Calif., denied any wrongdoing and said its ‘turnkey’
22          contract was the result of public tenders.
23          128. Later that month, according to the December 9, 2012 Article, the head of
24    Albania’s Parliamentary Group of the Socialist Party, Taulant Balla, issued a series of
25    accusations against Berisha regarding the Albanian contract and asked for Berisha’s
26    prosecution. The article further noted that, according to Balla, Berisha engaged in a
27    $122.5 million corruption—49% of the value of the Albanian contract.
28
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  1         129. On January 31, 2018, MWR addressed OSI’s December 6, 2017
  2   response (“MWR Rebuttal”), providing further facts and main reasons why OSI’s
  3   response “in no way changes our opinion that OSIS is rotten to the core”:
  4          First, OSIS’s statement that “…ICMS made significant capital
              investments toward the implementation of the program in a value
  5           well beyond the par value of shares” is greatly misleading because it
              appears from the various entities’ financials that OSIS has provided
  6           virtually all funding to, and investment in, S2 Albania.
  7          Second, OSIS appears to have sought to conceal its joint venture with
              ICMS from its investors, which we see no reason to do if this
  8           arrangement were legitimate.
  9          Third, even if ICMS were the greatest construction company in the
              world, how would it be entitled to half of the economics of the
10            concession for pouring concrete when OSIS is providing the key
              equipment, technology, knowhow, and financing?
11
             Fourth, we are fairly certain that ICMS is not the greatest
12            construction company in the world – or even in Albania. ICMS’s
              construction affiliate was formed only eight months before OSIS was
13            awarded the concession – its capitalization was only ~US$850, and it
              was then sold to ICMS’s physician shareholder also for ~US$850.
14            Moreover, it has virtually no tangible assets. If it’s really this easy
              and cheap to get a nine-figure construction contract, then we at MWR
15            are wondering why we’re in the relatively impoverished world of
              hedge funds.
16
             Fifth, the timeline of this “partnership” is beyond suspicious – with
17            the requisite approval of the transfer of shares taking place on the day
              the outgoing Minister of Finance left and the new one was seated.
18
19          130. Additionally, the MWR Rebuttal stated that “OSIS’s response seems

20    greatly misleading when it implies that ICMS has made capital contributions that are

21    on par with those of OSIS (and thus somehow justifying half of the concession).”

22    MWR also provided further facts contradicting OSI’s explanation:

23           We see no S2 Albania assets to which ICMS could conceivably
              have contributed. As of December 31, 2015, S2 Albania had total
24            assets of US$10.8 million. Virtually all of the assets – US$9.6
              million – were PP&E. According to the footnotes, 98.5% of PP&E
25            (US$9.6 million) were machines (i.e., likely equipment from OSIS) –
              with no construction or buildings disclosed at all.
26
             We see no financial contribution from ICMS to S2 Albania. S2
27            Albania’s December 31, 2015 liabilities confirm that substantially all
              of S2 Albania’s capitalization came from OSIS. The financials show
28
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               US$11.7 million in payables to OSIS. (Note that S2 Albania had
  1            negative shareholders’ equity of US$-1.1 million.)
  2          We see no account evidencing investment in S2 Albania by ICMS
              or ICMS Construction. We see nothing on ICMS’s CY2016
  3           balance sheet that could resemble a meaningful investment in S2
              Albania. Of its US$3.06 million in assets as of December 31, 2016,
  4           US$2.97 million are current assets. (US$1.8 million – 59.6% – is
              prepaid expenses; the balance is substantially all cash and
  5           receivables.) Of the US$80,000 of non-current assets, 99.99% is
              PP&E.
  6
            We also see nothing on the CY2016 balance sheet of ICMS
  7         Construction, which is an affiliate of ICMS, that evidences investment in
            S2 Albania. (Note that ICMS Construction does not own the equity in S2
  8         Albania.) ICMS Construction has a total of US$704,000 of assets, of
            which US$647,000 are receivables. There is no meaningful PP&E or
  9         investments. ICMS Construction had $627 million of revenue in 2015,
            which means it undertook no significant construction prior to 2016.
10
                                       *    *      *
11
            ICMS was not an established construction company in Albania, and its
12          construction affiliate, ICMS Construction (100% owned by the doctor
            who owns ICMS) was formed by a single shareholder on January 29,
13          2013, only eight months before the award of the concession. When
            formed, it was called Bledi Construction and had capital of $850.
14          Approximately one and one half months after formation (March 11,
            2013), it changed its registration status from “active” to “suspended”,
15          during which time it would not have been permitted to conduct business.
            On June 21, 2013, Bledi changed its status back to “active”. The next
16          day – only two months before the award of the concession – it was sold
            to ICMS…for $850. A few days after that, the name was changed to
17          ICMS Construction. (In 2016, the shares were transferred from ICMS to
            Dr. Olti Peçini again for $850.)
18
19          131. The MWR Rebuttal concluded by citing further evidence that ICMS

20    Construction was a farce, noting that, at the end of 2015, ICMS Construction had

21    “$1,300 cash,” “zero inventory,” “$20,000 in plant and machinery,” and “office

22    equipment of just $514[.]”

23          132. The very next day, on February 1, 2018, the Company issued a press

24    release, filed with the SEC on Form 8-K, disclosing that the SEC had commenced an

25    investigation into the Company’s actions. More specifically, the Company

26    announced:

27         Following a report by a short seller, the Securities and Exchange
           Commission (SEC) commenced an investigation into the Company’s
28         compliance with the Foreign Corrupt Practices Act (FCPA). The U.S.
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            Attorney’s Office for the Central District of California (DOJ) has also
  1         said it intends to request information regarding FCPA compliance
            matters. The SEC and DOJ are also conducting an investigation of
  2         trading in the Company’s securities, and have subpoenaed information
            regarding trading by executives, directors and employees, as well as
  3         Company operations and disclosures in and around the time of certain
            trades. In relation to the matters that are the subject of the trading-
  4         related investigation, the Company has taken action with respect to a
            senior-level employee. At this time, the Company is unable to predict
  5         what, if any, action may be taken by the DOJ or SEC as a result of these
            investigations, or any penalties or remedial measures these agencies may
  6         seek. The Company places a high priority on compliance with its anti-
            corruption and securities trading policies, and is cooperating with each
  7         of the government investigations.
  8
            133. On this news, the price of OSI Securities fell precipitously. OSI common
  9
      shares declined from a close of $66.60 on February 1, 2018 to $54.60 on February 2,
10
      2018, a drop of 18%, losing $227.6 million in market capitalization. On February 2,
11
      2018, OSI’s common stock traded on heavy volume of 3,294,200 shares—
12
      significantly higher than the 209,128 average daily trading volume during the Class
13
      Period. Additionally, OSI Bonds dropped by 5.94% or $54.57—from a close of
14
      $919.01 on February 1, 2018 to a close of $864.44 on February 2, 2018.
15
            134. Although Defendants touted the Albanian contract in 2013 as a
16
      validation of the Company’s turnkey business, nearly five years later, OSI has not
17
      signed a single additional turnkey contract.
18
            DEFENDANTS’ FALSE AND/OR MISLEADING STATEMENTS AND
19          OMISSIONS OF MATERIAL FACTS
20          A.     August 21, 2013 Press Release
21          135. On August 21, 2013, the Company issued a Press Release entitled, “OSI
22    Systems Receives a Fifteen-Year Agreement to Provide Turnkey Screening Services
23    to Albania.” In that press release, the Company announced that “the Government of
24    Albania has awarded its Security Division, Rapiscan Systems, a fifteen-year
25    contract to provide turnkey cargo and vehicle security screening services at various
26    sites throughout the country.” The Company explained that it expected total gross
27
28
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  1   revenues from the Albanian contract to “range from $150 million - $250 million
  2   over the term of the agreement.”9
  3         136. In the same press release, Defendant Chopra stated:
  4         This significant award from Albania to provide turnkey screening
            services builds upon similar long-term agreements awarded by the
  5         Puerto Rico ports authority and Mexico’s tax and customs authority. Our
            strategy of expanding our security offerings beyond the manufacture and
  6         sale of screening and detection equipment by providing comprehensive
            turnkey screening services continues to be well received in the
  7         marketplace. Our experience and capability to develop and integrate
            leading edge inspection technologies coupled with our depth of
  8         operational expertise is unmatched in the industry and we believe makes
            us uniquely qualified to secure and manage such complex programs.
  9
10          137. Defendant      Mehra     bolstered   Defendant   Chopra’s    statement   by

11    representing that “[t]he Albanian government’s initiative to secure its ports and land

12    crossings represents another significant step in the security inspection arena. We are

13    proud to have been selected to execute this critical program. Our selection reinforces

14    the attractiveness and compelling value of our turnkey service model.”

15          138.   Each of Defendants’ statements set forth in ¶¶ 135-137 were materially

16    false or misleading when made, and/or omitted material facts, including the

17    following:

18             a. As detailed in Section IV above, the Albanian turnkey contract was

19                 subject to a secret and corrupt arrangement with an undisclosed partner

20                 (ICMS) whereby OSI would transfer 49% of its interest in the S2

21                 Albania contract entity to ICMS for $4.50 and provide lucrative “profit

22                 shar[ing]” rights in connection with the contract;

23             b. The secretive arrangement with ICMS combined with undisclosed

24                 favorable terms from the outgoing Albanian government subjected the

25                 Company to substantial undisclosed risks, including that: (i) the contract

26                 would be terminated and/or materially reduced once the arrangement

27    9
            Each of Defendants’ statements in Section V that is alleged to be false and
28    misleading is highlighted in bold and italics.
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  1                 was disclosed; and (ii) that the transaction would be subject to
  2                 government investigations and/or fines, including under the FCPA;
  3              c. The   arrangement    with    ICMS    jeopardized    the   credibility   and
  4                 sustainability of the turnkey business model, caused the Company to be
  5                 vulnerable to potential civil and criminal liability and adverse regulatory
  6                 action, and increased the risk that U.S. and foreign governments would
  7                 refuse to do business with OSI once the details surrounding the Albanian
  8                 turnkey contract were revealed;
  9              d. The omission of material facts relating to (a)-(c) above created a false
10                  and/or misleading impression that the turnkey model would be the
11                  primary driver of OSI’s future growth and provide a sustainable
12                  competitive advantage in the security industry.
13          B.      Second Quarter 2014
14
            139. On January 28, 2014, Defendants held a conference call to discuss the
15
      Company’s 2Q14 financial results. During the call, Defendant Edrick touted the
16
      Company’s turnkey contract with Albania, stating: “[W]e have been busy preparing
17
      to go live before fiscal year end for our latest turnkey contract award in Albania.
18
      Although this new 15-year contract is not expected to contribute much to the top line
19
      in fiscal ’14, we expect that it could contribute more substantially in fiscal ‘15 and
20
      beyond and further validates the increasing acceptance of this model in the global
21
      market for security screening solutions.”
22
            140. Defendant Edrick concluded by emphasizing the turnkey business:
23
      “[d]uring the past few years, we have consistently delivered a strong bottom line. The
24
      investments we have made enabled us to be a leader in turnkey screening solutions
25
      and to continue to innovate to bring new products and services to market.”
26
            141. Defendant Chopra echoed Defendant Edrick’s positive comments about
27
      the Company’s turnkey operations and emphasized the Albanian contract:
28
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            Moving on to the other activities in our Security division. . . . After
  1         winning the new turnkey services contract earlier this year in Albania,
            we have clearly established our leadership in growing this particular
  2         service segment and expect to continue to leverage our position for
            further growth.
  3
                                           * * *
  4
            I should mention here that the build-out phase for the Albanian
  5         turnkey services project is well underway, and we’re happy to
            announce that it’ll start generating revenues before the end of the
  6         fiscal year.
  7         142. Each of Defendants’ statements set forth in ¶¶ 139-141 were materially
  8   false or misleading when made and/or omitted material facts, including the following:
  9            a. As detailed in Section IV above, the Albanian turnkey contract was
10                subject to a secret and corrupt arrangement with an undisclosed partner
11                (ICMS) whereby OSI would transfer 49% of its interest in the S2
12                Albania contract entity to ICMS for $4.50 and provide lucrative “profit
13                shar[ing]” rights in connection with the contract;
14             b. The secretive arrangement with ICMS combined with undisclosed
15                favorable terms from the outgoing Albanian government subjected the
16                Company to substantial undisclosed risks, including that (i) the contract
17                would be terminated and/or materially reduced once the arrangement
18                was disclosed; and (ii) that the transaction would be subject to
19                government investigations and/or fines, including under the FCPA;
20             c. The    arrangement   with    ICMS    jeopardized     the   credibility   and
21                sustainability of the turnkey business model, caused the Company to be
22                vulnerable to potential civil and criminal liability and adverse regulatory
23                action, and increased the risk that U.S. and foreign governments would
24                refuse to do business with OSI once the details surrounding the Albanian
25                turnkey contract were revealed;
26             d. The omission of material facts relating to (a)-(c) above created a false
27                and/or misleading impression that the turnkey model would be the
28
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  1                primary driver of OSI’s future growth and provide a sustainable
  2                competitive advantage in the security industry.
  3         C.     March 2014 Analyst Conferences
  4
            143. On March 4, 2014, Defendant Edrick appeared at the Morgan Stanley
  5
      Technology Media Conference on behalf of the Company and continued to tout the
  6
      Company’s turnkey success: “what’s been driving the growth over the past year has
  7
      been largely dominated by our turnkey security solutions. We pioneered this area.
  8
      We won our first contract in Puerto Rico, and we followed it up in Mexico which
  9
      has been a big driver of our growth. There’s only been three contracts of this type
10
      awarded to the world. And to date, well, we’ve won all three. So today, we have
11
      100% market share in that area.”
12
            144. Also at this conference, Edrick emphasized the importance of the
13
      turnkey operations and the “third” turnkey contract (Albania) to the growth of the
14
      Company, stating: “So, we’re extremely excited about the turnkey. These are long
15
      sales cycles. We’ve won the three contracts that you just mentioned. And now that
16
      we have three—or we have two up and running, the third one that’ll be coming
17
      here in the not too distant future, it makes it easier and easier to sell these and we
18
      hope we can shorten that sales cycle a little bit.”
19
            145. During a question and answer session with an analyst, Defendant Edrick
20
      further elaborated:
21
            <A>: Edrick>: We think our first-mover advantage is going to give us
22          more than our fair share in this. We’re working on a number of
            opportunities. It’s hard to say what that cadence will exactly be. But we
23          feel confident that this is going to be a major growth driver for us
            going forward.
24
            <Q>: How did that change the financial picture for the company over
25          time?
26          <A - Alan I. Edrick>: Changes it pretty dramatically.
27          <Q>: Yeah.
28
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            <A - Alan I. Edrick>: You know, when you started to see Mexico ramp
  1         up in the early part of calendar 2013; I think people started to get a
            sense. But it’s a recurring revenue stream, so it gives us much greater
  2         visibility.
  3         <Q>: But taken over a fairly long period of time, right? It’s not like a
            software product where it’s one or two years versus...
  4
            <A - Alan I. Edrick>: You’re exactly right. Mexico is a six-year
  5         contract, Puerto Rico a 10-year contract, Albania a 15-year contract.
  6         <Q>: Yeah.
  7         <A - Alan I. Edrick>: So it is over a much longer period of time, great
            revenue visibility and much higher margins. While we haven’t
  8         disclosed what those margins are, you can kind of begin to feel the
            impact when you see our financials as we’ve been ramping up.
  9
10          146. Defendant Edrick also confirmed that, “as we head into the balance of

11    fiscal 2014 and into fiscal 2015, our priority is—on the Security side, continue to be

12    to—continue to roll out the successful turnkey programs. We’ve ramped up Mexico a

13    little bit more to go. Albania, we’re ramping up as we speak. We look forward to

14    winning new turnkey contracts.”

15          147. Defendant Edrick reiterated his statements about the importance of the

16    Company’s turnkey operations, including Albania, at the March 11, 2014

17    Conference: “[M]ost recently earlier in our fiscal year, we sold our third [turnkey]

18    deal in Albania, which we’re ramping up right now. So very, very exciting for us.

19    It’s really changed our profile significantly.” Similarly, Edrick represented:

20          Turnkey, which we talked about before, we view it as perhaps our
            largest growth opportunity. This is really a market outside the United
21          States, outside of Western Europe, so look in places such as Latin
            America, Middle East, Eastern Europe. We think there’s substantial
22          growth opportunities here. We have a nice pipeline of opportunities.
            We’ve landed three deals. We want 100% of all deals landed to this
23          point. We believe we have a great first mover advantage. While we may
            not always [ph] bag 1,000, we think we’re going to win more than our
24          fair share.
25          148. Edrick also highlighted that the Company is “well-positioned for our
26    fiscal 2014 and beyond. We have a lot of catalysts in place for growth. The new
27    turnkey revenues is really an exciting business model in order to have recurring
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                          50
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  1   revenues as substantially higher margins makes a big impact for us and gives us a
  2   great deal of visibility as we look forward.”
  3         149. Each of Defendants’ statements set forth in ¶¶ 143-148 were materially
  4   false or misleading when made, and omitted material facts, including the following:
  5            a. As detailed in Section IV above, the Albanian turnkey contract was
  6                subject to a secret and corrupt arrangement with an undisclosed partner
  7                (ICMS) whereby OSI would transfer 49% of its interest in the S2
  8                Albania contract entity to ICMS for $4.50 and provide lucrative “profit
  9                shar[ing]” rights in connection with the contract;
10             b. The secretive arrangement with ICMS combined with undisclosed
11                 favorable terms from the outgoing Albanian government subjected the
12                 Company to substantial undisclosed risks, including that: (i) the contract
13                 would be terminated and/or materially reduced once the arrangement
14                 was disclosed; and (ii) that the transaction would be subject to
15                 government investigations and/or fines, including under the FCPA;
16             c. The    arrangement     with   ICMS    jeopardized     the   credibility   and
17                 sustainability of the turnkey business model, caused the Company to be
18                 vulnerable to potential civil and criminal liability and adverse regulatory
19                 action, and increased the risk that U.S. and foreign governments would
20                 refuse to do business with OSI once the details surrounding the Albanian
21                 turnkey contract were revealed;
22             d. The omission of material facts relating to (a)-(c) above created a false
23                 and/or misleading impression that the turnkey model would be the
24                 primary driver of OSI’s future growth and provide a sustainable
25                 competitive advantage in the security industry.
26
27
28
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            D.      Third Quarter 2014
  1
  2         150. During the April 30, 2014 Conference Call, Defendant Edrick continued

  3   to emphasize that “[d]uring the past few years, we have built a strong foundation for

  4   growth. The investments we have made enabled us to become the leader in turnkey

  5   screening solutions, and to continue to innovate to bring new products and services

  6   to market.”

  7         151. On the same call, Defendant Chopra specifically trumpeted the

  8   Company’s progress on the contract with Albania: “Regarding Albania, we are

  9   making progress and we are on track. But I don’t think so there will be any

10    contribution in revenue in Q4. But we are moving on target. We’re working

11    diligently with it and looking forward to 2015.”

12          152. Each of Defendants’ Class Period statements set forth in ¶¶ 150-151

13    were materially false or misleading when made, and/or omitted material facts,

14    including the following:

15               a. As detailed in Section IV above, the Albanian turnkey contract was

16                  subject to a secret and corrupt arrangement with an undisclosed partner

17                  (ICMS) whereby OSI would transfer 49% of its interest in the S2

18                  Albania contract entity to ICMS for $4.50 and provide lucrative “profit

19                  shar[ing]” rights in connection with the contract;

20               b. The secretive arrangement with ICMS combined with undisclosed

21                  favorable terms from the outgoing Albanian government subjected the

22                  Company to substantial undisclosed risks, including that: (i) the contract

23                  would be terminated and/or materially reduced once the arrangement

24                  was disclosed; and (ii) that the transaction would be subject to

25                  government investigations and/or fines, including under the FCPA;

26               c. The   arrangement    with    ICMS    jeopardized     the   credibility   and

27                  sustainability of the turnkey business model, caused the Company to be

28              vulnerable to potential civil and criminal liability and adverse regulatory
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  1                 action, and increased the risk that U.S. and foreign governments would
  2                 refuse to do business with OSI once the details surrounding the Albanian
  3                 turnkey contract were revealed;
  4              d. The omission of material facts relating to (a)-(c) above created a false
  5                 and/or misleading impression that the turnkey model would be the
  6                 primary driver of OSI’s future growth and provide a sustainable
  7                 competitive advantage in the security industry.
  8         E.      Summer 2014 Conferences
  9
            153. On May 14, 2014, Defendant Edrick appeared at the Oppenheimer
10
      Industrials Conference. During the conference, Edrick highlighted the turnkey
11
      business as the “biggest growth opportunity[,]” stating that:
12
            [N]umber one would be Turnkey. That’s a tremendous opportunity for
13          us. . . . So to the extent we win some of these contracts and win them
            sooner, it could propel some significant revenue growth for our Security,
14          our Rapiscan business for the foreseeable future.
15          154. Defendant Edrick touted the Company’s “first-mover advantage” against
16    competitors in turnkey:
17          There has been three contracts in the world that have been awarded to
            date in the order of Puerto Rico, Mexico, and Albania. So we’ve won all
18          three. So while we’re batting 1.000 today, and we think we have a good
            first-mover advantage that we won’t always win 100% of them. But we
19          think we’re in great shape. And we have a real nice pipeline of
            opportunities. These are long sales cycle products.
20
21          155. During the June 3, 2014 Stephens Spring Conference, Defendant Edrick

22    further emphasized the Company’s turnkey solutions, as follows:

23          <Q - Timothy J. Quillin>: . . . In the Security business, I think over the
            past, let’s say, three years or so, one of the big changes has been that
24          you’ve won some big and small turnkey services, outsource services
            contract where you own the equipment. Your employees run the
25          equipment and you get paid on a per site or per scan basis. Why has that
            business model proved to be popular? What’s the pipeline look like of
26          additional opportunities?
27         <A - Alan I. Edrick>: . . . You talk about the pipeline of opportunities,
           we are working on a number of deals. We’re very excited about those
28         opportunities. It’s a long sales cycle. As we’ve gone through these other
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            contracts, they generally ranged from the time we started talking to the
  1         time we executed the contract, anywhere between a couple of years to
            maybe as much as four years. I would say initially, it was a missionary
  2         sale, and we had to talk about a concept or a theory. And now hopefully,
            we’re moving a little bit beyond that as we’re able to take potential
  3         future customers, we can take into Puerto Rico, we can take into
            Mexico, and they can see for themselves just how seamless an operation
  4         it is.
  5         It really works extremely efficiently and it’s a very, very sophisticated
            operation. So we’re encouraged by that and we’re looking forward to
  6         winning new turnkeys in the future, while today we’ve been successful
            on winning all turnkeys awarded today, 100%, we’re not saying in the
  7         future, we’ll always win 100% but we think our first-mover advantage
            is significant and is going to allow us to win perhaps more than our
  8         fair share of deals going forward.
  9
            156. During the same conference, in response to specific questions from
10
      analyst Quillin about the “ramp-up process of each” turnkey contract, Defendant
11
      Edrick stated, “[I]n Albania, similarly, the construction is ongoing, which is our
12
      latest deal, as well as the equipment. And again, we’re waiting on the customer.”
13
            157. On June 4, 2014, the Company participated in the Jefferies LLC
14
      Healthcare Conference (the “June 4, 2014 Conference”). At the conference,
15
      Defendant Edrick touted the turnkey model:
16
            Let’s start talking about maybe one of the most exciting areas within
17          our Security business, and that’s turnkey. I started off the conversation
            telling you a little bit about this. But really the value proposition is for
18          customers that either don’t have the capital or the money to spend
            upfront or perhaps don’t have the operational expertise to do it, we
19          provide a full turnkey solution. And what we mean is we manufacture
            the equipment, we place it at the customer location, but we still own it,
20          it’s on our balance sheet. We staff it up with our people and then we
            charge a fee per scan or a fee per site per month. We determine what
21          might be right for the customer.
22          We sort of pioneered this model. And to-date we’ve won all contracts
            in the turnkey arena. While we think we have a nice first-mover
23          advantage and hopefully we’ll win more than our fair share in the
            future, clearly we’re not going to win 100% going forward. But we
24          really like our position.
25          158. In response to questions, Defendant Edrick further trumpeted margins
26    resulting from turnkey contracts:
27
28
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            Q: What are the return on capital ROI metrics for these turnkey projects?
  1         How much do you have to invest per dollar of revenues down the road
            when you reach breakeven? Thanks.
  2
            Edrick: Yeah, it’s a great question and one that we have refrained from
  3         answering for a number of reasons. As you can well imagine, we’re
            getting margins that are well above our corporate averages. So for a
  4         competitive reasons as well as potential prospects in the future, we’ve
            refrained from giving out our margins on those. But what we can tell
  5         you is that the payback is extremely attractive, the return on invested
            capital is extremely attractive and we’d be happy to sign these type of
  6         contracts any day of the week.
  7
            159. On August 12, 2014, Defendant Edrick appeared at another
  8
      Oppenheimer Conference—the Technology, Internet & Communications Conference
  9
      (the “August 12, 2014 Conference”) and again touted the Company’s turnkey
10
      operations: “And we won our first contract in Puerto Rico, followed that up with a
11
      win in Mexico and then Albania. And this recurring revenue at higher margin has
12
      really been a key to our success.”
13
            160. During the August 12, 2014 Conference, in response to questions from
14
      Yair Reiner, an analyst with Oppenheimer, Defendant Edrick promoted the turnkey
15
      contracts as driving growth:
16
            Turnkey, so this is the area that we might consider maybe our most
17          exciting opportunity for growth. These are the three contracts I
            referred to you earlier in Puerto Rico, Mexico and Albania. Very
18          exciting area for us. It really has changed the landscape not only for
            our Security business but for OSI Systems overall. It’s higher margin
19          and recurring revenue.
20          This is as much an IP project as it is an equipment project. The stuff
            we’re doing is highly sophisticated. We think we have a nice first-
21          mover advantage.
22          Today we’ve won a 100% of the turnkey projects that have been
            awarded in the world. And while we don’t profess to be able to
23          maintain 100%, we think our first-mover advantage will allow us to
            win hopefully more than our fair share of future turnkey awards.
24
            161. On August 14, 2014, the Company participated in the Jefferies Global
25
      Industrials Conference (the “August 14, 2014 Conference”). At the conference,
26
      Defendant Edrick again touted the turnkey contracts and the Company’s “first
27
      mover” advantage:
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                         55
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            [W]e challenged ourselves to say, how can we expand our revenues, and
  1         how can we expand our margins. And we said, well, what if there is a
            customer segment out there that maybe doesn’t have the capital to buy
  2         the equipment upfront, or if they do, perhaps they don’t have the
            operational expertise to run the equipment. Or if they have that, maybe
  3         there’s a third reason that they’d like to outsource the operation
            altogether. And to that end, we set up a business specifically focused on
  4         this a few years back, and we’ve won three contracts now in Puerto
            Rico, Mexico and Albania.
  5
            And there have been three contracts awarded in the world. So, right
  6         now, we’re batting a thousand, and we think that first mover
            advantage is going to lead to substantial capturing of future business
  7         going forward, though we don't expect to win 100% going forward all
            the time.
  8
  9         162. Each of Defendants’ Class Period statements set forth in ¶¶ 153-161

10    were materially false or misleading when made, and/or omitted material facts,

11    including the following:

12             a. As detailed in Section IV above, the Albanian turnkey contract was

13                subject to a secret and corrupt arrangement with an undisclosed partner

14                (ICMS) whereby OSI would transfer 49% of its interest in the S2

15                Albania contract entity to ICMS for $4.50 and provide lucrative “profit

16                shar[ing]” rights in connection with the contract;

17             b. The secretive arrangement with ICMS combined with undisclosed

18                favorable terms from the outgoing Albanian government subjected the

19                Company to substantial undisclosed risks, including that: (i) the contract

20                would be terminated and/or materially reduced once the arrangement

21                was disclosed; and (ii) that the transaction would be subject to

22                government investigations and/or fines, including under the FCPA;

23             c. The    arrangement   with    ICMS    jeopardized     the   credibility   and

24                sustainability of the turnkey business model, caused the Company to be

25                vulnerable to potential civil and criminal liability and adverse regulatory

26                action, and increased the risk that U.S. and foreign governments would

27                refuse to do business with OSI once the details surrounding the Albanian

28              turnkey contract were revealed;
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  1              d. The omission of material facts relating to (a)-(c) above created a false
  2                 and/or misleading impression that the turnkey model would be the
  3                 primary driver of OSI’s future growth and provide a sustainable
  4                 competitive advantage in the security industry.
  5         F.      Fourth Quarter 2014
  6
            163. On August 25, 2014, Defendants held a conference call to discuss the
  7
      Company’s 4Q14 financial results (“the August 25, 2014 Conference Call”). During
  8
      that call, Defendant Chopra stated:
  9
            Last year, we announced a 15-year contract that we received from the
10          government of Albania to provide turnkey cargo and vehicle screening
            services at various sites throughout the country of Albania.
11
            Unfortunately, we recently learned that the customer, the Albanian
12          newly elected government, has halted further progress on the contract
            and put into doubt the continuation of the program. The program had
13          been proceeding smoothly and ahead of schedule. We intend to
            strongly enforce our contractual rights and hope to reach an amicable
14          outcome. I would also note here that no revenues from Albania are
            included from this contract in the revenue guidance we are providing
15          for fiscal 2015. You can understand that, under the circumstances, we
            cannot comment further at this time.
16
            164. On August 27, 2014, OSI filed a Form 10-K, signed by Defendants
17
      Chopra, Mehra and Edrick, with the SEC, to report the Company’s financial results
18
      with the SEC (“FY14 10-K”).
19
            165. The FY14 10-K further stated the following regarding the Albania
20
      turnkey contract:
21
            The loss or termination of a contract by such an institution, even if for
22          reasons unrelated to the quality of our products or services, could
            therefore have a more wide-spread and potentially material adverse
23          effect on our business, financial condition and results of operations. For
            example, in August 2013, we announced a 15-year contract award
24          from the Government of Albania to provide turnkey cargo and vehicle
            screening services at various sites throughout the country. We were
25          recently notified that the Government of Albania has halted further
            progress on the contract. We have begun proceedings to protect our
26          legal rights.
27
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                          57
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  1         166. Exhibit 21.1 to the FY14 10-K also included a list of “Subsidiaries of
  2   OSI Systems, Inc.,” which included “S2 Albania Sh.p.k.”
  3         167. Each of Defendants’ statements set forth in ¶¶ 163-166 were materially
  4   false or misleading when made, and/or omitted material facts, including the
  5   following:
  6            a. As detailed in Section IV above, the Albanian turnkey contract was
  7                subject to a secret and corrupt arrangement with an undisclosed partner
  8                (ICMS) whereby OSI would transfer 49% of its interest in the S2
  9                Albania contract entity to ICMS for $4.50 and provide lucrative “profit
10                 shar[ing]” rights in connection with the contract;
11             b. The secretive arrangement with ICMS combined with undisclosed
12                 favorable terms from the outgoing Albanian government subjected the
13                 Company to substantial undisclosed risks, including that: (i) the contract
14                 would be terminated and/or materially reduced once the arrangement
15                 was disclosed; and (ii) that the transaction would be subject to
16                 government investigations and/or fines, including under the FCPA;
17             c. The    arrangement    with    ICMS    jeopardized     the   credibility   and
18                 sustainability of the turnkey business model, caused the Company to be
19                 vulnerable to potential civil and criminal liability and adverse regulatory
20                 action, and increased the risk that U.S. and foreign governments would
21                 refuse to do business with OSI once the details surrounding the Albanian
22                 turnkey contract were revealed;
23             d. The new Albanian government did not simply halt progress on the
24                 contract, but did so in part because of OSI’s collusive arrangement with
25                 ICMS, the corrupt terms and timing of the outgoing Albanian
26                 government’s authorization of the 49% transfer, and the undisclosed
27                 means required to secure the Albanian contract in the first instance.
28
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  1              e. The omission of material facts relating to (a)-(d) above created a false
  2                 and/or misleading impression that the turnkey model would be the
  3                 primary driver of OSI’s future growth and provide a sustainable
  4                 competitive advantage in the security industry.
  5         G.      First and Second Quarter 2015
  6
            168. On October 24, 2014 and January 27, 2015, OSI filed Form 10-Qs,
  7
      signed by Defendants Chopra and Edrick, with the SEC. In both of these Form 10-
  8
      Qs, Defendants touted the Company’s turnkey segment, stating “We believe that our
  9
      wide-ranging product portfolio together with our ability to provide turnkey
10
      screening solutions position us to competitively pursue security and inspection
11
      opportunities as they arise throughout the world.”
12
            169. On March 3, 2015, Defendant Edrick appeared at Morgan Stanley’s
13
      Technology Media & Telecom Conference and provided a detailed explanation of the
14
      Company’s turnkey business:
15
            The security business has been growing the fastest for us and in most the
16          areas that we’ve been and we tend to be number one or number two. . . .
            And when we look at it sort of break it down, we might break it down
17          into cargo products, baggage and parcel inspection products, maybe
            some people screening and turnkey. And what turnkey is in the
18          technology world, it’s sort of equivalent to a SaaS model rather than
            software-as-a-service, its security screening as a service. And we’re
19          clearly the number one in this market and is rapidly growing for us,
            and it’s a high margin area.
20
            170. In response to questions by analyst David Chen of Morgan Stanley,
21
      Defendant Edrick further discussed the turnkey solution, stating:
22
            <Q - David Chen>: Okay. So you've announced two so far Mexico and
23          Puerto Rico?
24          <A - Alan I. Edrick>: Correct. We had won a third one as well called
            Albania. Shortly after winning that, there was a change in the
25          administration. So we’ve cautioned The Street to exclude that from
            future prospects in terms of what we’re looking at, but there is always
26          opportunity to rekindle that.
27
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                          59
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  1         171. On March 10, 2015, the Company participated in the ROTH Growth
  2   Stock Conference (the “March 10, 2015 Conference”) where Defendant Chopra
  3   continued to tout the turnkey business:
  4         One of the other growing opportunity for us is, as I mentioned, we
            consider ourselves to be a pioneer in that, is the turnkey screening
  5         solutions.
  6                                       *     *     *
  7         Turnkey screening solutions gaining increased visibility. And we are
            well positioned to further revenue, earnings and EBITDA growth;
  8         market share gains and a very strong pipeline of new products driven
            by R&D...Significant growth in service revenues. As I’ve mentioned,
  9         one of the fastest growing segments and with high gross margins,
            operating margins is a service business consists of both our turnkey
10          operations and the service we provide after sale of the equipment both
            in healthcare and in the security. . . . In the security, the large
11          addressable market for turnkey security solutions catching on. We
            would consider ourselves from the pioneers in developing this
12          marketplace.
13
            172. Each of Defendants’ Class Period statements set forth in ¶¶ 168-171
14
      were materially false or misleading when made, and/or omitted material facts,
15
      including the following:
16
               a. As detailed in Section IV above, the Albanian turnkey contract was
17
                  subject to a secret and corrupt arrangement with an undisclosed partner
18
                  (ICMS) whereby OSI would transfer 49% of its interest in the S2
19
                  Albania contract entity to ICMS for $4.50 and provide lucrative “profit
20
                  shar[ing]” rights in connection with the contract;
21
               b. The secretive arrangement with ICMS combined with undisclosed
22
                  favorable terms from the outgoing Albanian government subjected the
23
                  Company to substantial undisclosed risks, including that: (i) the contract
24
                  would be terminated and/or materially reduced once the arrangement
25
                  was disclosed; and (ii) that the transaction would be subject to
26
                  government investigations and/or fines, including under the FCPA;
27
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                          60
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  1              c. The   arrangement    with    ICMS    jeopardized    the   credibility   and
  2                 sustainability of the turnkey business model, caused the Company to be
  3                 vulnerable to potential civil and criminal liability and adverse regulatory
  4                 action, and increased the risk that U.S. and foreign governments would
  5                 refuse to do business with OSI once the details surrounding the Albanian
  6                 turnkey contract were revealed;
  7              d. The new Albanian government did not simply halt progress on the
  8                 contract, but did so in part because of OSI’s collusive arrangement with
  9                 ICMS, the corrupt terms and timing of the outgoing Albanian
10                  government’s authorization of the 49% transfer, and the undisclosed
11                  means required to secure the Albanian contract in the first instance;
12               e. The omission of material facts relating to (a)-(d) above created a false
13                  and/or misleading impression that the turnkey model would be the
14                  primary driver of OSI’s future growth and provide a sustainable
15                  competitive advantage in the security industry.
16          H.      Summer 2015 Conferences
17
            173. On June 3, 2015, the Company participated in the Jefferies Global
18
      Healthcare Conference (the “June 3, 2015 Conference”) at which Defendant Edrick
19
      stated:
20
            This slide talks about our turnkey screening solutions, what we’re
21          talking a little bit about at the outset. . . . . This represents one of our
            biggest growth opportunities. In addition to the few contracts that
22          we’ve won, we have a nice funnel of opportunities. They’re generally
            along our sales cycle. Some of these potential customers we’ve been
23          working with for quite some time and are very optimistic about winning
            some deals here in the not too distant future. It’s really had a major
24          impact on improving our overall operating margins both through
            Rapiscan Systems and for OSI Systems overall. So quite excited about
25          this, and we’ll consider this one of our top growth opportunities.
26
27
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                             61
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  1         174. On August 5, 2015, the Company participated in the CFA Society of
  2   Minnesota’s InvestMNt Conference (the “August 5, 2015 Conference”) where Edrick
  3   stated:
  4         Turnkey, so we talked a little bit about this earlier. . . . When we think
            about what are our three biggest growth opportunities in security, one
  5         I would say would be turnkey, which we just talked about.
  6
            175. During the August 5, 2015 Conference, Defendant Edrick again
  7
      highlighted the advantages of the Company’s turnkey business, stating:
  8
            Yes, so the question, what’s the advantage of the turnkey? Why would a
  9         customer buy that as opposed to buying the equipment outright? Our
            customers are governments. So we are not talking about commercial
10          concerns whose primary motivation is profit.
11          We are dealing with governments, and we are not generally dealing
            with the Western world. Most of the turnkeys we are looking at are not
12          in the US or Western Europe. They are in places that have other
            unique challenges. So, one could be capital; they might not have the
13          cash in order to lay out. So that’s a real advantage for it.
14          Two, many of them really don’t have the expertise to do it themselves,
            the operational expertise. Third, others might have other concerns in
15          their particular country such as fear of corruption and things like that.
            And being able to outsource it to another Company could lend greater
16          credibility to the overall program.
17          Four would be not having to worry about the upkeep of the equipment
            throughout the life of it because we are taking all that responsibility.
18          So, most of our customers on the turnkey are not necessarily motivated
            by a profit because they are a government entity who is really motivated
19          by making sure that they have a complete screening.
20          So, we continue to believe most customers -- to the point of your
            question -- will buy equipment. But there is a nice set of customers out
21          there that are very, very interested in the turnkey, and we are pursuing
            that. So we sort of pursue it on a parallel path.
22
            176. Each of Defendants’ statements set forth in ¶¶ 173-175 were materially
23
      false or misleading when made, and/or omitted material facts, including the
24
      following:
25
                a. As detailed in Section IV above, the Albanian turnkey contract was
26
                   subject to a secret and corrupt arrangement with an undisclosed partner
27
                   (ICMS) whereby OSI would transfer 49% of its interest in the S2
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                          62
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  1                 Albania contract entity to ICMS for $4.50 and provide lucrative “profit
  2                 shar[ing]” rights in connection with the contract;
  3              b. The secretive arrangement with ICMS combined with undisclosed
  4                 favorable terms from the outgoing Albanian government subjected the
  5                 Company to substantial undisclosed risks, including that: (i) the contract
  6                 would be terminated and/or materially reduced once the arrangement
  7                 was disclosed; and (ii) that the transaction would be subject to
  8                 government investigations and/or fines, including under the FCPA;
  9              c. The   arrangement    with    ICMS    jeopardized     the   credibility   and
10                  sustainability of the turnkey business model, caused the Company to be
11                  vulnerable to potential civil and criminal liability and adverse regulatory
12                  action, and increased the risk that U.S. and foreign governments would
13                  refuse to do business with OSI once the details surrounding the Albanian
14                  turnkey contract were revealed;
15               d. The omission of material facts relating to (a)-(c) above created a false
16                  and/or misleading impression that the turnkey model would be the
17                  primary driver of OSI’s future growth and provide a sustainable
18                  competitive advantage in the security industry.
19          I.      Fourth Quarter 2015
20
            177. OSI issued the October 13, 2015 Press Release announcing that “the
21
      Company has commenced the operations phase with the Government of Albania to
22
      provide turnkey cargo and vehicle security screening services at multiple sites
23
      throughout the country. The Company currently anticipates total revenues to be
24
      approximately €200 million over the multi-year term of the agreement.”
25
            178. Defendant Chopra added that “With Albania now operational, along
26
      with the Puerto Rico and Mexico turnkey programs, we continue to innovate and
27
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                              63
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  1   differentiate ourselves in the turnkey solutions space where we expect to experience
  2   additional growth.”
  3         179. Each of Defendants’ Class Period statements set forth in ¶¶ 177-178
  4   were materially false or misleading when made, and/or omitted material facts,
  5   including the following:
  6            a. As detailed in Section IV above, the Albanian turnkey contract was
  7               subject to a secret and corrupt arrangement with an undisclosed partner
  8               (ICMS) whereby OSI would transfer 49% of its interest in the S2
  9               Albania contract entity to ICMS for $4.50 and provide lucrative “profit
10                shar[ing]” rights in connection with the contract;
11             b. The secretive arrangement with ICMS combined with undisclosed
12                favorable terms from the outgoing Albanian government subjected the
13                Company to substantial undisclosed risks, including that: (i) the contract
14                would be terminated and/or materially reduced once the arrangement
15                was disclosed; and (ii) that the transaction would be subject to
16                government investigations and/or fines, including under the FCPA;
17             c. The    arrangement    with   ICMS     jeopardized    the   credibility   and
18                sustainability of the turnkey business model, caused the Company to be
19                vulnerable to potential civil and criminal liability and adverse regulatory
20                action, and increased the risk that U.S. and foreign governments would
21                refuse to do business with OSI once the details surrounding the Albanian
22                turnkey contract were revealed;
23             d. The purported €200 million in revenue from the Albanian contract was
24                subject to an undisclosed “profit shar[ing] agreement” and 49% transfer
25                of the S2 Albania entity that owned the rights to the contract;
26             e. The omission of material facts relating to (a)-(d) above created a false
27                and/or misleading impression that the turnkey model would be the
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                            64
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  1                primary driver of OSI’s future growth and provide a sustainable
  2                competitive advantage in the security industry.
  3         J.     First and Second Quarter 2016
  4
            180. On October 29, 2015, OSI issued a press release announcing its financial
  5
      results for the first quarter of fiscal year 2016 (“1Q16”) (the “October 29, 2015 Press
  6
      Release”), which was attached as an exhibit to a Form 8-K signed by Defendant
  7
      Edrick and filed with the SEC on the same date.
  8
            181. In the October 29, 2015 Press Release, Defendant Chopra boasted about
  9
      the commencement of the Albanian contract, stating “[b]ookings in our Security
10
      division were outstanding, highlighted by the recently announced $19 million order
11
      under . . . and the commencement of the turnkey security screening program in
12
      Albania, our third such turnkey program.”
13
            182. On the same day, the Company held a conference call to discuss the
14
      results of 1Q16 (the “October 29, 2015 Conference Call”). On the call, Defendant
15
      Edrick also trumpeted the commencement of the Albanian turnkey contract:
16
            We were pleased to reach agreement with the Government of Albania
17          on certain contract changes, which led to the commencement of
            activities. We expect to ramp up to our full run rate this fiscal year.
18
            This 15-year contract for turnkey cargo and vehicle security screening
19          services at various checkpoints throughout the country is valued at
            approximately EUR200 million. Initial site operations are going
20          smoothly and we look forward to increasing revenues from this contract
            throughout this fiscal year as new sites come online.
21
            Following Puerto Rico and Mexico, this is the third major turnkey
22          services program now in operation. Similar to that in Mexico,
            Albania's service cost is based on a fixed amount per site per month.
23
            183. Defendant Edrick further touted the status of the Albanian turnkey
24
      contract:
25
            [Millward] Alan, given your strong bookings during the quarter, how
26          should we think about the overall growth of your security business this
            year? And in terms of seasonality, if you can talk about seasonality and
27          when do you expect Albania to be fully operational?
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                           65
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            [Edrick] Sure, Josephine. Good questions, I’ll maybe take them in
  1         inverse order. Albania we expect to be fully ramped during the course
            of this fiscal year. It’s moving up at a nice pace and we think will enter
  2         fiscal 2017 at a full ramp rate. So we are very pleased with the
            progress that we are making in Albania.
  3
  4         184. On January 27, 2016, OSI issued a press release announcing its financial

  5   results for the second quarter of fiscal year 2016 (“2Q16”) (the “January 27, 2016

  6   Press Release”), which was attached as an exhibit to a Form 8-K signed by Defendant

  7   Edrick and filed with the SEC on the same date.

  8         185. In the January 27, 2016 Press Release, Defendant Chopra boasted about

  9   the reinstatement of the Albanian contract:

10          Security division bookings in the first half were up 272% over the prior
            year. These bookings, together with the ramp up of our turnkey
11          program in Albania and a solid pipeline of opportunities, position the
            division well for a strong second half weighted to the fourth quarter
12          based upon the anticipated timing of converting our backlog and
            opportunities into revenue.
13
            186. On January 27, 2016, OSI held a conference call to discuss and expand
14
      upon the Company’s 2Q16 financial results (the “January 27, 2016, Conference
15
      Call”). During the call, Defendant Edrick had the following exchange with analyst
16
      Josephine Millward of The Benchmark Company:
17
            Millward: What do you have in your backlog for Albania, Alan? It’s not
18          the EUR 200 million, right? You don’t have all of it in there?
19          Edrick: That’s correct. We only include five years worth of revenues
            on Albania in our backlog, so that’s in the neighborhood of $60
20          million, plus or minus.
21
            187. On the same call, Defendant Edrick elaborated on the status of the
22
      Albanian contract, stating “The Albania turnkey contract has been ramping up
23
      nicely. It is expected to be fully operational in Q3.
24
            188. Defendant Edrick further touted the growth opportunity of OSI’s turnkey
25
      services and the performance of the Albanian contract, stating:
26
           In turnkey services, another major growth opportunity for us with a
27         long sales cycle, we continue to see a strong pipeline. We are optimistic
           of landing new turnkey deals and have added additional resources to
28         support these opportunities. However, the timing of these deals has been
      CONSOLIDATED CLASS ACTION COMPLAINT                                        66
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            and will continue to be influenced by the macroeconomic factors
  1         discussed earlier. Our most recent turnkey contract in Albania is
            performing well, and we expect to be fully operational within this
  2         quarter. In addition, our other turnkey programs continue to perform
            well.
  3
            We are well situated for growth in products and services including
  4         turnkey programs and have a strong balance sheet that can easily absorb
            the capital requirements from longer lead time builds or turnkey
  5         opportunities that often require significant initial capital outlay. . . . The
            strength in our backlog and bookings trend and continued strength in
  6         foreseeable demand for our products globally gives us confidence in
            the second half and delivering a very strong Q4 in security.
  7
  8         189. On March 15, 2016, Defendants participated in the ROTH Conference

  9   (the “March 15, 2016 Conference”). During the March 15, 2016 Conference,

10    Defendant Chopra touted the turnkey business and the Albanian contract:

11          One of the big growth opportunities for us is in the large-scale turnkey
            screening solutions with significant global expansion opportunities. . .
12          . [T]he latest win was Albania. So that in this space, this is a new
            evolving market because you’re trying to get to be a service provider in
13          the security field to your customer. And a site to have a site to show is
            a big win for us. . . . Margins tend to be very good compared to selling
14          just the equipment.
15          190. Each of Defendants’ Class Period statements set forth in ¶¶ 181-183,
16    185-189 were materially false or misleading when made, or omitted material facts,
17    including the following:
18             a. As detailed in Section IV above, the Albanian turnkey contract was
19                subject to a secret and corrupt arrangement with an undisclosed partner
20                (ICMS) whereby OSI would transfer 49% of its interest in the S2
21                Albania contract entity to ICMS for $4.50 and provide lucrative “profit
22                shar[ing]” rights in connection with the contract;
23             b. The secretive arrangement with ICMS combined with undisclosed
24                favorable terms from the outgoing Albanian government subjected the
25                Company to substantial undisclosed risks, including that: (i) the contract
26                would be terminated and/or materially reduced once the arrangement
27
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                              67
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  1                 was disclosed; and (ii) that the transaction would be subject to
  2                 government investigations and/or fines, including under the FCPA;
  3              c. The   arrangement    with    ICMS    jeopardized    the   credibility   and
  4                 sustainability of the turnkey business model, caused the Company to be
  5                 vulnerable to potential civil and criminal liability and adverse regulatory
  6                 action, and increased the risk that U.S. and foreign governments would
  7                 refuse to do business with OSI once the details surrounding the Albanian
  8                 turnkey contract were revealed;
  9              d. The purported €60 million in “backlog” revenues from the Albanian
10                  contract was subject to an undisclosed “profit shar[ing] agreement” and
11                  49% transfer of the S2 Albania entity that owned the rights to the
12                  contract;
13               e. The omission of material facts relating to (a)-(d) above created a false
14                  and/or misleading impression that the turnkey model would be the
15                  primary driver of OSI’s future growth and provide a sustainable
16                  competitive advantage in the security industry.
17          K.      Third Quarter 2016
18
            191. On April 27, 2016, OSI held a conference call to discuss and expand
19
      upon the Company’s 3Q16 financial results (the “April 27, 2016, Conference Call”).
20
      During the call, in an exchange with Brian W. Ruttenbur of Drexel Hamilton LLC,
21
      Defendant Edrick provided revenue estimates for the Albanian contract:
22
            Ruttenbur: And then, Albania started, you said in the third quarter, how
23          much revenue did that contribute?
24          Edrick: We don’t generate-- talk about revenues by projects, but as you
            know, Albania at full run rate is in the neighborhood of the $12
25          million to $13 million a year, increasing on an annual basis.
26
27
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                             68
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  1         192. On the same call, Defendant Edrick touted the performance of the
  2   Security division, which included revenues from the Albania turnkey contract,
  3   stating:
  4         Excluding this FMS contract, sales were up by 5% for the quarter due
            to the performance of our security division, which included revenues
  5         associated with a large Middle East contract and Albania, our latest
            turnkey program, where all sites became fully operational during Q3.
  6         Strong Security Division sales were offset by significantly weaker-than-
            expected sales in our Healthcare division.
  7
  8         193. Defendant Chopra further lauded OSI’s turnkey business and boasted

  9   that all three contracts were performing well:

10          On the turnkey services front, Mexico, Puerto Rico and Albania
            turnkey screening service contracts continue to perform well and we
11          continue to add new opportunities to the turnkey pipeline. We are
            pleased that the ramp-up in Albania went as expected and by quarter
12          end, all sites are fully operational.
13          Our overall long-term pipeline for Rapiscan products and screening
            services continues to be strong. . . .
14
            194. On the April 28, 2016, OSI filed a Form 10-Q with the SEC for 3Q16
15
      (the “3Q16 Form 10-Q”) signed by Defendants Chopra and Edrick. In the 3Q16 Form
16
      10-Q, the Defendants OSI, Chopra, and Edrick touted that the increase in Security
17
      division revenues were due, in part, to the implementation of Albania turnkey
18
      contract:
19
            Revenues for the Security Division for the three months ended March
20          31, 2016 increased primarily as a result of a $23 million equipment sale
            to a Middle East customer and the implementation of our turn-key
21          screening operations in Albania.
22
            195. On May 9, 2016, BB&T Capital Markets issued an analyst report titled
23
      “OSIS: Light at the End of the Tunnel; Upgrading to Buy, $70PT” describing a
24
      meeting with OSI’s management as follows:
25
            Following a recent non-deal roadshow alongside OSIS management, we
26          are growing increasingly confident in the company's ability to overcome
            recent issues.
27                                      *      *      *
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                        69
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            Turnkey. Following the ramp in Albania, we estimate that the
  1         company is seeing approximately $140M-$150M contributed to annual
            revenue by Turnkey programs. We believe there are still meaningful
  2         opportunities for these solutions and would anticipate the company
            adding about 1 per year on average.
  3
  4         196. On June 7, 2016, Defendants participated in Jefferies Healthcare

  5   Conference (the “June 7, 2016 Conference”). During the conference, Defendant

  6   Edrick highlighted the benefits of the turnkey business and the high margins of its

  7   current turnkey contracts:

  8         We are a leader in cargo and in cargo turnkey is really the fastest-
            growing area for us. As mentioned a bit earlier, the difference between
  9         selling equipment and turnkey, turnkey is our version really of a SaaS
            model rather than software as a service, it is security as a service. We
10          own the equipment and then we charge a fee per scan or we charge a fee
            for site per month and then turn long-term contracts. The first three that
11          we have gotten are six years, 10 years and 15 years in duration. They
            are substantially higher margin than our corporate averages and has
12          really enabled a lot of the EPS and EBITDA growth that we have seen
            over the last several years.
13
            Our opportunity pipeline for turnkey remains robust. It is a longer
14          sales cycle as there is quite a bit of education that needs to take place.
            We are hopeful now that we have three up and running and three up
15          and running that are very successful. We can shorten that new win
            process by a little bit.
16
            197. Each of Defendants’ Class Period statements set forth in ¶¶ 191-196
17
      were materially false or misleading when made, or omitted material facts, including
18
      the following:
19
               a. As detailed in Section IV above, the Albanian turnkey contract was
20
                   subject to a secret and corrupt arrangement with an undisclosed partner
21
                   (ICMS) whereby OSI would transfer 49% of its interest in the S2
22
                   Albania contract entity to ICMS for $4.50 and provide lucrative “profit
23
                   shar[ing]” rights in connection with the contract;
24
               b. The secretive arrangement with ICMS combined with undisclosed
25
                   favorable terms from the outgoing Albanian government subjected the
26
                   Company to substantial undisclosed risks, including that: (i) the contract
27
                   would be terminated and/or materially reduced once the arrangement
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                           70
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  1                 was disclosed; and (ii) that the transaction would be subject to
  2                 government investigations and/or fines, including under the FCPA;
  3              c. The   arrangement     with   ICMS     jeopardized   the   credibility   and
  4                 sustainability of the turnkey business model, caused the Company to be
  5                 vulnerable to potential civil and criminal liability and adverse regulatory
  6                 action, and increased the risk that U.S. and foreign governments would
  7                 refuse to do business with OSI once the details surrounding the Albanian
  8                 turnkey contract were revealed;
  9              d. The purported revenues from the Albanian contract, including “$12
10                  million to $13 million a year increasing on an annual basis,” were
11                  subject to an undisclosed “profit shar[ing] agreement” and 49% transfer
12                  of the S2 Albania entity that owned the rights to the contract;
13               e. The omission of material facts relating to (a)-(d) above created a false
14                  and/or misleading impression that the turnkey model would be the
15                  primary driver of OSI’s future growth and provide a sustainable
16                  competitive advantage in the security industry.
17          L.      Fourth Quarter 2016
18
            198. On August 16, 2016, OSI issued a press release announcing its financial
19
      results for the fourth quarter of fiscal year 2016 (“4Q16”) and annual results (the
20
      “August 16, 2016 Press Release”), which was attached an exhibit to a Form 8-K
21
      signed by Defendant Edrick and filed with the SEC on the same date.
22
            199. In the August 16, 2016 Press Release, the Defendant Chopra touted the
23
      performance of OSI’s turnkey contracts, stating, “We are also very encouraged by
24
      the outstanding performance of our turnkey security screening services operations
25
      in fiscal 2016 and the pipeline of opportunities for further turnkey awards in fiscal
26
      2017.”
27
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                             71
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  1         200. On the same day, OSI held a conference call to discuss and expand upon
  2   the Company’s 4Q16 and annual financial results (the “August 16, 2016, Conference
  3   Call”). During the call, Defendant Chopra again trumpeted turnkey as a “key growth
  4   driver” and highlighted the performance of the Company’s turnkey contracts,
  5   including Albania:
  6         In turnkey services, our current programs in Albania, Mexico and
            Puerto Rico continue to perform well, and contribute significantly to
  7         our overall performance. This market represents a key growth driver
            for us going forward, as the potential turnkey pipeline continues to
  8         grow, and we believe we are in excellent position to capture additional
            turnkey services opportunities.
  9
10          201. On the same call, Defendant Chopra had the following exchange with

11    Larry Solow of CJS Securities:

12          Solow: Okay. And then on turnkey, it sounds like, without getting into
            the real specific details, it sounds like your queue of opportunities is big
13          as it has been in some time. And hopefully things start—it’s just a matter
            of when you can close some deals. Is that a good assessment?
14
            Chopra: That’s a good assessment. And again, I want to emphasize that
15          most of these deals are—a [majority] of the deals are cargo-based. So,
            even at the end it becomes a sale of equipment, or it turns into a turnkey.
16
            Our pipeline is very robust and strong. And we also, what we feel is,
17          we have demonstrated that this can work. So, we have a big headstart
            from our competitors.
18
            202. On the August 16, 2016, Conference Call, in response to questions from
19
      Jeff Martin of ROTH Capital Partners, LLC, Defendant Chopra attributed the delay
20
      in the Albania turnkey contract to newly elected government, as follows:
21
            Martin: Was wondering if you could give us a little more detail on the
22          turnkey pipeline? I mean, it’s understandable that timing is always
            unpredictable. If I am recalling correctly, Albania was your last win,
23          which was approximately three years ago.
24          Just curious if you have specific visibility on near-term projects that
            could close? Or if this is just a long lead cycle that there isn't a ton of
25          visibility on?
26          Chopra: Jeff, the way you’re saying it is right. These are tough things to
            predict. All we can tell you is, with the successes we’ve had—and keep
27          in mind—Albania is a good example, although it’s been three years, it
            also got sort of stopped when the election happened, and then it got
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                            72
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            rejuvenated. We are working for most of these turnkey projects in areas
  1         where there is some unpredictability, both volatility in the economy,
            volatility in their requirements, volatility in just the need for protecting
  2         the infrastructure.
  3
            203. On the August 19, 2016, OSI filed an annual report on Form 10-K for
  4
      the fiscal year 2016 with the SEC (the “FY16 Form 10-K”) signed by Defendants
  5
      Chopra, Edrick, and Mehra.
  6
            204. In the FY16 Form 10-K, Defendants highlighted the Albanian contract’s
  7
      contribution to the Security division’s revenues, stating:
  8
            Fiscal 2016 Compared with Fiscal 2015. Revenues for the Security
  9         division decreased 15% primarily as a result of a $66.4 million reduction
            in revenues associated with a Foreign Military Sale contract with the
10          U.S. Department of Defense . . . . This decrease was partially offset by
            revenues from the commencement of our turnkey scanning operation
11          in Albania during the year.
12          205. Thereafter, on October 21, 2016, the Company filed a Form DEF 14A
13    with the SEC. In describing its executive compensation, which was tied to certain
14    performance targets, the Company stated that its “key achievements” for fiscal 2016
15    included the “[s]ignificant 15-year booking and successful rollout of our turnkey
16    screening solutions program in Albania.”
17          206. Each of Defendants’ Class Period statements set forth in ¶¶ 199-205
18    were materially false or misleading when made, or omitted material facts, including
19    the following:
20             a. As detailed in Section IV above, the Albanian turnkey contract was
21                 subject to a secret and corrupt arrangement with an undisclosed partner
22                 (ICMS) whereby OSI would transfer 49% of its interest in the S2
23                 Albania contract entity to ICMS for $4.50 and provide lucrative “profit
24                 shar[ing]” rights in connection with the contract;
25             b. The secretive arrangement with ICMS combined with undisclosed
26                 favorable terms from the outgoing Albanian government subjected the
27                 Company to substantial undisclosed risks, including that: (i) the contract
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                            73
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  1                 would be terminated and/or materially reduced once the arrangement
  2                 was disclosed; and (ii) that the transaction would be subject to
  3                 government investigations and/or fines, including under the FCPA;
  4              c. The   arrangement     with   ICMS     jeopardized   the   credibility   and
  5                 sustainability of the turnkey business model, caused the Company to be
  6                 vulnerable to potential civil and criminal liability and adverse regulatory
  7                 action, and increased the risk that U.S. and foreign governments would
  8                 refuse to do business with OSI once the details surrounding the Albanian
  9                 turnkey contract were revealed;
10               d. The purported revenues from the Albanian contract were subject to an
11                  undisclosed “profit shar[ing] agreement” and 49% transfer of the S2
12                  Albania entity that owned the rights to the contract;
13               e. The new Albanian government did not simply halt progress on the
14                  contract, but did so in part because of OSI’s collusive arrangement with
15                  ICMS, the corrupt terms and timing of the outgoing Albanian
16                  government’s authorization of the 49% transfer, and the undisclosed
17                  means required to secure the Albanian contract in the first instance;
18               f. The omission of material facts relating to (a)-(e) above created a false
19                  and/or misleading impression that the turnkey model would be the
20                  primary driver of OSI’s future growth and provide a sustainable
21                  competitive advantage in the security industry.
22          M.      First Quarter 2017
23
            207. On October 27, 2016, OSI held a conference call to discuss and expand
24
      upon the Company’s 1Q17 results (the “October 27, 2016, Conference Call”). During
25
      the call, Defendant Edrick stressed the Company’s “leadership role” in turnkey
26
      solutions:
27
           Over the past decade, we have demonstrated a strong track record of
28         producing sales and earnings growth with strong cash flow generation
      CONSOLIDATED CLASS ACTION COMPLAINT                                    74
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             while simultaneously investing in product development and innovation
  1          for the future and making strategic acquisitions that serve us well. Our
             investments have enabled us to continue our leadership role of the
  2          turnkey screening solutions market space and have allowed us to
             introduce innovative products and solutions to the market across our
  3          various industries.
  4
             208. Defendant Chopra added that “[t]he turnkey services pipeline continues
  5
      to be strong. . . .”
  6
             209. On the October 31, 2016, OSI filed a quarterly report on Form 10-Q for
  7
      the 1Q17 with the SEC (the “1Q17 Form 10-Q”) signed by Defendants Chopra and
  8
      Edrick. In the 1Q17 Form 10-Q, Defendants OSI, Defendants Chopra, and Edrick
  9
      again highlighted :
10
             Revenues for the Security division for the three months ended
11           September 30, 2016 increased primarily as a result of the following: (i)
             $14.2 million from sales of our newly acquired subsidiary, AS&E; (ii) a
12           significant increase in sales of our RTT product to European customers;
             and (iii) increased turnkey screening services revenues primarily as a
13           result of our contract with the Albanian government.
14           210. On December 21, 2016, Defendants filed a Form 8-K attaching a copy
15    of a Fifth Amendment to Credit Agreement as Exhibit 10.1. In the Fifth Amendment
16    to Credit Agreement, Defendants represented that:
17           Set forth on Schedule 3.12 is a complete and accurate list of all
             Subsidiaries, joint ventures and partnerships of the Credit Parties as of
18           the Closing Date. Information on the attached Schedule includes the
             following: (a) the number of shares of each class of Equity Interest or
19           other equity interests of each Subsidiary outstanding and (b) the number
             and percentage of outstanding shares of each class of Equity Interest
20           owned by the Borrower or any of its Subsidiaries. The outstanding
             Equity Interest and other equity interests of all such Subsidiaries is
21           validly issued, fully paid and non-assessable and is owned free and clear
             of all Liens (other than those arising under or contemplated in
22           connection with the Credit Documents). There are no outstanding
             subscriptions, options, warrants, calls, rights or other agreements or
23           commitments (other than stock options granted to employees or
             directors and directors’ qualifying shares) of any nature relating to
24           any Equity Interest of the Borrower or any Subsidiary, except as
             contemplated in connection with the Credit Documents. The Borrower
25           shall update Schedule 3.12 from time to time, in accordance with
             Section 5.2, by providing a replacement Schedule 3.12 to the
26           Administrative Agent.
27
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                          75
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  1         211. Each of Defendants’ Class Period statements set forth in ¶¶ 207-210
  2   were materially false or misleading when made, or omitted material facts, including
  3   the following:
  4            a. As detailed in Section IV above, the Albanian turnkey contract was
  5               subject to a secret and corrupt arrangement with an undisclosed partner
  6               (ICMS) whereby OSI would transfer 49% of its interest in the S2
  7               Albania contract entity to ICMS for $4.50 and provide lucrative “profit
  8               shar[ing]” rights in connection with the contract;
  9            b. The secretive arrangement with ICMS combined with undisclosed
10                favorable terms from the outgoing Albanian government subjected the
11                Company to substantial undisclosed risks, including that: (i) the contract
12                would be terminated and/or materially reduced once the arrangement
13                was disclosed; and (ii) that the transaction would be subject to
14                government investigations and/or fines, including under the FCPA;
15             c. The   arrangement     with   ICMS     jeopardized    the   credibility   and
16                sustainability of the turnkey business model, caused the Company to be
17                vulnerable to potential civil and criminal liability and adverse regulatory
18                action, and increased the risk that U.S. and foreign governments would
19                refuse to do business with OSI once the details surrounding the Albanian
20                turnkey contract were revealed;
21             d. The purported revenues from the Albanian contract were subject to an
22                undisclosed “profit shar[ing] agreement” and 49% transfer of the S2
23                Albania entity that owned the rights to the contract;
24             e. The omission of material facts relating to (a)-(d) above created a false
25                and/or misleading impression that the turnkey model would be the
26                primary driver of OSI’s future growth and provide a sustainable
27                competitive advantage in the security industry.
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                            76
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            N.     Second Quarter 2017
  1
  2         212. On January 26, 2017, OSI issued a press release announcing its financial

  3   results for the second quarter of fiscal year 2017 (“2Q17”) (the “January 26, 2017

  4   Press Release”), which was attached as an exhibit to a Form 8-K signed by Defendant

  5   Edrick and filed with the SEC on the same date.

  6         213. On the same day, OSI held a conference call to discuss and expand upon

  7   the Company’s 2Q17 results (the “January 26, 2017, Conference Call”). During the

  8   call, Defendant Edrick clarified that the increase was, in part, due to the increase in

  9   revenue from the Albanian contract, stating:

10          As mentioned previously, revenues in Q2 increased by 23% on a year-
            over-year basis. Revenues in the Security division increased by 49%
11          primarily as a result of the inclusion of $29 million of revenues from
            the AS&E acquisition, a significant increase in sales of our RTT
12          checked baggage systems to international customers and an increase in
            turnkey screening services revenue as a result of the program in
13          Albania, which ramped up in fiscal 2016.
14          214. Defendant Chopra added that “[i]n turnkey services, our programs in
15    Puerto Rico, Mexico and Albania continue to perform well. Overall, we see the
16    pipeline staying robust and we remain optimistic that OSI will capture new turnkey
17    programs in the near future.”
18          215. On the February 1, 2017, OSI filed a quarterly report on Form 10-Q for
19    the 2Q17 with the SEC (the “2Q17 Form 10-Q”) signed by Defendants Chopra and
20    Edrick. In the 1Q16 Form 10-Q, Defendants OSI, Chopra, and Edrick again
21    highlighted that the strength of the Security division’s performance was due to the
22    Albanian contract, stating:
23          Revenues for the Security division for the three months ended
            December 31, 2016 increased primarily as a result of (i) $29.1 million
24          from sales of our newly acquired subsidiary, AS&E; (ii) significantly
            increased sales of our RTT product to international customers; and (iii)
25          increased turnkey screening services revenues as a result of our
            contract with the Albanian government.
26
                                        *     *      *
27
           Revenues for the Security division for the six months ended December
28         31, 2016 increased primarily as a result of (i) $43.2 million from sales
      CONSOLIDATED CLASS ACTION COMPLAINT                                        77
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            of our newly acquired subsidiary, AS&E; (ii) significantly increased
  1         sales of our RTT product to international customers; and (iii) increased
            turnkey screening services revenues as a result of our contract with
  2         the Albanian government.
  3
            216. On February 8, 2017, Defendants participated in the Cowen
  4
      Aerospace/Defense & Industrials Conference (the “February 8, 2017 Conference”).
  5
      At the conference, Defendant Edrick stated:
  6
            One of the really interesting areas of our Security business is what we
  7         call turnkey. So our basic business model in the past for Security had
            always been, we sell equipment and then we get some recurring revenue
  8         through service, spare parts, and maintenance. And we challenged
            ourselves a few years ago, to say, how can we expand that revenue
  9         potential and how can we expand those margins?
10          And we thought there might be a customer set out there that either didn’t
            have the capital or cash to buy the equipment upfront, or if they did,
11          maybe they don’t have the operational expertise to run it.
12          And we formed this turnkey unit. And what we mean by that is we
            manufacture the equipment. We place it at the customer's site. We staff
13          it up with our people, and then we charge a fee per scan or a fee per site
            per month. And we enter into a long, multiyear contracts with these
14          customers. And this has been extraordinarily successful for us. In just
            a few short years, this has gone from 0% of our Security business to
15          about 30% today. So it’s been very, very exciting. It’s a nice revenue,
            higher margin business for us of a recurring nature.
16
            We have a strong first-mover advantage. Up to this point, we're really
17          the only company out there with any significant contract wins in
            turnkey, and we're looking forward to continuing to maintain our
18          leadership in this area.
19          217. In response to questions from an audience member, Defendant Edrick
20    lauded the Company’s turnkey business and boasted that the business growing due to
21    the Albanian contract:
22          A: So we’re talking about number being one or two in that area. Within
            turnkey, we’re a clear number one. Where we have the lion’s share of
23          that marketplace.
24                                      *    *      *
25          A: Yeah. So, the turnkey business is growing a little bit organically as
            Albania became fully ramped up and now it’s waiting for our next
26          turnkey wins.
27
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                          78
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  1         218. On February 15, 2017, the Company entered into a purchase agreement
  2   (the “Purchase Agreement”) for the issuance and sale of $250 million of the
  3   Company’s OSI Bonds. On February 22, 2017, the Company closed the offering. On
  4   the same day, the Company filed a Form 8-K explaining the transaction and attaching
  5   a copy of the Purchase Agreement and indenture. According to the February 22,
  6   2017, Form 8-K, the Initial Purchasers anticipated selling the OSI Bonds to qualified
  7   institutional buyers.
  8         219. In the Purchase Agreement, OSI represented the following regarding its
  9   subsidiaries:
10          Good Standing of Subsidiaries. Each “significant subsidiary” of the
            Company (as such term is defined in Rule 1-02 of Regulation S-X)
11          (each, a “Subsidiary” and, collectively, the “Subsidiaries”) has been duly
            organized and is validly existing in good standing under the laws of the
12          jurisdiction of its incorporation or organization, has corporate or similar
            power and authority to own, lease and operate its properties and to
13          conduct its business as described in the General Disclosure Package and
            the Final Offering Memorandum and is duly qualified to transact
14          business and is in good standing in each jurisdiction in which such
            qualification is required, whether by reason of the ownership or leasing
15          of property or the conduct of business, except where the failure to so
            qualify or to be in good standing would not result in a Material Adverse
16          Effect. Except as otherwise disclosed in the General Disclosure
            Package and the Final Offering Memorandum, all of the issued and
17          outstanding capital stock of each Subsidiary has been duly authorized
            and validly issued, is fully paid and non-assessable and is owned by
18          the Company, directly or through subsidiaries, free and clear of any
            security interest, mortgage, pledge, lien, encumbrance, claim or equity.
19          None of the outstanding shares of capital stock of any Subsidiary was
            issued in violation of the preemptive or similar rights of any security
20          holder of such Subsidiary. The Company does not own or control,
            directly or indirectly, any corporation, association or other entity other
21          than the subsidiaries listed in Exhibit 21 to the Company’s Annual
            Report on Form 10-K for the fiscal year ended June 30, 2016, except as
22          disclosed in the General Disclosure Package and the Final Offering
            Memorandum and such other subsidiaries none of which, in the
23          aggregate, would constitute a “significant subsidiary” of the Company
            under Rule 1-02 of Regulation S-X. The only Subsidiaries of the
24          Company are the subsidiaries listed on Schedule D hereto.
25
            220. Schedule D of the Purchase Agreement listed S2 Albania (Albania) as
26
      such a “Subsidiary.”
27
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                           79
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  1         221. On the March 14, 2017, the Company participated in the ROTH Capital
  2   Partners Conference (the “March 14, 2017 Conference”). At the conference,
  3   Defendant Edrick touted the turnkey model:
  4         But, again, wherever there happens to be a significant tender taking
            place, we’re generally playing in that tender. That brings us to turnkey.
  5         . . And we were the first ones to do this, and to-date are still the only one
            to have had any significant contracts on this. We’ve won three deals.
  6         These are multi-year deals ranging so far anywhere between 6 and 15
            years. And then just four, five short years since we launched this idea,
  7         this has already become north of 30% of our security division
            revenues. So, it’s a nice business that has been highly successful for
  8         us. It’s a long sales cycle. Our goal is really to try to add one or two a
            year.
  9
            We haven’t exactly hit that goal. It tended to take us a little bit longer to
10          add new contracts as with just so many intricacies in order to get these
            over the finish line. But we’re very excited and we’re working on a
11          number of opportunities on the turnkey side as we sit here today. We
            really have three main catalysts for growth as we look at it on the
12          security side. Turnkey, which we just talked about, is one of them.
13
            222. Each of Defendants’ statements set forth in ¶¶ 213-217, 219-221 were
14
      materially false or misleading when made, and/or omitted material facts, including
15
      the following:
16
               a. As detailed in Section IV above, the Albanian turnkey contract was
17
                  subject to a secret and corrupt arrangement with an undisclosed partner
18
                  (ICMS) whereby OSI would transfer 49% of its interest in the S2
19
                  Albania contract entity to ICMS for $4.50 and provide lucrative “profit
20
                  shar[ing]” rights in connection with the contract;
21
               b. The secretive arrangement with ICMS combined with undisclosed
22
                  favorable from the outgoing Albanian government subjected the
23
                  Company to substantial undisclosed risks, including that: (i) the contract
24
                  would be terminated and/or materially reduced once the arrangement
25
                  was disclosed; and (ii) that the transaction would be subject to
26
                  government investigations and/or fines, including under the FCPA;
27
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                             80
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  1              c. The   arrangement     with   ICMS     jeopardized   the   credibility   and
  2                 sustainability of the turnkey business model, caused the Company to be
  3                 vulnerable to potential civil and criminal liability and adverse regulatory
  4                 action, and increased the risk that U.S. and foreign governments would
  5                 refuse to do business with OSI once the details surrounding the Albanian
  6                 turnkey contract were revealed;
  7              d. The purported revenues from the Albanian contract were subject to an
  8                 undisclosed “profit shar[ing] agreement” and 49% transfer of the S2
  9                 Albania entity that owned the rights to the contract;
10               e. The omission of material facts relating to (a)-(d) above created a false
11                  and/or misleading impression that the turnkey model would be the
12                  primary driver of OSI’s future growth and provide a sustainable
13                  competitive advantage in the security industry.
14          O.      Third and Fourth Quarter 2017
15
            223. On April 26, 2017, OSI issued a press release announcing its financial
16
      results for the third quarter of fiscal year 2017 (“3Q17”) (the “April 26, 2017 Press
17
      Release”), which was attached as an exhibit to a Form 8-K signed by Defendant
18
      Edrick and filed with the SEC on the same date.
19
            224. On the same day, OSI held a conference call to discuss and expand upon
20
      the Company’s 3Q17 results (the “April 26, 2017, Conference Call”). During the call,
21
      Defendant Edrick stated that:
22
            Over the past decade, we have a track record of producing sales and
23          earnings growth with strong cash flow generation, while simultaneously
            investing in product development and innovation for the future in
24          conjunction with strategic acquisitions. We feel these efforts have served
            us well. Our investments have enabled us to continue our leadership
25          role in the turnkey screening solutions market space and have allowed
            us to introduce innovative products and solutions to the market across
26          our industries.
27
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                             81
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  1         225. On May 24, 2017, Defendants participated in the B. Riley & Co.
  2   Institutional Investor Conference (the “May 24, 2017 Conference”). At the
  3   conference, Defendant Edrick boasted about the benefits of its current turnkey
  4   contracts, including Albania, stating:
  5         And to that end, we’ve landed three significant contracts in Mexico,
            Puerto Rico, and Albania. These are long-term contracts ranging from
  6         6 to 15 years, and it really provides a nice recurring revenue at a nice
            margin for us. We’re the clear leaders in the turnkey. We think we
  7         have a significant first-mover advantage, so we won 100% of the deals
            today. While that might not always be the case, we think we’ll continue
  8         to win a disproportionate share, given our strong leadership position
            in this area.
  9
10          226. On June 7, 2017, Defendants participated in the Jefferies Global

11    Healthcare Conference (the “June 7, 2017 Conference”). During the conference,

12    Defendant Edrick touted the turnkey solution and its current turnkey contracts,

13    including Albania, stating:

14          A full turnkey solution, whereby, instead of selling them the equipment,
            we manufacture the equipment, we place it at the customer site, we own
15          it, it sits on our balance sheet. We staff it up with our people, we enter
            into a long-term contract with the customer. And then we charge them a
16          fee per scan or a fee per site per month. We call that turnkey, and it has
            been an extremely successful opportunity for us. We’ve landed major
17          contracts in Mexico, Puerto Rico and Albania, we’re the clear number
            one leader in this market space and we’re looking to continue to
18          expand it. So very exciting, the primary focus of this has been at
            borders and at ports, but can easily be expanded into other venues as
19          well.
20          227. On June 15, 2017, Defendants participated in the Drexel Hamilton
21    Aerospace & Defense Conference (the “June 15, 2017 Conference”). At the
22    conference, Defendant Edrick again trumpeted the Company’s turnkey contracts,
23    stating:
24          And to this end, we’ve won three contracts in Puerto Rico, Mexico,
            and Albania. And it has led to a lot of that substantial increase that
25          you've seen in the service revenue, in the service profit.
26          It’s a very exciting model for us. We’re clearly the market leader. In
            fact, no other company has won any other significant deal in this
27          marketplace, but it’s a long sales cycle. Each of these deals we work on
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                          82
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            generally take a number of years from start to finish to close the deal,
  1         but it’s a very exciting area for us and continuing to focus here.
  2
            228. On August 9, 2017, Defendants participated in Jefferies Global
  3
      Industrials Conference (the “August 9, 2017 Conference”). At the conference,
  4
      Defendant Edrick stated in response to an analyst’s question:
  5
            So the question about momentum in turnkey. Yeah, we would love to
  6         be signing turnkey deals at a faster rate than we are. The reality is we're
            the only ones who have won a turnkey deal. So, it’s not that we’re
  7         losing any turnkey deals to others, but it just takes a long time to get
            them over the finish line.
  8
            Each of these contracts, we probably worked on for three to four years
  9         before we ultimately signed a contract with them.
10          229. During the same conference, Defendant Edrick further touted the
11    Company’s turnkey business and its contracts, including in Albania, stating:
12          Our first contract that we won was in Puerto Rico, a nice 10-year
            contract whereby we are screening all the containers that come into the
13          port, into the Puerto Rico Ports Authority in San Juan. And we follow
            that up with a much larger contract in Mexico and a third contract in
14          Albania.
15          And, in just a short period of time, this has already become a
            significant part of our overall business. We’re excited about it. We’re –
16          in addition to pure turnkeys, we’re looking at hybrid models as well
            where maybe we don't take on the full context of everything that’s
17          going on, maybe the customer might continue with some of those
            responsibilities. But a great area for us, providing excellent recurring
18          revenue at higher margins than our regular business.
19
            230. On August 24, 2017, OSI held a conference call to discuss and expand
20
      upon the Company’s 4Q17 and annual financial results (the “August 24, 2017,
21
      Conference Call”). During the call, Defendant Chopra also touted the Albania
22
      turnkey contract, stating:
23
            Turning to turnkey services. Our current programs in Albania, Mexico
24          and Puerto Rico continue to perform well. As we have mentioned in the
            past, the potential customers that are seeking to buy cargo product or
25          turnkey service model options are increasingly overall and we continue
            to look at moving from one to the other.
26
            231. On the September 7, 2017, OSI filed an annual report on Form 10-K for
27
      with the SEC (the “FY17 Form 10-K”) signed by Defendants Chopra, Edrick, and
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                            83
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  1   Mehra. In the FY17 Form 10-K, Defendants highlighted the increased revenue from
  2   the Albanian contract, stating:
  3         Fiscal 2017 Compared with Fiscal 2016. Revenues for the Security
            division increased primarily as a result of increased sales of cargo and
  4         vehicle inspection systems . . . and increased revenue from turnkey
            scanning operations as a result of a full year of operations in our
  5         Albanian program, which commenced in the second quarter of fiscal
            2016, and our expanded operations within our Mexican program, which
  6         added several sites in the fourth quarter of the current year.
  7                                     *     *      *
  8         Fiscal 2016 Compared with Fiscal 2015. Revenues for the Security
            division decreased primarily as a result of a $66.4 million reduction in
  9         revenues associated with a Foreign Military Sale contract with the U.S.
            Department of Defense . . . . This decrease was partially offset by
10          revenues from the commencement of our turnkey scanning operation
            in Albania during the year.
11
            232. Each of Defendants’ Class Period statements set forth in ¶¶ 224-231
12
      were materially false or misleading when made, or omitted material facts, including
13
      the following:
14
               a. As detailed in Section IV above, the Albanian turnkey contract was
15
                   subject to a secret and corrupt arrangement with an undisclosed partner
16
                   (ICMS) whereby OSI would transfer 49% of its interest in the S2
17
                   Albania contract entity to ICMS for $4.50 and provide lucrative “profit
18
                   shar[ing]” rights in connection with the contract;
19
               b. The secretive arrangement with ICMS combined with undisclosed
20
                   favorable terms from the outgoing Albanian government subjected the
21
                   Company to substantial undisclosed risks, including that: (i) the contract
22
                   would be terminated and/or materially reduced once the arrangement
23
                   was disclosed; and (ii) that the transaction would be subject to
24
                   government investigations and/or fines, including under the FCPA;
25
               c. The    arrangement    with    ICMS    jeopardized     the   credibility   and
26
                   sustainability of the turnkey business model, caused the Company to be
27
                   vulnerable to potential civil and criminal liability and adverse regulatory
28
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  1                 action, and increased the risk that U.S. and foreign governments would
  2                 refuse to do business with OSI once the details surrounding the Albanian
  3                 turnkey contract were revealed;
  4              d. The purported revenues, profits, and margins from the Albanian contract
  5                 were subject to an undisclosed “profit shar[ing] agreement” and 49%
  6                 transfer of the S2 Albania entity that owned the rights to the contract;
  7              e. The omission of material facts relating to (a)-(d) above created a false
  8                 and/or misleading impression that the turnkey model would be the
  9                 primary driver of OSI’s future growth and provide a sustainable
10                  competitive advantage in the security industry.
11          P.      First Quarter 2018
12
            233. On October 26, 2017, OSI held a conference call to discuss and expand
13
      upon the Company’s results for the first quarter of fiscal year 2018 (“1Q18”) (the
14
      “October 26, 2017, Conference Call”). During the call, Defendant Edrick touted the
15
      Company’s leadership in turnkey solutions, stating:
16
            Over time, we have demonstrated a strong track record of sales and
17          earnings growth with strong cash flow generation, while simultaneously
            investing in product development and innovation for the future and
18          making strategic acquisitions that have served us well. Our investments
            have enabled us to continue our leadership role in the turnkey
19          screening solutions market space and have allowed us to introduce
            innovative products and solutions to the market across our different
20          industries.
21          234. Defendant Chopra also trumpeted the success of the Company’s turnkey
22    contracts on the call, stating, “Our turnkey solutions contracts in Mexico, Puerto
23    Rico and Albania continue to perform well.”
24          235. On December 6, 2017, shortly after the MWR Report was published,
25    OSI issued a response, denouncing Muddy Waters’ claims of corruption as
26    “misleading allegations” and represented that the “turnkey security inspection
27    programs in Mexico and in Albania were the result of public tenders.” The
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                             85
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  1   Company also represented that “ICMS implemented all civil works construction for
  2   the program . . . [and] both we and ICMS made significant capital investments
  3   toward the implementation of the program in a value well beyond the par value of
  4   shares.”
  5         236. Each of Defendants’ Class Period statements set forth in ¶¶ 233-235
  6   were materially false or misleading when made, or omitted material facts, because:
  7              a. As detailed in Section IV above, the Albanian turnkey contract was
  8                 subject to a secret and corrupt arrangement with an undisclosed partner
  9                 (ICMS) whereby OSI would transfer 49% of its interest in the S2
10                  Albania contract entity to ICMS for $4.50 and provide lucrative “profit
11                  shar[ing]” rights in connection with the contract;
12               b. The secretive arrangement with ICMS combined with undisclosed
13                  favorable terms from the outgoing Albanian government subjected the
14                  Company to substantial undisclosed risks, including that: (i) the contract
15                  would be terminated and/or materially reduced once the arrangement
16                  was disclosed; and (ii) that the transaction would be subject to
17                  government investigations and/or fines, including under the FCPA;
18               c. The   arrangement    with    ICMS    jeopardized     the   credibility   and
19                  sustainability of the turnkey business model, caused the Company to be
20                  vulnerable to potential civil and criminal liability and adverse regulatory
21                  action, and increased the risk that U.S. and foreign governments would
22                  refuse to do business with OSI once the details surrounding the Albanian
23                  turnkey contract were revealed;
24               d. The omission of material facts relating to (a)-(c) above created a false
25                  and/or misleading impression that the turnkey model would be the
26                  primary driver of OSI’s future growth and provide a sustainable
27                  competitive advantage in the security industry.
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                              86
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            Q.     SOX Certifications
  1
  2         237. Each of the foregoing Form 10-Ks, including those filed on August 16,

  3   2013, August 27, 2014, August 24, 2015, August 19, 2016, and September 7, 2017,

  4   were certified by Defendants Chopra and Edrick, who each declared that:

  5
            1. I have reviewed this Annual Report on Form 10-K of OSI Systems,
  6         Inc.;
  7         2. Based on my knowledge, this report does not contain any untrue
            statement of a material fact or omit to state a material fact necessary to
  8         make the statements made, in light of the circumstances under which
            such statements were made, not misleading with respect to the period
  9         covered by this report;
10          3. Based on my knowledge, the financial statements, and other
            financial information included in this report, fairly present in all
11          material respects the financial condition, results of operations and
            cash flows of the registrant as of, and for, the periods presented in this
12          report;
13          4. The registrant’s other certifying officer and I are responsible for
            establishing and maintaining disclosure controls and procedures (as
14          defined in Exchange Act Rules 13a-15(e) and 15d-15(e)) and internal
            control over financial reporting (as defined in Exchange Act Rules 13a-
15          15(f) and 15d-15(f)) for the registrant and have:
16          (a) Designed such disclosure controls and procedures, or caused such
            disclosure controls and procedures to be designed under our supervision,
17          to ensure that material information relating to the registrant, including its
            consolidated subsidiaries, is made known to us by others within those
18          entities, particularly during the period in which this report is being
            prepared;
19
            (b) Designed such internal control over financial reporting, or caused
20          such internal control over financial reporting to be designed under our
            supervision, to provide reasonable assurance regarding the reliability of
21          financial reporting and the preparation of financial statements for
            external purposes in accordance with generally accepted accounting
22          principles;
23          (c) Evaluated the effectiveness of the registrant’s disclosure controls and
            procedures and presented in this report our conclusions about the
24          effectiveness of the disclosure controls and procedures, as of the end of
            the period covered by this report based on such evaluation; and
25
           (d) Disclosed in this report any change in the registrant’s internal
26         control over financial reporting that occurred during the registrant’s
           most recent fiscal quarter (the registrant’s fourth fiscal quarter in the
27         case of an annual report) that has materially affected, or is reasonably
           likely to materially affect, the registrant’s internal control over financial
28         reporting; and
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            5. The registrant’s other certifying officer and I have disclosed, based
  1         on our most recent evaluation of internal control over financial
            reporting, to the registrant’s auditors and the audit committee of the
  2         registrant’s board of directors (or persons performing the equivalent
            functions):
  3
            (a) All significant deficiencies and material weaknesses in the design or
  4         operation of internal control over financial reporting which are
            reasonably likely to adversely affect the registrant’s ability to record,
  5         process, summarize and report financial information; and
  6         (b) Any fraud, whether or not material, that involves management or
            other employees who have a significant role in the registrant’s internal
  7         control over financial reporting.
  8
            238. In the same Form 10-Ks, Defendants Chopra and Edrick also certified
  9
      that “The information contained in the Report fairly presents, in all material
10
      respects, the financial condition and results of operations of the Company at the
11
      dates and for the periods presented in the Report.”
12
            239. Similarly, the foregoing Form 10-Qs, including those filed on October
13
      25, 2013, January 30, 2014, May 2, 2014, October 24, 2014, January 27, 2015, April
14
      28, 2015, October 30, 2015, January 28, 2016, April 28, 2016, October 31, 2016,
15
      February 1, 2017, April 27, 2017, and October 31, 2017, were each certified by
16
      Defendants Chopra and Edrick, who each declared that:
17
            Based on my knowledge, this report does not contain any untrue
18          statement of a material fact or omit to state a material fact necessary to
            make the statements made, in light of the circumstances under which
19          such statements were made, not misleading with respect to the period
            covered by this report;
20
            Based on my knowledge, the financial statements, and other financial
21          information included in this report, fairly present in all material
            respects the financial condition, results of operations and cash flows
22          of the registrant as of, and for, the periods presented in this report;
                                           *      *     *
23
            The registrant’s other certifying officer and I have disclosed, based on
24          our most recent evaluation of internal control over financial reporting, to
            the registrant’s auditors and the audit committee of the registrant’s board
25          of directors (or persons performing the equivalent functions):
26          (a) All significant deficiencies and material weaknesses in the design or
            operation of internal control over financial reporting which are
27          reasonably likely to adversely affect the registrant’s ability to record,
            process, summarize and report financial information; and
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                           88
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            (b) Any fraud, whether or not material, that involves management or
  1         other employees who have a significant role in the registrant’s internal
            control over financial reporting.
  2
  3         240. The foregoing certifications and statements in ¶¶ 237-239 were

  4   materially false and misleading for the same reasons set forth in ¶¶ 137, 142, 149,

  5   152, 162, 166, 172, 176, 179, 190, 197, 206, 211, 222, 232, and 236.

  6         R.     Internal Controls
  7         241. In addition to certifying the accuracy and truthfulness of the SEC filings,
  8   the Form 10-Qs filed on January 30, 2014, October 24, 2014, January 27, 2015, April
  9   8, 2015, October 30, 2015, January 28, 2016 also certified that:
10          Based upon an evaluation of the effectiveness of disclosure controls and
            procedures, our Chief Executive Officer (“CEO”) and Chief Financial
11          Officer (“CFO”) have concluded that, as of the end of the period covered
            by this Quarterly Report on Form 10-Q, our disclosure controls and
12          procedures as defined under Exchange Act Rule 13a-15(e) and 15d-
            15(e) were effective to provide reasonable assurance that information
13          required to be disclosed in our Exchange Act reports is recorded,
            processed, summarized and reported within the time periods specified
14          by the Securities and Exchange Commission and is accumulated and
            communicated to management, including the CEO and CFO, as
15          appropriate, to allow timely decisions regarding required disclosure.
16
            242. Certain of these Form 10-Qs, including those filed on October 25, 2013
17
      and April 28, 2016, also represented that:
18
            We maintain disclosure controls and procedures (as defined in Rule
19          13a-15(e) or 15d-15(e) under the Securities Exchange Act of 1934, as
            amended (the “Exchange Act”)) that are designed to ensure that
20          information required to be disclosed in our reports under the
            Exchange Act is processed, recorded, summarized and reported within
21          the time periods specified in the SEC’s rules and forms and that such
            information is accumulated and communicated to management,
22          including the Chief Executive Officer and Chief Financial Officer, as
            appropriate, to allow for timely decisions regarding required
23          disclosure.
24          We carried out an evaluation, under the supervision and with the
            participation of management, including our Chief Executive Officer and
25          Chief Financial Officer, of the effectiveness of the design and operation
            of the disclosure controls and procedures as of September 30, 2013, the
26          end of the period covered by this report. Based upon that evaluation, our
            management, including our Chief Executive Officer and Chief
27          Financial Officer, concluded that our disclosure controls and
            procedures were effective as of September 30, 2013.
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                          89
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  1         243. Defendants made other similarly misleading statements to the market
  2   about their compliance procedures and internal controls. For example, during a
  3   Stephens Conference with investors on June 3, 2014, in response to an analyst’s
  4   question about what measures the Company had taken to prevent another non-
  5   compliance issue, like the 2013 TSA debarment proceeding, Defendant Edrick
  6   reassured investors that “we do think that we’ve established strong procedures,
  7   processes that will enable us to hopefully avoid such issues in the future. [ph] Our
  8   management has been strengthened significantly. Our compliance function has
  9   been upgraded significantly, and the oversight function overall as well. So we’re
10    hopeful that, that will take care of it.”
11          244. Defendant Edrick confirmed this statement during the August 12, 2014
12    Conference, stating that “We, as a company overall, I think our controls are
13    actually quite strong.”
14          245. Likewise, in a February 22, 2017 Form 8-K, which attached a Purchase
15    Agreement for the OSI Bonds as Exhibit 1.1, the Company assured the market that:
16          The Company and each of its subsidiaries maintain effective internal
            control over financial reporting (as defined under Rule 13-a15 and
17          15d-15 under the 1934 Act Regulations) and a system of internal
            accounting controls sufficient to provide reasonable assurances that
18          (A) transactions are executed in accordance with management’s general
            or specific authorization; (B) transactions are recorded as necessary to
19          permit preparation of financial statements in conformity with GAAP and
            to maintain accountability for assets; (C) access to assets is permitted
20          only in accordance with management’s general or specific authorization;
            (D) the recorded accountability for assets is compared with the existing
21          assets at reasonable intervals and appropriate action is taken with respect
            to any differences; and (E) the interactive data in eXtensible Business
22          Reporting Language or incorporated by reference in the General
            Disclosure Package and the Final Offering Memorandum fairly presents
23          the information called for in all material respects and is prepared in
            accordance with the Commission’s rules and guidelines applicable
24          thereto. Except as described in the General Disclosure Package and the
            Final Offering Memorandum, since the end of the Company’s most
25          recent audited fiscal year, there has been (1) no material weakness in
            the Company’s internal control over financial reporting (whether or
26          not remediated) and (2) no change in the Company’s internal control
            over financial reporting that has materially affected, or is reasonably
27          likely to materially affect, the Company’s internal control over financial
            reporting. The Company and each of its subsidiaries maintain an
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                           90
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            effective system of disclosure controls and procedures (as defined in
  1         Rule 13a-15 and Rule 15d-15 under the 1934 Act Regulations) that are
            designed to ensure that information required to be disclosed by the
  2         Company in the reports that it files or submits under the 1934 Act is
            recorded, processed, summarized and reported, within the time periods
  3         specified in the Commission’s rules and forms, and is accumulated and
            communicated to the Company’s management, including its principal
  4         executive officer or officers and principal financial officer or officers, as
            appropriate, to allow timely decisions regarding disclosure.
  5
  6         246. The February 22, 2017 Form 8-K also certified that it complied with the

  7   Sarbanes-Oxley Act. It stated: “There is and has been no failure on the part of the

  8   Company or any of the Company’s directors or officers, in their capacities as such,

  9   to comply in all material respects with any provision of the Sarbanes-Oxley Act of

10    2002 and the rules and regulations promulgated in connection therewith, including

11    Section 402 related to loans and Sections 302 and 906 related to certifications.”

12          247. The Company also made statements throughout the Class Period

13    regarding its specific policies and protocols aimed at complying with the FCPA. For

14    example, in its Form 10-Ks filed on August 24, 2015, August 19, 2016, September 7,

15    2017, Defendants stated:

16          We are required to comply with the U.S. Foreign Corrupt Practices Act,
            which prohibits United States companies from engaging in bribery or
17          making other prohibited payments to foreign officials for the purpose of
            obtaining or retaining business. It also requires us to maintain specific
18          record-keeping standards and adequate internal accounting controls.
            In addition, we are subject to similar requirements in other countries.
19          Bribery, corruption, and trade laws and regulations, and the enforcement
            thereof, are increasing in frequency, complexity and severity on a global
20          basis. Although we have internal policies and procedures with the
            intention of assuring compliance with these laws and regulations, our
21          employees, distributors, resellers and contractors involved in our
            international sales may take actions in violations of such policies. If our
22          internal controls and compliance program do not adequately prevent
            or deter our employees, distributors, resellers, contractors and/or other
23          third parties with whom we do business from violating anti-bribery,
            anti-corruption or similar laws and regulations, we may incur severe
24          fines, penalties and reputational damage.
25          248. The Company made similar representations in its Code of Ethics &
26    Conduct, filed with the SEC on May 23, 2016 and September 7, 2017 (the “Code of
27    Ethics”). In particular, the Code of Ethics stated that:
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                             91
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               OSI is committed to compliance with U.S. and international
  1            government contracting.
  2                                        *     *      *
  3         U.S. and international government employees are required to abide by
            strict ethical guidelines that restrict their ability to receive gifts, meals
  4         and entertainment. OSI’s policy requires that you avoid providing gifts,
            hospitality, or entertainment to government officials in order to avoid the
  5         appearance of improper influence. Different gift rules apply when you
            are dealing with government employees. All employees, who interact
  6         with government employees or are involved in the company’s
            government contracts or sub-contracts are required to review our
  7         Government Contracting Handbook and Anti-Corruption Compliance
            (ACC) Program for specific guidelines that provide specific limitations
  8         on gift giving and entertainment.
  9                                        *      *      *
10          We are firmly committed to complying with international anti-
            corruption and anti-bribery laws including the U.S. Foreign Corrupt
11          Practices Act (FCPA) and the U.K. Bribery Act. OSI's Anti-Corruption
            Compliance (ACC) Policy strictly prohibits making, offering,
12          promising, or authorizing a corrupt payment of money, or anything of
            value, to a government official or any other person in order to obtain
13          or retain business, or to direct business. or to achieve any business-
            related objective. You are also prohibited from receiving a corrupt
14          payment of money, or anything of value, in connection with your
            employment with our company. All employees are required to read and
15          abide by our Anti-Corruption Compliance Policy, which places strict
            guidelines; on extending gifts and entertainment, covering travel and
16          accommodation expenses for third-parties, and interacting with OSl’s
            business partners.
17
            249. Each of Defendants’ Class Period statements set forth in ¶¶ 241-248
18
      were materially false or misleading when made, or omitted material facts because
19
      Defendants themselves disregarded any purported internal controls processes and
20
      procedures, failed to comply with and were not committed to anti-corruption laws
21
      and ethical standards, and concealed the Albanian arrangement from investors, as set
22
      forth in Section IV.
23
24           ADDITIONAL ALLEGATIONS OF SCIENTER

25          250. As described in detail above, numerous facts give rise to a strong
26    inference that, throughout the Class Period, Defendants knew or recklessly
27    disregarded that the statements identified in Section V were materially false and
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                             92
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  1   misleading and/or omitted material facts when made. In addition to the specific facts
  2   enumerated above, the following facts also support a strong inference of scienter.
  3         A.    Top OSI Executives, Including Individual Defendants Chopra and
                  Mehra, Directly Oversaw and Had Actual Knowledge of the
  4               Undisclosed Arrangement With ICMS
  5
            251. As set forth in Sections III and IV and corroborated by CW 1, OSI’s S2
  6
      subsidiary (which operated its turnkey solutions business) was an extremely secretive
  7
      entity overseen by a small and close-knit group of only three OSI executives,
  8
      including Defendant Mehra and OSI’s Senior Executive, Fleming, who founded S2
  9
      before it was acquired by OSI. These executives monitored and/or oversaw the
10
      negotiations and execution of the turnkey contracts, including for Albania.
11
            252. Moreover, CW 3 recalled that only a small group of individuals,
12
      consisting of Defendant Chopra, Defendant Mehra, Defendant Edrick, and OSI
13
      General Counsel Victor Sze, were privy to the details about the Company’s turnkey
14
      contracts and participated in meetings regarding the contracts. CW 3 also stated there
15
      was a “hands off” attitude toward S2 and the Company was “hush hush” and very
16
      protective about S2.
17
            253. The documentary record surrounding the Albanian turnkey contract
18
      confirms that Defendant Mehra was directly involved and participated in the corrupt
19
      arrangement and 49% transfer of S2 Albania to ICMS. Indeed, to effectuate the
20
      transfer, on September 6, 2013, Mehra personally signed the Power of Attorney that
21
      expressly authorized an OSI affiliated Albanian lawyer, Shijaku, to “carry out the []
22
      sale” of 49% of S2 Albania to ICMS for “490 Albanian lekë” or $4.50.                 In
23
      accordance with Mehra’s instructions, just six days later, on September 16, 2013,
24
      Shijaku executed the formal sales contract transferring the 49% stake to ICMS for
25
      $4.50. Because he himself authorized the transfer and participated in the secret
26
      arrangement with ICMS, Defendant Mehra had actual knowledge of the material
27
      facts concealed by Defendants during the Class Period.
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                           93
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  1         254. Likewise, CW 3 confirmed that Mehra was directly involved in the
  2   negotiation of the Albania turnkey contract. Indeed, according to CW 3, Mehra had a
  3   role in the negotiation of the screening contracts as an active, if not the key,
  4   negotiator. CW 3 also recalled that Mehra went to Albania before the contract was
  5   signed and perhaps once after the contract began experiencing problems with the
  6   Albanian government.
  7         255.   This was consistent with Chopra’s practice, according to CW 1, to get
  8   involved with any “big money” contract—such as the Albanian contract, which was
  9   one of only three purportedly highly-profitable turnkey contracts for the entire
10    Company. Given his level of participation during the negotiations and his close
11    familial and executive ties with Mehra, Defendant Chopra either knew, or was
12    deliberately reckless in not knowing about the corrupt arrangement surrounding the
13    Albanian contract, including the undisclosed profit-sharing arrangement with ICMS
14    and transfer of 49% of S2 Albania to ICMS for less than $5.00.
15          256. Documentary evidence also shows that OSI’s Senior Executive,
16    Fleming, who became second-in-command of the closely held S2 Global team in
17    2014, had direct knowledge of and participated in the Albanian turnkey deal.
18    Fleming was designated as the “registered administrator” of S2 Albania upon its
19    formation in 2013, a position that was renewed on numerous occasions, including
20    July 30, 2014, January 4, 2015, March 18, 2015, January 4, 2016, and May 26, 2017.
21          257. The sole purpose of S2 Albania, according to company documents, was
22    the implementation of the $150 to $250 million contract with Albania as well as any
23    other activity related to or required to enforce the agreement. As administrator of S2
24    Albania, during the Class Period, Fleming executed numerous resolutions and
25    authorizations on behalf of S2 Albania purportedly related to this purpose, including
26    to establish S2 Albania affiliates for border checkpoints, register materials with the
27    Business National Center, and approve submission of financial statements.
28
      CONSOLIDATED CLASS ACTION COMPLAINT                                          94
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  1         258. Based on his position and his duty to execute resolutions on behalf of S2
  2   Albania, Fleming knew or was deliberately reckless in not knowing about the
  3   undisclosed profit-sharing arrangement with ICMS and transfer of 49% of S2
  4   Albania to ICMS for less than $5.00. In turn, the fact that Fleming was second in line
  5   to Mehra on the closely-held S2 executive team, as well as serving as an OSI
  6   executive, supports a strong inference that the Company itself and Individual
  7   Defendants knew, or were deliberately reckless in not knowing or disregarding, that
  8   their Class Period statements were false and/or misleading and omitted material facts.
  9         B.     The     Individual      Defendants’      Senior-Level Positions,
                   Micromanagement Styles, and Close-Knit Personal Relationships
 10                Reinforce a Strong Inference of Scienter
 11
            259. The Individual Defendants’ senior-level positions and personal
 12
      relationships supports a strong inference that the they knew, or were deliberately
 13
      reckless in not knowing or disregarding, that their statements regarding OSI’s turnkey
 14
      business, the Albanian contract, S2 Albania, and OSI’s internal controls were false
 15
      and/or misleading and omitted material facts.
 16
            260. In particular, throughout the Class Period, Defendant Chopra was the
 17
      founder and CEO of OSI—the senior-most position within the Company. As CEO,
 18
      Chopra was responsible for certifying and signing the Company’s SEC filings during
 19
      the Class Period. Moreover, according to CW 3, Chopra was one of a small secretive
 20
      group of people privy to details about the Company’s turnkey contracts and who
 21
      participated in meetings regarding the contracts.
 22
            261. CW 2 likewise described Defendant Chopra as a micromanager who had
 23
      a “win at all cost mentality.” By way of example, CW 2 recalled that Company
 24
      executives from all divisions would attend an offsite meeting, once per quarter,
 25
      typically in Palm Springs. CW 2 attended several such meetings and observed that
 26
      Chopra drilled down deeply and intensely, and demonstrated his knowledge of the
 27
      Company’s products and processes “inside out.”
 28
      CONSOLIDATED CLASS ACTION COMPLAINT                                          95
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  1         262. Similarly, CW 1 recalled that Chopra became involved in a foreign
  2   military sales project calling for the sale of mobile screening trucks to Iraq through
  3   the U.S. Army. The execution of the contract should have fallen to CW 1’s team but
  4   Chopra became very involved, directing CW 1 on which local agent to use and what
  5   tasks the local agent should perform (despite the fact that the agent was unqualified
  6   and couldn’t perform the tasks required), and directly handling the negotiations. CW
  7   1 recalled that Chopra offered the Iraqi government $500,000 in free X-ray
  8   equipment and metal detectors as an inducement to pick up an option to expand the
  9   contract. CW 1 also recalled that in 2015, in response to a government RFP that
 10   required a certain percentage of equipment to be “made in the USA” under the Trade
 11   Agreement Act, despite the fact that OSI’s equipment was primarily made in
 12   Malaysia and the Company didn’t have the capability to make the required
 13   equipment, Chopra told her “don’t ask how we meet the requirement” and “don’t ask
 14   the question, we’ll take care of it.” Based on her personal interactions with Chopra,
 15   CW 1 believed Chopra had “extremely low ethics” and that he was never interested
 16   in compliance but simply wanted to “check the box.” CW 1 also stated her belief that
 17   OSI was not an ethical company.
 18         263. Similarly, CW 3 reported that, prior to OSI’s compliance problems with
 19   the TSA, Chopra did not care about compliance, was sloppy, and did not want to get
 20   caught. When describing Chopra’s view of compliance CW 3 stated “the fish stinks
 21   from the head down.” CW 3 also stated that after OSI’s problems with the TSA,
 22   Chopra’s compliance approach was that Chopra wanted to do enough to get the
 23   company “out of the penalty box” but did not want to necessarily do things right, he
 24   just did not want to get caught.
 25         264. Likewise, CW 2, reported that during her last years at the company, CW
 26   2 was uncomfortable with things she saw, was asked to do, or to which she was
 27   required to turn a “blind eye.” She said company sales personnel in foreign countries
 28
      CONSOLIDATED CLASS ACTION COMPLAINT                                          96
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  1   did not understand FCPA. Similar to CW 1’s account regarding OSI’s non-
  2   compliance with “Made in the USA” requirements, CW 2 was told to certify a
  3   petition document stating that a product was built in the USA even though it meant
  4   he would be lying about the conditions under which the equipment was built. The
  5   impression CW 2 received from upper management was that such falsification was
  6   not a big deal. CW 2 said upper management’s view was since the company’s
  7   competitors did it, so could OSI/Rapiscan. CW 2 stated she was asked to “turn a
  8   blind eye” several times regarding where equipment for overseas projects was
  9   actually manufactured.
 10         265. Like Chopra, Defendant Mehra was a founding member of the OSI’s
 11   executive team. Moreover, since 2014, Mehra has been the President of S2 Global,
 12   one of three members on S2’s executive team, and, according to CW 3, Mehra was
 13   one of a handful of people privy to details about the Company’s turnkey contracts
 14   and who participated in meetings regarding the contracts.
 15         266. Prior to acting as President of S2, during the time of the bidding and
 16   securing of the Albanian contract, Mehra was the President of Rapiscan, which was
 17   the party to the contract and documentation surrounding the 49% transfer of S2
 18   Albania to ICMS. As discussed in Section IV.E.3, as President of Rapiscan, Mehra
 19   himself directed and facilitated the transfer of 49% of S2 Albania to ICMS.
 20         267. Moreover, Defendant Chopra and Defendant Mehra are first cousins and
 21   are known to have business ties outside of the Company. According to CW 3,
 22   because Mehra reported to Chopra, they spoke frequently. In addition, since 1994,
 23   Defendants Chopra and Mehra have worked closely together as part of an Indian joint
 24   venture called ECIL-Rapiscan Security Products Limited. Defendant OSI owns a
 25   36% interest, Defendant Chopra owns a 10.5% interest, and Defendant Mehra owns a
 26   4.5% interest in ECIL-Rapiscan Security Products Limited.
 27
 28
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  1         268. Defendant Edrick, at all relevant times, held the position of OSI’s
  2   Executive Vice President and Chief Financial Officer. Like Chopra and Mehra,
  3   according to CW 3, Edrick was one of approximately five people privy to details
  4   about the Company’s turnkey contracts and who participated in meetings regarding
  5   the contracts. In addition to certifying and signing the Company’s SEC filings during
  6   the Class Period, Defendant Edrick made statements about the Company’s internal
  7   controls and the measures the Company had taken to prevent non-compliance issues,
  8   like the 2013 TSA debarment issue.
  9         269. By virtue of their high-level executive positions, Defendants Chopra,
 10   Mehra, and Edrick directly participated and were involved in both the management
 11   and day-to-day operations of the Company at the highest levels, and were privy to
 12   confidential proprietary information concerning the Company’s important operations,
 13   including S2, its turnkey contracts, the contract with Albania, and the secretive
 14   arrangement and transfer of 49% of the Company’s interest in S2 Albania to ICMS.
 15   Moreover, given their managerial positions and close personal and business
 16   relationships, the Individual Defendants would have kept each other apprised of
 17   issues within S2, including the profit-sharing arrangement and partnership with
 18   ICMS.
 19         C.     The Fraud Involved a Key Contract and Core Operation of the
                   Company—Its Turnkey Business
 20
 21         270. As OSI’s most senior executives with direct control and supervision

 22   over its business, operations, and public statements, the Individual Defendants were

 23   knowledgeable about OSI’s core business operations—including its Security division

 24   and that division’s highly touted turnkey business.

 25         271. OSI’s Security division was the Company’s single most important

 26   division, accounting for 49%, 50%, 50%, and 58% of total revenues for fiscal years

 27   2014, 2015, 2016, and 2017, respectively.

 28
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  1            272. Throughout the Class Period, Defendants repeatedly represented that the
  2   success of the key Security division was being driven by its turnkey business. As a
  3   result, both Defendants and the market were keenly focused on the Company’s
  4   turnkey business and its three long-term turnkey contracts, including Albania. Indeed,
  5   Defendants consistently reported that turnkey service revenues were driving the
  6   Security division’s growth and comprised a material portion of its backlog. For
  7   instance, during the January 28, 2014 Conference Call, Defendant Edrick touted that
  8   “[s]ales from our Security division increased 16% over the same quarter last year, led
  9   by the year-over-year growth in turnkey services revenue.” Likewise, on the August
 10   20, 2015 Conference Call, Defendant Chopra boasted that “[i]n turnkey services, our
 11   current programs continue to contribute strongly to our performance . . . The turnkey
 12   services market represents an outstanding growth opportunity, and as mentioned
 13   earlier, we have realigned some of our leading resources to focus exclusively on
 14   this.”
 15            273. On the same call, Defendant Chopra highlighted the importance of the
 16   turnkey business, announcing that Defendant Mehra would exclusively focus on the
 17   turnkey “solutions” business:
 18            Ajay Mehra, who led Rapiscan to strong success over a number of
               years, is now focused exclusively on the solutions business, reflecting
 19            the importance, and the priority we have, on growing our turnkey
               business, expanding service and solutions to Security customers, as well
 20            as developing service offerings to other markets.
 21
               274. Additionally, only three turnkey contracts existed during the Class
 22
      Period, reinforcing the inference that Defendants were closely monitoring each
 23
      contractual arrangement. Defendants also repeatedly cited the Albanian contract as
 24
      one of the primary drivers of the Security division’s revenues growth. For instance,
 25
      comparing fiscal year 2017 with fiscal year 2016, Defendants stated in the FY17
 26
      Form 10-K that, “Revenues for the Security division increased primarily as a result
 27
      of . . . increased revenue from turnkey scanning operations as a result of a full year
 28
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  1   of operations in our Albanian program, which commenced in the second quarter of
  2   fiscal 2016,” among other factors.
  3         275. The importance of the Security division and its turnkey business model
  4   to the Company’s success and growth, as well as Defendants’ own statements
  5   indicating that they were particularly focused on the turnkey business and the
  6   Albanian contract, raise a strong inference that they knew, or were reckless in not
  7   knowing or disregarding, that their Class Period statements were false and/or
  8   misleading and omitted material facts.
  9         D.     The Small Size and Closely-Held Structure of S2, Combined With
                   the Limited Number of Turnkey Contracts and Defendants’
 10                Scrutiny of Foreign Transactions, Reinforces a Strong Inference of
                   Scienter
 11
 12         276. As explained in Section IV.D and IV.E, during the Class Period (and to

 13   date) OSI only had three turnkey contracts, all run out of its S2 division. Defendants

 14   deliberately kept those turnkey contracts and S2’s secretive operations tightly

 15   controlled by a few individuals, including the Individual Defendants.

 16         277. In carrying out their turnkey business, Defendants also targeted foreign

 17   jurisdictions that were known for corruption and obscured certain financial and

 18   component details surrounding its turnkey contracts, despite repeated requests from

 19   analysts for more information regarding the turnkey deals. Section IV.G. As a result,

 20   Defendants were required to, and represented that they did, maintain policies and

 21   procedures specifically to monitor corruption and bribery in foreign jurisdictions.

 22         278. For example, Defendants represented that:

 23        We are required to comply with the U.S. Foreign Corrupt Practices Act,
           which prohibits United States companies from engaging in bribery or
 24        making other prohibited payments to foreign officials for the purpose of
           obtaining or retaining business. It also requires us to maintain specific
 25        record-keeping standards and adequate internal accounting controls.
           In addition, we are subject to similar requirements in other countries.
 26        Bribery, corruption, and trade laws and regulations, and the
           enforcement thereof, are increasing in frequency, complexity and
 27        severity on a global basis. Although we have internal policies and
           procedures with the intention of assuring compliance with these laws
 28        and regulations, our employees, distributors, resellers and contractors
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            involved in our international sales may take actions in violations of such
  1         policies.
  2
            279. Furthermore, Defendants repeatedly acknowledged that they scrutinized
  3
      their operations in “each country.” For example, the Company’s January 30, 2014
  4
      Form 10-Q stated that the Company “monitor[ed] [their] operations in each country
  5
      and seek to adopt appropriate strategies that are responsive to changing economic
  6
      and political environments . . . .”
  7
            280. The combination of these factors, including: (i) the small number of
  8
      turnkey contracts; (ii) the closely-held nature of the S2 and turnkey operations and
  9
      details surrounding the contracts; (iii) the notoriously high corruption rate in the
 10
      countries where OSI was operating its turnkey business and related FCPA-mandated
 11
      monitoring; and (iv) Defendants’ close monitoring of foreign operations, support a
 12
      strong inference that Defendants knew, or were reckless in not knowing or
 13
      disregarding, that their Class Period statements were false and/or misleading and
 14
      omitted material facts.
 15
            E.     Defendants’ Duty Under the Administrative Agreement With the
 16                U.S. Government to Implement Compliance Programs and Monitor
                   Their Contractual Arrangements Supports Scienter
 17
            281. As set forth in Section IV.A, OSI’s pattern of misconduct surrounding
 18
      its contracts with the U.S. Government and its proposed “debarment” proceedings,
 19
      ultimately forced the Company to enter into a detailed Administrative Agreement
 20
      which required the Company to design and implement comprehensive policies,
 21
      procedures and internal control systems, including for the “monitoring and auditing
 22
      of contracts” and “business ethics” to ensure that its Security business “operates in
 23
      compliance with all applicable laws [and] regulations.”          The Administrative
 24
      Agreement, which notably was executed two months before the Class Period (June
 25
      21, 2013), stated in relevant part:
 26
            Rapiscan agrees to maintain a self-governance program that includes
 27         compliance programs for internal controls, designed for the effective
            monitoring and auditing of contracts and grants, and a business ethics
 28
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            program that covers all employees. The business ethics program shall
  1         be maintained with the goal that Rapiscan and each of its employees
            maintains the business honesty and integrity required of a government
  2         contractor and that Rapiscan operates in compliance with all
            applicable laws, regulations, and the terms of any contract. Rapiscan
  3         represents that the business ethics program includes the following
            components;
  4
            A. Rapiscan employees are subject to a Code of Ethics and Conduct
  5         (Code of Conduct). The Code of Conduct specifically addresses ethical
            business practices; securities laws; antitrust and competition; anti-
  6         corruption; export control; political activities; conflict of interest; gifts
            and gratuities; employment laws; financial reporting; health and safety;
  7         and reporting suspected violations of law or the Code of Conduct. This
            Code of Conduct includes a non-retaliation policy, which prohibits
  8         retaliation against employees for reporting suspected violations of the
            Code. Rapiscan will provide to the DHS SDO a copy of the Code Ethics
  9         and Conduct within 30 days following the execution of this agreement.
 10
            282. The Administrative Agreement also required Defendants to maintain
 11
      “robust” compliance, ethics and monitoring programs that would be overseen by the
 12
      Company’s General Counsel under the direct supervision of Defendant Chopra:
 13
            Rapiscan has implemented and agrees to maintain a robust and
 14         functional program that includes business ethics, compliance
            programs, and internal controls to ensure that Rapiscan effectively
 15         monitors, audits, and communicates about its compliance and ethics
            obligations and its commitment to the highest standards of integrity
 16         and transparency.
 17         Both prior to and in response to TSA’s Show Cause Letter, Rapiscan
            took and will maintain the following measures:
 18
                                           *     *      *
 19
            B. Development of an OSI Systems (“OSI”) wide corporate compliance
 20         program. Corporate Compliance directly reports to OSI’s General
            Counsel, who has and will continue to directly report to the Chief
 21         Executive Officer of OSI. In accordance with the OSI Board Audit
            Committee Charter, the Audit Committee comprising independent
 22         directors are responsible for overseeing the OSI compliance functions
            and promoting communication with the other board members. OSI’s
 23         Vice President, Internal Audit reports directly to OSI’s Board, and is
            responsible for assessing the sufficiency and effectiveness of the
 24         company’s compliance programs.
 25         C. Created new position of Director, Corporate Compliance, with direct
            access to OSI’s Board of Directors on compliance issues and related
 26         activities. Christopher Cook is Director of Corporate Compliance for
            OSI. . . . As Director of Corporate Compliance, Mr. Cook is responsible
 27         for, among other things;
 28        1. Designing, implementing and monitoring the compliance program;
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            2. Reporting on a regular basis to the General Counsel;
  1
            3. Revising the compliance program periodically, as appropriate;
  2
            4. Developing, coordinating and participating in compliance training
  3         and education;
  4         5. Ensuring that contractors and agents are aware of Company
            compliance requirements; and
  5
            6. Independently investigating and acting on compliance matters.
  6
  7         283. As part of the Administrative Agreement, Defendants were also required

  8   to submit written reports to the federal government regarding the implantation of

  9   such changes. The agreement stated:

 10         Semi-annually, Rapiscan shall submit a written report to DHS
            describing the measures taken by Rapiscan during the semi-annual
 11         period to implement the business ethics program and to ensure
            compliance with this Agreement. The reports shall be submitted in time
 12         to be received by the DHS SDO within 20 days of the end of the semi-
            annual period. The final report shall be presented to the DHS SDO no
 13         later than one month prior to the final day of this Agreement. The
            reports shall include the following:
 14
            A. Any standards of conduct, ethics, or compliance training
 15         conducted, subject matter covered, and the number and types of people
            that attended;
 16
            B. Information notifications or initiatives related to the business ethics
 17         program;
 18         C. Information required by the terms of this Agreement;
 19         D. The initiation of and status of any ongoing investigation or legal
            proceedings involving Rapiscan related to the facts described herein;
 20
            E. A statement by the Rapiscan verifying that the Code of Business
 21         Ethics and Conduct is being maintained; and
 22         F. A statement of any problems or weaknesses identified through the
            Ethics and Business conduct process, corrective action proposed or
 23         initiated, and the status of any corrected action.
 24         284. As a result of the Administrative Agreement, Defendants were required
 25   to monitor its contracts—including its all-important Albanian turnkey contract—for
 26   any compliance, ethics, or legal issues. Defendants’ required monitoring under this
 27   agreement, combined with the nature and importance of the Albanian turnkey
 28
      CONSOLIDATED CLASS ACTION COMPLAINT                                          103
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  1   contract, gives rise to a further inference that Defendants were aware, or recklessly
  2   disregarded, the details of the corrupt arrangement with ICMS relating to the
  3   Albanian contract.
  4         F.    Defendants’ Contradictory Explanations Regarding the Albanian
                  Arrangement Reinforce a Strong Inference of Scienter
  5
  6         285. As detailed in Section IV.H, on December 6, 2017, MWR revealed

  7   certain facts surrounding the Albanian turnkey deal, including reporting that OSI

  8   “likely bribed somebody by giving half of” the Albanian contract entity. In response,

  9   OSI issued a same-day press release, which admitted the previously hidden

 10   “partnership” and “profit share” with ICMS:

 11         Our Albania turnkey security inspection program is operated in
            partnership with ICMS, a local company with civil works construction
 12         capabilities in Albania, with a profit share in accordance with the terms
            of our agreement with ICMS.
 13
            286. Despite these admissions, Defendants continued to mislead the market
 14
      and omit material facts regarding the details of the Albanian arrangement. In the
 15
      same December 6, 2017 press release, for example, Defendants denied the MWR
 16
      Report and created a false impression that the Albanian arrangement was above
 17
      board, implying that the contract would not be subject to further scrutiny: “ICMS
 18
      implemented all civil works construction for the program. As such, both we and
 19
      ICMS made significant capital investments toward the implementation of the
 20
      program in a value well beyond the par value of shares.”
 21
            287. Notably, however, Defendants did not explain why, if the ICMS
 22
      arrangement was legitimate based on “significant” investments from an unknown
 23
      Albanian partner, the Company did not disclose the 49% transfer and profit-sharing
 24
      arrangement earlier, or why the Company explicitly misrepresented that S2 Albania
 25
      was a wholly-owned subsidiary.
 26
            288. Defendants’ explanations on December 6, 2017 are also contradicted by
 27
      numerous facts relating to S2 and ICMS’s disclosures, as set forth in the January 31,
 28
      CONSOLIDATED CLASS ACTION COMPLAINT                                         104
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  1   2018 MWR Rebuttal. See ¶¶ 129-131. In that rebuttal, MWR established, among
  2   other things, the inconsistency between OSI’s statement that ICMS Construction
  3   “made significant capital investments” and the fact that ICMS Construction was not
  4   an established construction company, had virtually no tangible assets, and was
  5   capitalized for only approximately $850, and that OSI provided virtually all of the
  6   funding to S2 Albania. More specifically, MWR Rebuttal stated:
  7         • We see no S2 Albania assets to which ICMS could conceivably
               have contributed. As of December 31, 2015, S2 Albania had total
  8            assets of US$10.8 million. Virtually all of the assets – US$9.6
               million – were PP&E. According to the footnotes, 98.5% of PP&E
  9            (US$9.6 million) were machines (i.e., likely equipment from OSIS) –
               with no construction or buildings disclosed at all.
 10
            • We see no financial contribution from ICMS to S2 Albania. S2
 11           Albania’s December 31, 2015 liabilities confirm that substantially all
              of S2 Albania’s capitalization came from OSIS. The financials show
 12           US$11.7 million in payables to OSIS. (Note that S2 Albania had
              negative shareholders’ equity of US$-1.1 million.)
 13
            • We see no account evidencing investment in S2 Albania by ICMS
 14           or ICMS Construction. We see nothing on ICMS’s CY2016
              balance sheet that could resemble a meaningful investment in S2
 15           Albania. Of its US$3.06 million in assets as of December 31, 2016,
              US$2.97 million are current assets. (US$1.8 million – 59.6% – is
 16           prepaid expenses; the balance is substantially all cash and
              receivables.) Of the US$80,000 of non-current assets, 99.99% is
 17           PP&E.
 18
            289. The timing of Defendants’ December 6, 2017 press release further
 19
      supports a strong inference of scienter. Indeed, within hours of the first MWR
 20
      Report, Defendants had admitted to a partnership with ICMS and profit-sharing
 21
      agreement surrounding the Albanian contract. In so admitting, Defendants did not
 22
      claim that they had been previously unaware of the arrangement but, rather, claimed
 23
      that even though they had gone to great lengths to hide the arrangement throughout
 24
      the Class Period, it was entirely legitimate. The fact that Defendants were able to so
 25
      quickly confirm the arrangement with ICMS, and their failure to deny previous
 26
      knowledge of that arrangement, further support the inference that they knew, or
 27
 28
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  1   recklessly disregarded, that their Class Period misleading statements and omissions
  2   were false and/or misleading and omitted material facts.
  3         G.     Defendants SOX Certifications Support an Inference of Scienter
  4
            290. Defendants Chopra, Edrick, and Mehra, as OSI’s executive officers
  5
      and/or directors, controlled the contents of the Company’s public SEC filings during
  6
      the Class Period. Each was provided with, or had access to, copies of the documents
  7
      alleged herein to be false or misleading prior to, or shortly after, their issuance, and
  8
      had the ability and opportunity to prevent their issuance. By virtue of their respective
  9
      positions and access to material non-public information regarding the Company, each
 10
      knew or recklessly disregarded that the adverse facts alleged herein concerning the
 11
      Albanian turnkey arrangement with ICMS had not been disclosed to, and were being
 12
      concealed from the public, and that the positive representations made were materially
 13
      false, and misleading. As a result, Defendants Chopra, Edrick, and Mehra were
 14
      responsible for the accuracy of OSI’s public SEC filings, and were therefore
 15
      responsible and liable for the representations contained therein or omitted therefrom.
 16
            291. As alleged herein, throughout the Class Period, Defendant Chopra
 17
      signed the Company’s Form 10-Ks, including those filed on August 16, 2013, August
 18
      27, 2014, August 24, 2015, August 19, 2016, and September 7, 2017; and the
 19
      Company’s Form 10-Qs, including those filed on October 25, 2013, January 30,
 20
      2014, May 2, 2014, October 24, 2014, January 27, 2015, April 28, 2015, October 30,
 21
      2015, January 28, 2016, April 28, 2016, October 31, 2016, February 1, 2017, April
 22
      27, 2017, and October 31, 2017, each of which contained the material false and
 23
      misleading statements alleged herein, as set forth above in Section V.
 24
            292. Additionally, as alleged herein, throughout the Class Period, Defendant
 25
      Edrick signed the Company’s Form 10-Ks, including those filed on August 16, 2013,
 26
      August 27, 2014, August 24, 2015, August 19, 2016, and September 7, 2017; and the
 27
      Company’s Form 10-Qs, including those filed on October 25, 2013, January 30,
 28
      CONSOLIDATED CLASS ACTION COMPLAINT                                           106
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  1   2014, May 2, 2014, October 24, 2014, January 27, 2015, April 28, 2015, October 30,
  2   2015, January 28, 2016, April 28, 2016, October 31, 2016, February 1, 2017, April
  3   27, 2017, and October 31, 2017, each of which contained the material false and
  4   misleading statements alleged herein, as set forth above in Section V.
  5         293. Defendant Mehra signed the Company’s Form 10-Ks, including those
  6   filed on August 16, 2013, August 27, 2014, August 24, 2015, August 19, 2016, and
  7   September 7, 2017, each of which contained the misleading statements alleged herein
  8   as set forth above in Section V.
  9         H.     Defendants’ Insider Trading and Executive Compensation
                   Structure Reinforce the Strong Inference of Scienter
 10
 11                      Defendants’ Stock Dispositions Support Scienter

 12         294. During the Class Period, Defendants Chopra, Edrick and Mehra
 13   collectively dumped over $51 million in OSI common stock while in possession of
 14   adverse material, nonpublic information regarding the Company’s turnkey operations
 15   and the secret Albanian arrangement with ICMS. As the result of Defendants’
 16   materially false and misleading statements and omissions, these stock dispositions
 17   were executed at artificially inflated prices under suspicious circumstances.
 18         295. During the Class Period, Defendant Chopra disposed of 338,896 shares
 19   of OSI common stock at an average price of $74.38, for a total approximate value of
 20   $25.2 million. Defendant Mehra disposed of 226,978 shares at an average price of
 21   $74.24, for a total approximate value of $17.5 million. Defendant Edrick disposed of
 22   112,524 shares at an average price of $77.35, for a total value of approximately $8.8
 23   million. The Individual Defendants’ trades are set forth in the following charts:
 24
 25                                       Deepak Chopra
                           Transaction                         Value
 26                                       Shares    Price
                              Date                            Disposed
 27                            9/3/2013     7,827 $72.70        $569,023
                               9/9/2013     5,088 $72.07        $366,692
 28
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                            8/11/2014     7,284   $67.16      $489,193
  1
                             9/9/2014     5,088   $68.85      $350,309
  2                         9/25/2014    12,000   $62.91      $754,920
  3                        10/15/2014    12,000   $60.69      $728,280
                           11/17/2014    12,000   $68.57      $822,840
  4                        12/12/2014    30,000   $70.18    $2,105,400
  5                        12/12/2014     5,000   $69.87      $349,350
                           12/12/2014    10,000   $69.65      $696,500
  6                        12/12/2014     5,000   $69.24      $346,200
  7                        12/15/2014    12,000   $68.33      $819,960
                            3/16/2015    10,000   $73.05      $730,500
  8                         3/16/2015     2,500   $73.05      $182,625
  9                         4/17/2015    10,000   $74.99      $749,900
                            4/17/2015     2,500   $74.99      $187,475
 10                         5/18/2015    10,000   $71.43      $714,300
 11                         5/18/2015     2,500   $71.43      $178,575
                            6/18/2015    10,000   $73.88      $738,800
 12                         6/18/2015     2,500   $73.88      $184,700
 13                          9/9/2015     3,665   $74.66      $273,629
                            9/16/2015    60,000   $72.28    $4,336,800
 14
                           11/25/2015    36,944   $94.23    $3,481,233
 15                        11/25/2015     5,000   $94.30      $471,500
                           11/25/2015     3,000   $94.31      $282,930
 16
                           11/25/2015     2,000   $94.18      $188,360
 17                         12/7/2016     5,000   $75.71      $378,550
                            12/7/2016    50,000   $75.91    $3,795,500
 18
                         TOTAL          338,896   $74.38   $25,274,044
 19
 20
                                         Ajay Mehra
 21                      Transaction                        Value
                                        Shares    Price
                            Date                           Disposed
 22
                             9/3/2013     1,704   $72.70      $123,881
 23                          9/9/2013     1,957   $72.07      $141,041
 24                         8/11/2014     3,758   $67.16      $252,387
                             9/9/2014     1,410   $68.85       $97,079
 25                         9/26/2014     8,236   $63.52      $523,151
 26                         9/26/2014     7,666   $63.52      $486,944
                           10/29/2014    30,000   $69.06    $2,071,800
 27                         5/20/2015    15,461   $71.87    $1,111,182
 28                         5/21/2015     7,000   $71.87      $503,090
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                             9/9/2015      1,410   $74.66      $105,271
  1
                            9/16/2015     10,000   $77.23      $772,300
  2                         9/16/2015     12,419   $76.04      $944,341
  3                         9/17/2015     14,279   $78.47    $1,120,473
                            9/17/2015      9,000   $78.47      $706,230
  4                        11/20/2015     40,052   $95.61    $3,829,372
  5                         12/9/2016     11,019   $78.09      $860,474
                           12/12/2016     25,000   $76.62    $1,915,500
  6                        12/13/2016     25,000   $75.96    $1,899,000
  7                         8/18/2017      1,607   $78.85      $126,712
                         TOTAL           226,978   $74.24   $17,590,227
  8
  9
                                          Alan Edrick
 10                       Transaction                        Value
                                         Shares    Price
                             Date                           Disposed
 11
                              9/3/2013     1,410   $72.70      $102,507
 12                           9/9/2013     1,881   $72.07      $135,564
 13                          8/11/2014     2,819   $67.16      $189,324
                              9/9/2014     1,410   $68.85       $97,079
 14                         12/11/2014    13,594   $73.32      $996,712
 15                          6/11/2015    20,000   $73.06    $1,461,200
                              9/9/2015     1,410   $74.66      $105,271
 16                         11/18/2015    18,105   $87.61    $1,586,179
 17                         11/19/2015    11,895   $92.80    $1,103,856
                            11/20/2015     5,000   $95.51      $477,550
 18                          3/14/2017    35,000   $73.14    $2,559,900
 19                      TOTAL           112,524 $77.35      $8,815,141

 20         296. Both the amount and timing of Defendants’ trades were highly unusual
 21   and suspicious. For example, the shares Chopra disposed of during the Class Period
 22   represented 46% of his total reported holdings in OSI common stock at the beginning
 23   of the Class Period (10/1/2013), and 56% of his average year-end stock holdings
 24   during the Class Period. Additionally, only weeks after OSI announced that the
 25   Albanian government “halted further progress” on the turnkey contract, on
 26   September 11, 2014, the Company abruptly disclosed that Chopra had entered into a
 27   “Rule 10b5-1 trading plan” to immediately sell 48,000 shares of OSI common stock
 28
      CONSOLIDATED CLASS ACTION COMPLAINT                                       109
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  1   for over $3 million in illicit proceeds. The execution of this trading plan while
  2   knowingly concealing material adverse information surrounding the Company’s
  3   turnkey operations and the corrupt arrangement with ICMS reinforces the highly
  4   unusual and suspicious nature of Chopra’s trading.
  5         297. Likewise, the shares Mehra disposed of during the Class Period
  6   represented 69% of his total reported holdings in OSI common stock at the beginning
  7   of the Class Period (10/1/2013), and 88% of his average year-end stock holdings
  8   during the Class Period. The shares Edrick disposed of during the Class Period
  9   represented 28% of his total reported holdings in OSI common stock at the beginning
 10   of the Class Period (10/1/2013), and 30% of his average year-end stock holdings
 11   during the Class Period.
 12         298. The timing and pricing of these trades further highlight their suspicious
 13   nature. Notably, each of the three Individual Defendants had record high sales in
 14   2015—the height of the Class Period—precisely around the time that the Company
 15   settled on revised terms with the Albanian government in the fall of 2015.
 16                      OSI’s Executive Compensation Structure Supports Scienter
 17
            299. OSI’s executive compensation was highly contingent on the Company’s
 18
      financial metrics. According to the Company’s proxy statements, OSI placed an
 19
      “emphasis on pay-for-performance principles,” such that it believed “that executive
 20
      compensation should be tied to the performance of the Company on both a short-term
 21
      and long-term basis.” Accordingly, during the Class Period, OSI executives’ fixed
 22
      compensation—i.e., base salary—was a small percentage of the total compensation,
 23
      while “variable” compensation—i.e., annual cash incentive bonuses or performance-
 24
      based equity incentive awards–comprised the majority of total compensation.
 25
            300. For example, under the Company’s Annual Incentive Bonus program,
 26
      according to the Company’s October 17, 2014 proxy statement, “[t]he Company
 27
      grants annual incentive bonuses based in part on each executive’s contribution to
 28
      CONSOLIDATED CLASS ACTION COMPLAINT                                          110
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  1   enhancing long-term stockholder value.” To that end, certain executives received
  2   annual incentive bonuses based on the Company’s “annual operating achievement
  3   and near-term success,” and quantitative factors such as “contributions to stockholder
  4   value” and “earnings per share and internal metrics.”
  5          301. Indeed, stock price, i.e., stockholder value, was a major focus at the
  6   Company. For instance, in the November 21, 2013 proxy statement, the Company
  7   stated that:
  8          [U]nder our CEO’s leadership, our stock price has increased 132% and
             201% over the past three- and five-year periods, respectively, ending in
  9          fiscal 2013. We have achieved this growth while continuing to make
             significant, targeted investments in new product lines and lines of
 10          business. Our CEO’s pay over the past five-years ending in fiscal year
             2013 has been closely aligned with our [total stockholder return]
 11          performance.
 12
             302. Under this Annual Incentive Bonus program, in addition to their base
 13
      salaries, Chopra earned $1,323,000 in 2013, $353,000 in 2014, and $700,000 in
 14
      2015; Edrick earned $340,000 in 2013, $160,000 in 2014, and $300,000 in 2015; and
 15
      Mehra earned $325,000 in 2013, $125,000 in 2015, and $245,000 in 2017.
 16
             303. As a result of the lucrative financial incentives offered by the Company,
 17
      the Individual Defendants were highly motivated to artificially inflate the price of
 18
      OSI stock by making false and misleading statements that concealed material facts
 19
      surrounding its turnkey operations and the undisclosed Albanian arrangement with
 20
      ICMS.
 21
                         Defendant Mehra’s Compensation Was Closely Tied to the
 22                      Performance of the Turnkey Business
 23          304. In addition to the executive compensation program, as discussed in
 24   various Company proxy statements, in 2015, OSI’s Compensation Committee
 25   established a separate incentive program tied to the annual performance of the
 26   Company’s turnkey solutions business in order to underscore its importance and to
 27   focus Defendant Mehra’s attention on developing these opportunities. Incentives
 28
      CONSOLIDATED CLASS ACTION COMPLAINT                                          111
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  1   under the turnkey incentive program were conditioned on the achievement of certain
  2   metrics based on the operating income and bookings of the Company’s turnkey
  3   business.
  4         305. In 2016, Mehra vested 23,800 RSUs for achieving a bookings target of
  5   $225 million. In 2017, Mehra received $705,000 for exceeding the operating income
  6   target of $10 million in the turnkey segment.
  7         306. Moreover, in 2017, while it had “determined not to adjust any base
  8   salary levels” for any of its executive officers, the Company made an exception for
  9   Mehra, “whose salary was increased by approximately 14% to $400,000 to
 10   compensate him for taking on significantly greater responsibility for the oversight
 11   and management of the cargo and vehicle inspection and turnkey business lines
 12   within our Security division.”
 13         307. Accordingly, Defendant Mehra was highly motivated to conceal the true
 14   facts surrounding the Albanian arrangement as they would negatively affect
 15   Defendant Mehra’s personal compensation.
 16
            LOSS CAUSATION
 17
            308. As a result of Defendants’ materially false and misleading statements,
 18
      omissions of material facts, and fraudulent course of conduct, as alleged herein, OSI
 19
      Securities traded at artificially inflated prices during the Class Period, including as
 20
      high as $95.76 per share on October 12, 2017.
 21
            309. Relying on the integrity of the market price for OSI Securities and
 22
      public information relating to OSI, Plaintiffs and other Class members purchased or
 23
      otherwise acquired OSI Securities at prices that incorporated and reflected
 24
      Defendants’ Class Period misrepresentations and omissions of material fact alleged
 25
      herein. As a result of their purchases of OSI Securities during the Class Period at
 26
      artificially inflated prices, Plaintiffs and the Class suffered economic loss, i.e.,
 27
      damages under the federal securities laws.
 28
      CONSOLIDATED CLASS ACTION COMPLAINT                                           112
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  1         310. Had Defendants been truthful about these matters during the Class
  2   Period, Plaintiffs and other Class members would not have purchased or otherwise
  3   acquired their OSI Securities at the artificially inflated prices at which they traded. It
  4   was entirely foreseeable to Defendants that misrepresenting and concealing these
  5   material facts from the public would artificially inflate the price of OSI Securities.
  6         311. The economic losses, i.e., damages, suffered by Plaintiffs and other
  7   members of the Class were a direct, proximate, and foreseeable result of Defendants’
  8   materially false and misleading statements and omissions of material fact, which
  9   artificially inflated and/or maintained the price of the OSI Securities, and the
 10   subsequent significant decline in the value of OSI Securities when the relevant truth
 11   was revealed and/or the risks previously concealed by Defendants’ material
 12   misstatements and omissions materialized.
 13         312. These revelations and/or materializations of risk previously concealed
 14   by Defendants’ fraud occurred through at least two partial corrective disclosures on:
 15   December 6, 2017, and February 1, 2018, as detailed below in Sections VII.A and B.
 16   The timing and magnitude of the declines in the price of OSI Securities negate any
 17   inference that the loss suffered by Plaintiffs and the Class was caused by changed
 18   market conditions or other macroeconomic factors unrelated to the revelation of facts
 19   and/or materialization of the risks previously concealed by Defendants’ fraudulent
 20   misleading statements and omissions.
 21         A.     December 6, 2017 Partial Disclosure
 22
            313. On December 6, 2017, the relevant truth and/or foreseeable risks
 23
      concealed by Defendants’ misconduct and their false and misleading representations
 24
      and omissions during the Class Period began to be revealed and/or partially
 25
      materialized. On that date, MWR issued a detailed report entitled “OSIS: Rotten to
 26
      the Core,” which revealed certain previously undisclosed facts regarding the
 27
      Company’s turnkey operations, including details about the corrupt Albanian
 28
      CONSOLIDATED CLASS ACTION COMPLAINT                                             113
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  1   arrangement with ICMS and the overall lack of credibility at the Company. As set
  2   forth above, the report revealed, inter alia, that the Company had transferred 49% of
  3   its Albanian contract entity to ICMS for approximately $4.50; OSI’s accounts and
  4   SEC disclosures did not reflect the transfer; the transfer occurred under suspicious
  5   circumstances with a collusive partner; the transfer occurred the same week that the
  6   outgoing Albanian government left office; and OSI had been given favorable terms,
  7   including an 8% bonus on the contract by the outgoing Albanian government. The
  8   report also included a video discussing the details of the ICMS arrangement and
  9   revealing translations of previously undisclosed Albanian reports calling the contract
 10   the “theft of the century” and a “mafia” concession and raising questions like, “how
 11   did the doctor Olti Peçini [buy] 49% of the shares of a concession worth 316 million
 12   USD for 490 lekë. Who is hiding behind the ICMS…?” The report concluded that
 13   the Defendants obtained OSI’s Albanian contract “through corruption,” which put “at
 14   significant risk OSIS’s Security Division contracts with U.S. and European
 15   government agencies.”
 16         314. Within hours of the MWR Report, after admitting the significant
 17   “impact” that the facts and information contained in the MWR Report had on OSI’s
 18   stock price, OSI issued a vague half-page response, admitting several crucial facts set
 19   forth in the report, including that OSI had entered into an undisclosed “partnership
 20   with ICMS” subject to a previously concealed “profit shar[ing]” agreement regarding
 21   the Albanian turnkey operation, S2 Albania.
 22         315. Nevertheless, the Company continued to mislead investors and deny the
 23   true facts surrounding the arrangement while continuing to conceal the foreseeable
 24   risks surrounding the deal. For example, the Company dismissed the claims as
 25   “misleading allegations” and represented that the Albanian contract was secured as
 26   “the result of [a] public tender[].” The Company also vaguely asserted that “ICMS
 27   implemented all civil works construction for the program . . . [and] both we and
 28
      CONSOLIDATED CLASS ACTION COMPLAINT                                           114
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  1   ICMS made significant capital investments toward the implementation of the
  2   program in a value well beyond the par value of shares.”
  3         316. None of these facts had previously been disclosed to investors during the
  4   Class Period. Moreover, no reasonable investor would have been aware of these
  5   facts or appreciated their significance given that the obscure documents underlying
  6   the MWR Report were published and located in Albania and required both the
  7   translation from the uncommon language of Albanian to English, and sophisticated
  8   expert forensic analysis piecing together the various details, Albanian financial
  9   information, and connections underlying the corrupt Albanian contract.
 10         317. In addition, as set forth in ¶¶ 218-220, 222, 236 these statements were
 11   still materially misleading and contradicted the Company’s own SEC reports and
 12   financial reporting, including a February 22, 2017 Form 8-K which listed S2 Albania
 13   as 100% owned by OSI “free and clear” of any “security interest, mortgage, pledge,
 14   lien, encumbrance, claim or equity.” Indeed, MWR issued a second report on January
 15   31, 2018 debunking Defendants’ misleading explanations. See ¶¶ 129-131.
 16         318. The information revealed in the December 6, 2017, MWR Report, which
 17   was partially confirmed by the Company, was proximately caused by, directly related
 18   to, and a foreseeable consequence of Defendants’ misrepresentations and omissions
 19   as alleged herein. Moreover, the December 6, 2017 disclosures revealed new
 20   information that Defendants’ misstatements, omissions, and fraudulent course of
 21   conduct previously concealed and/or obscured from the market. These disclosures
 22   partially (but incompletely) revealed some of the relevant truth concealed and/or
 23   obscured by Defendants’ Class Period misstatements and omissions.
 24         319. As a direct and proximate result of these partial disclosures, OSI’s
 25   common stock price plummeted nearly 30% in a single day—from a close of $84.07
 26   per share on December 5, 2017, to a close of $59.52 per share on December 6, 2017,
 27   partially removing a portion of the artificial inflation in OSI’s common stock price.
 28
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  1         320. Similarly, as a direct and proximate result of these partial disclosures,
  2   the price of OSI Bonds, dropped precipitously by $162.62 or 15.67%—from a close
  3   of $1,037.50 on December 5, 2017, to a close of $874.88 on December 6, 2017, as
  4   some of the artificial inflation in the OSI Bonds was removed as a result of these
  5   partial disclosures.
  6         321. The market attributed the nearly 30% stock price decline to the facts
  7   revealed by the MWR Report. For example, in an article entitled, “$canner
  8   ‘Muddy’ed,” the New York Post reported:
  9         OSI Systems, the maker of airport scanning systems, lost nearly a third
            of its value on Wednesday after short seller Carson Block accused it of
 10         underhanded practices. “We think this company is rotten to the core,”
            Block’s firm, Muddy Waters, said in a 19-page report. A potential $250
 11         million contract OSI signed with Albania is tainted by corruption,
            Muddy Waters claimed. Late Wednesday, the company, based in
 12         Hawthorne, Calif., denied any wrongdoing and said its ‘turnkey’
            contract was the result of public tenders.
 13
 14         322. While acknowledging the effect of the December 6, 2017 disclosures on

 15   the price of OSI’s stock, some analysts clung to Defendants’ misleading

 16   denouncement of the MWR Report. For example, Roth issued a report entitled,

 17   “OSIS: Short Thesis Lacks Perspective,” in which it reported that “the 30% decline

 18   yesterday is seemingly built on fear instigated by a short report that hypothesizes

 19   OSIS’s turnkey projects are based on corrupt practices hinged on sophisticated

 20   forensics in the company’s Albania and Mexico contracts.” Based on Roth’s

 21   “discussions with [OSI] management,” it concluded that “the legal structure of this

 22   [Albanian] contract present no risk.” On the same day, in an article entitled “In Need

 23   of a Security Blanket,” Jefferies noted that “[a]s part of the contract, OSI has a local

 24   partner that invested funds and performed some of the civil work. The local

 25   partnership reduces the overall risk of the contract.”

 26         323. Thus, despite the partial disclosure on December 6, 2017, which

 27   removed some of the artificial inflation in the price of OSI Securities, the price of

 28
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  1   OSI Securities remained artificially inflated due to Defendants’ continued
  2   misrepresentations and omissions.
  3         B.    February 1, 2018 Partial Disclosure
  4
            324. On February 1, 2018, additional adverse facts, relevant truth and/or
  5
      foreseeable risks concealed by Defendants’ misconduct and their false and
  6
      misleading representations and omissions were further revealed and/or partially
  7
      materialized. On that day, OSI issued a press release and SEC Form 8-K announcing
  8
      the following:
  9
            Following a report by a short seller, the Securities and Exchange
 10         Commission (SEC) commenced an investigation into the Company’s
            compliance with the Foreign Corrupt Practices Act (FCPA). The U.S.
 11         Attorney’s Office for the Central District of California (DOJ) has also
            said it intends to request information regarding FCPA compliance
 12         matters. The SEC and DOJ are also conducting an investigation of
            trading in the Company’s securities, and have subpoenaed
 13         information regarding trading by executives, directors and employees,
            as well as Company operations and disclosures in and around the time
 14         of certain trades. In relation to the matters that are the subject of the
            trading-related investigation, the Company has taken action with respect
 15         to a senior-level employee. At this time, the Company is unable to
            predict what, if any, action may be taken by the DOJ or SEC as a result
 16         of these investigations, or any penalties or remedial measures these
            agencies may seek. The Company places a high priority on compliance
 17         with its anti-corruption and securities trading policies, and is cooperating
            with each of the government investigations.
 18
            325. The information released by the Company on February 1, 2018 was
 19
      proximately caused by, directly related to, and a foreseeable consequence of
 20
      Defendants’ Class Period misrepresentations and omissions. Furthermore, the SEC
 21
      and DOJ’s decisions to commence investigations into the Company’s compliance
 22
      with the FCPA and executives’ stock trading were proximately caused by, directly
 23
      related to, and a foreseeable consequence of Defendants’ misrepresentations,
 24
      omissions, and deceptive course of conduct during the Class Period. Thus, the
 25
      February 1, 2018 disclosure revealed the materialization of the known foreseeable
 26
      risks proximately caused by, and directly connected to, Defendants’ Class Period
 27
      misrepresentations and omissions.
 28
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  1         326.   As a direct and proximate result of these partial disclosures, the price of
  2   OSI’s common stock declined 18% from a close of $66.60 on February 1, 2018 to a
  3   close of $54.60 on February 2, 2018, thereby removing artificial inflation in OSI’s
  4   common stock.
  5         327. Similarly, as a direct and proximate result of these partial disclosures,
  6   the price of OSI Bonds dropped by 5.94% or $54.57—from a close of $919.01 on
  7   February 1, 2018 to a close of $864.44 on February 2, 2018, as further inflation in the
  8   Bonds was removed as a result of Defendants’ disclosures.
  9         328. Analysts latched on to the negative implications of the SEC and DOJ
 10   investigations and attributed the February 1, 2018 stock drop to the Company’s
 11   disclosures. For example, in an article entitled, “Fundamentals Solid, but
 12   Investigation May Act as Overhang; D/G to Hold,” Jefferies reported:
 13         Downgrading to Hold based on the overhang from investigations. After
            the close on Feb 1st, with the release of earnings, OSIS filed an 8-K
 14         disclosing that the SEC is investigating FCPA compliance, and the U.S.
            Attorney’s Office for the Central District of California intends to request
 15         information on this matter. Separately, the SEC and DOJ are also
            conducting inquiries into the trading of the company’s securities. Given
 16         these two investigations, we believe shares will be range bound until
            there is a final outcome. In our opinion, resolutions can take over a year
 17         and could weigh on valuation.
 18
            329. Similarly, on February 6, 2018, ValueWalk issued a report, stating:
 19
           Activist shorts update Shares in electronic system manufacturer OSI
 20        Systems traded down more than 18% Thursday after the company
           announced that it is under investigation by the U.S. Securities and
 21        Exchange Commission (SEC) and the Department of Justice (DOJ)
           following the publication of two short reports by Muddy Waters
 22        Research. In December, the short seller accused OSI of obtaining a
           major turnkey contract in Albania through corruption and on Thursday it
 23        published a follow-up report building on its previous allegations. Hours
           after the second report hit the wire, OSI announced that the SEC had
 24        commenced a probe into the company’s compliance with the Foreign
           Corrupt Practices Act (FCPA). The company also said the SEC and DOJ
 25        are examining the trading of OSI’s securities and have ‘subpoenaed
           information regarding trading by executives, directors and employees, as
 26        well as company operations and disclosures in and around the time of
           certain trades.’ ‘We applaud the @TheJusticeDept and
 27        @SEC_Enforcement for moving quickly to investigate $OSIS for
           bribery. It’s always good to see that FCPA matters,’ Muddy Waters
 28        tweeted in response.
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  1         CLASS ACTION ALLEGATIONS

  2         330. Plaintiffs bring this action on behalf of themselves and as a class action,
  3   pursuant to Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure, on behalf
  4   of a Class consisting of all persons and entities that, during the Class Period,
  5   purchased or otherwise acquired the publicly traded OSI Securities and were
  6   damaged thereby. Excluded from the Class are Defendants, members of Defendants’
  7   immediate families (as defined in 17 C.F.R. § 229.404, Instructions (1)(a)(iii) and
  8   (1)(b)(ii)), any person, firm, trust, corporation, officer, director, or other individual or
  9   entity in which any Defendant has a controlling interest, or which is related to or
 10   affiliated with any of the Defendants, and the legal representatives, agents, affiliates,
 11   heirs, successors-in-interest, or assigns of any such excluded party.
 12         331. The members of the Class are so numerous and geographically dispersed
 13   that joinder of all members is impracticable. While the exact number of Class
 14   members is unknown to Plaintiffs at this time and can only be ascertained through
 15   appropriate discovery, Plaintiffs believe that there are at least thousands of members
 16   of the proposed Class. At the end of the Class Period, OSI had approximately 19
 17   million shares of common stock issued and outstanding, owned by thousands of
 18   persons, and actively traded on the NASDAQ. Similarly, at the end of the Class
 19   Period, OSI had more than 470 million of outstanding bonds and other debt. The
 20   disposition of their claims in a class action will provide substantial benefits to the
 21   parties and the Court. Record owners and other members of the Class may be
 22   identified from records maintained by OSI or its transfer agent, and may be notified
 23   of the pendency of this action by a combination of published notice and first-class
 24   mail, using the techniques and form of notice similar to that customarily used in class
 25   actions arising under the federal securities laws.
 26         332. There is a well-defined commonality of interest in the questions of law
 27   and fact involved in this case. Questions of law and fact common to the members of
 28
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  1   the Class that predominate over questions that may affect individual Class members
  2   include:
  3              a. whether Defendants’ actions as alleged herein violated the federal
  4                 securities laws;
  5              b. whether Defendants’ statements and/or omissions issued during the
  6                 Class Period were materially false and misleading;
  7              c. whether Defendants knew or were deliberately reckless in not knowing
  8                 that their statements were false and misleading;
  9              d. whether and to what extent the market prices of OSI publicly traded
 10                 common stock and OSI Bonds were artificially inflated and/or distorted
 11                 before and/or during the Class Period due to the misrepresentations
 12                 and/or omissions of material fact alleged herein; and
 13              e. whether and to what extent Class members sustained damages as a result
 14                 of the conduct alleged herein, and the appropriate measure of damages.
 15         333. Plaintiffs’ claims are typical of the claims of the other members of the
 16   Class, as all members of the Class purchased or otherwise acquired OSI Securities
 17   during the Class Period and similarly sustained damages as a result of Defendants’
 18   wrongful conduct as alleged herein.
 19         334. Plaintiffs will fairly and adequately protect the interests of the members
 20   of the Class. Plaintiffs have retained counsel competent and experienced in class
 21   action securities litigation to further ensure such protection, and intend to prosecute
 22   this action vigorously. Plaintiffs have no interests that are adverse or antagonistic to
 23   those of the Class.
 24         335. A class action is superior to other available methods for the fair and
 25   efficient adjudication of this controversy. Because the damages suffered by each
 26   individual member of the Class may be relatively small, the expense and burden of
 27   individual litigation make it impracticable for Class members to seek redress for the
 28
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  1   wrongful conduct alleged herein.       Plaintiffs know of no difficulty that will be
  2   encountered in the management of this litigation that would preclude its maintenance
  3   as a class action.
  4
            PRESUMPTION OF RELIANCE
  5
            336. Plaintiffs and members of the Class are entitled to rely upon the
  6
      presumption of reliance established by the fraud-on-the-market doctrine in that,
  7
      among other things:
  8
                a. Defendants made public misrepresentations or failed to disclose material
  9
                   facts during the Class Period;
 10
                b. the omissions and misrepresentations were material;
 11
                c. OSI Securities traded in efficient markets;
 12
                d. the material misrepresentations and omissions alleged herein would tend
 13
                   to induce a reasonable investor to misjudge the value of OSI Securities;
 14
                   and
 15
                e. Without knowledge of the misrepresented or omitted facts, Plaintiffs and
 16
                   other members of the Class purchased or otherwise acquired OSI
 17
                   Securities between the time that Defendants made material
 18
                   misrepresentation and omissions and the time the concealed risks
 19
                   materialized or the true facts were disclosed.
 20
            337. At all relevant times, the market for OSI’s Securities was efficient for
 21
      the following reasons, among others:
 22
                a. OSI common stock met the requirements for listing, and was listed and
 23
                   actively traded on the NASDAQ, a highly efficient and automated
 24
                   market;
 25
                b. As a regulated issuer, OSI filed periodic public reports with the SEC and
 26
                   the NASDAQ;
 27
 28
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  1            c. OSI regularly communicated with public investors via established
  2                market communication mechanisms, including through regular
  3                disseminations of press releases on the national circuits of major
  4                newswire services and through other wide-ranging public disclosures,
  5                such as communications with the financial press and other similar
  6                reporting services; and
  7            d. OSI was followed by securities analysts employed by major brokerage
  8                firms who wrote reports that were distributed to the sales force and
  9                certain customers of their respective brokerage firms. Each of these
 10                reports was publicly available and entered the public marketplace.
 11         338. As a result of the foregoing, the market for OSI Securities promptly
 12   digested current information regarding OSI from all publicly available sources and
 13   reflected such information in the price of OSI Securities prices.         Under these
 14   circumstances, all purchasers of OSI Securities during the Class Period suffered
 15   similar injury through their purchase of OSI Securities at artificially inflated prices
 16   and a presumption of reliance applies.
 17         339. Further, at all relevant times, Plaintiffs and other members of the Class
 18   reasonably relied upon Defendants to disclose material information as required by
 19   law and in the Company’s SEC filings. Plaintiffs and the other members of the Class
 20   would not have purchased or otherwise acquired OSI Securities at artificially inflated
 21   prices if Defendants had disclosed all material information as required. Thus, to the
 22   extent that Defendants concealed or improperly failed to disclose material facts with
 23   regard to the Company and its business, Plaintiffs and the Class are entitled to a
 24   presumption of reliance in accordance with Affiliated Ute Citizens of Utah v. United
 25   States, 406 U.S. 128, 153 (1972).
 26
 27
 28
      CONSOLIDATED CLASS ACTION COMPLAINT                                           122
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  1         INAPPLICABILITY OF THE STATUTORY SAFE HARBOR

  2         340. The statutory safe harbor and/or bespeaks caution doctrine applicable to
  3   forward-looking statements under certain circumstances does not apply to any of the
  4   materially false or misleading statements pleaded in this Complaint.
  5         341. None of the statements complained of herein was a forward-looking
  6   statement. Rather, each was historical statements or a statement of purportedly
  7   current facts and conditions at the time such statement was made.
  8         342. To the extent that any of the false or misleading statements alleged
  9   herein can be construed as forward-looking, any such statement was not accompanied
 10   by meaningful cautionary language identifying important facts that could cause actual
 11   results to differ materially from those in the statement.
 12         343. To the extent that the statutory safe harbor does apply to any forward-
 13   looking statement pleaded herein, Defendants are liable for any such statement
 14   because at the time such statement was made, the particular speaker actually knew
 15   that the statement was false or misleading, and/or the statement was authorized
 16   and/or approved by an executive officer of OSI who actually knew that such
 17   statement was false when made.
 18         344. Moreover, to the extent that any Defendant issued any disclosures
 19   purportedly designed to “warn” or “caution” investors of certain “risks,” those
 20   disclosures were also materially false and/or misleading when made because they did
 21   not disclose that the risks that were the subject of such warnings had already
 22   materialized and/or because such Defendant had actual knowledge of existing, but
 23   undisclosed, material adverse facts that rendered such “cautionary” disclosures
 24   materially false and/or misleading.
 25
 26
 27
 28
      CONSOLIDATED CLASS ACTION COMPLAINT                                         123
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  1            CAUSES OF ACTION UNDER THE EXCHANGE ACT

  2                                           COUNT I
  3                            Asserted Against All Defendants for
                      Violations of Section 10(b) of the Securities Exchange
  4                 Act of 1934 and SEC Rule 10b-5 Promulgated Thereunder
  5
               345. Plaintiffs repeat and reallege each and every allegation contained above
  6
      as if fully set forth herein. This Count is brought pursuant to Section 10(b) of the
  7
      Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the
  8
      SEC, 17 C.F.R. § 240.10b-5, on behalf of Plaintiffs and all other members of the
  9
      Class against OSI and the Individual Defendants.
 10
               346. During the Class Period, Defendants carried out a plan, scheme and
 11
      course of conduct which was intended to and, throughout the Class Period, did: (i)
 12
      deceive the investing public, including Plaintiffs and other Class members, regarding
 13
      the intrinsic value of OSI Securities, as alleged herein; (ii) artificially inflate the price
 14
      of OSI Securities; and (iii) cause Plaintiffs and other members of the Class to
 15
      purchase OSI Securities at artificially inflated prices that did not reflect their true
 16
      value.     In furtherance of this unlawful scheme, plan and course of conduct,
 17
      Defendants took the actions set forth herein.
 18
               347. Defendants directly and indirectly, by the use of means and
 19
      instrumentalities of interstate commerce, the mails, and/or the facilities of a national
 20
      securities exchange: (i) employed devices, schemes, and artifices to defraud; (ii)
 21
      made untrue statements of material fact and/or omitted material facts necessary to
 22
      make the statements not misleading; and (iii) engaged in acts, practices, and a course
 23
      of business that operated as a fraud and deceit upon the purchasers of the Company’s
 24
      securities in an effort to maintain the artificially inflated price of OSI Securities in
 25
      violation of Section 10(b) of the Exchange Act, and Rule 10b-5 promulgated
 26
      thereunder.
 27
 28
      CONSOLIDATED CLASS ACTION COMPLAINT                                                124
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  1         348. Defendants employed devices, schemes, and artifices to defraud while in
  2   possession of material adverse nonpublic information and engaged in acts, practices,
  3   and a course of conduct as alleged herein in an effort to assure investors of OSI’s
  4   value and performance, which included the making of untrue statements of material
  5   facts and omitting material facts necessary in order to make their statements, in light
  6   of the circumstances under which they were made, not misleading, as set forth more
  7   particularly herein. Defendants did not have a reasonable basis for their alleged false
  8   statements and engaged in transactions, practices, and a course of business, which
  9   operated as a fraud and deceit upon the purchasers of OSI Securities during the Class
 10   Period.
 11         349. Defendants are liable for all materially false and misleading statements
 12   and omissions made during the Class Period, as alleged above, including the false
 13   and misleading statements and omissions included in press releases, conference calls,
 14   SEC filings, news media, blogs, and OSI’s website.
 15         350. Defendants are further liable for the false and misleading statements
 16   made by OSI’s officers, management, and agents in press releases, conference calls,
 17   conferences with investors and analysts, news media, blog reports, and OSI’s
 18   website, as alleged above, as they either made or controlled such statements and had
 19   ultimate authority and responsibility for the contents thereof.
 20         351. Defendants’ material misrepresentations and/or omissions were done
 21   knowingly or with recklessness, and without a reasonable basis, for the purpose and
 22   effect of concealing from the investing public the relevant truth, and misstating the
 23   intrinsic value of OSI Securities.     By concealing material facts from investors,
 24   Defendants maintained the Company’s artificially inflated securities prices
 25   throughout the Class Period.
 26         352. Without knowledge of the fact that the price of OSI Securities was
 27   artificially inflated, and relying directly or indirectly on the false and misleading
 28
      CONSOLIDATED CLASS ACTION COMPLAINT                                           125
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  1   statements and omissions made by Defendants, or upon the integrity of the market in
  2   which the securities trade, and/or on the absence of material adverse information that
  3   was known to or recklessly disregarded by Defendants but not disclosed in public
  4   statements by Defendants during the Class Period, Plaintiffs and the other members
  5   of the Class purchased or acquired OSI Securities during the Class Period at
  6   artificially high prices and were damaged when that artificial inflation was removed
  7   from the price of OSI Securities.
  8         353. At the time of said misrepresentations and omissions, Plaintiffs and
  9   other members of the Class were ignorant of their falsity, and believed them to be
 10   true. Had Plaintiffs, the other members of the Class, and the marketplace known of
 11   the truth concerning the Company’s conduct and the intrinsic value of OSI Securities,
 12   Plaintiffs and other members of the Class would not have purchased or acquired their
 13   OSI Securities, or, if they had purchased or acquired such securities during the Class
 14   Period, they would not have done so at the artificially inflated prices they paid.
 15         354. By virtue of the foregoing, Defendants have violated Section 10(b) of
 16   the Exchange Act and Rule 10b-5 promulgated thereunder.
 17         355. As a direct and proximate result of Defendants’ wrongful conduct,
 18   Plaintiffs and the other members of the Class suffered damages in connection with
 19   their respective purchases and/or acquisitions of OSI Securities during the Class
 20   Period.
 21                                         COUNT II
 22               Asserted Against the Individual Defendants for Violations
                   of Section 20(a) of the Securities Exchange Act of 1934
 23
 24         287. Plaintiffs repeat and reallege each and every allegation contained above
 25   as if fully set forth herein. This Count is brought pursuant to Section 20(a) of the
 26   Exchange Act, 15 U.S.C. § 78t(a), on behalf of Plaintiff and all other members of the
 27   Class against the Individual Defendants.
 28
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  1         288. At all relevant times during the Class Period, as set forth in Section
  2   III.B.2, supra, Chopra was the Company’s CEO and a member of the Company’s
  3   Board of Directors; Edrick was the Company’s CFO; and Mehra was an Executive
  4   Vice President of OSI, and a member of the Company’s Board of Directors. As such,
  5   the Individual Defendants had regular access to non-public information about OSI’s
  6   business, operations, performance, and future prospects through access to internal
  7   corporate documents and information, conversations, and connections with other
  8   corporate officers and employees, attendance at management meetings and meetings
  9   of the Company’s Board and committees thereof, as well as reports and other
 10   information provided to them in connection therewith.
 11         289. The Individual Defendants acted as controlling persons of OSI and the
 12   other Individual Defendants within the meaning of 20(a) of the Exchange Act as
 13   alleged herein, as they possessed direct or indirect power to direct or cause the
 14   direction of the management and the policies of the Company and persons who
 15   engaged in the unlawful conduct complained of herein in violation of Section 10(b).
 16   Due to their control, the Individual Defendants are jointly and severally liable for any
 17   false and misleading statements, omissions, or conduct alleged herein that are
 18   attributable to OSI or other person they controlled.
 19         290. The Individual Defendants were provided with or had unlimited access
 20   to copies of the Company’s reports, press releases, public filings and other statements
 21   alleged by Plaintiffs to be misleading prior to and/or shortly after these statements
 22   were issued and had the ability to prevent the issuance of the statements or cause the
 23   statements to be corrected.
 24         291. In particular, each of these Individual Defendants had direct and
 25   supervisory involvement in and control of the day-to-day operations of the Company
 26   and, therefore, is presumed to have had the power to control or influence the
 27
 28
      CONSOLIDATED CLASS ACTION COMPLAINT                                           127
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  1   particular conduct and transactions giving rise to the securities violations as alleged
  2   herein, and exercised the same.
  3         292. As set forth above, OSI and the Individual Defendants each violated
  4   Section 10(b) and Rule 10b-5 by their acts, statements and omissions as alleged in
  5   this Complaint. By virtue of their positions as controlling persons, the Individual
  6   Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and
  7   proximate result of Defendants’ wrongful conduct, Plaintiffs and other members of
  8   the Class suffered damages in connection with their purchases of OSI Securities
  9   during the Class Period.
 10
            PRAYER FOR RELIEF
 11
            WHEREFORE, Plaintiffs pray for judgment as follows:
 12
            A.     Declaring this action to be a proper class action pursuant to Rule 23 of
 13
      the Federal Rules of Civil Procedure;
 14
            B.     Awarding Plaintiffs and the members of the Class damages and interest
 15
      thereon;
 16
            C.     Awarding Plaintiffs and the Class’s reasonable costs, including
 17
      attorneys’ and experts’ fees; and
 18
            D.     Awarding such equitable, injunctive or other relief that the Court may
 19
      deem just and proper.
 20
 21         JURY DEMAND

 22         Plaintiffs demand a trial by jury.
 23
 24   DATED: May 4, 2018                      Respectfully submitted,
 25
                                              KESSLER TOPAZ
 26                                            MELTZER & CHECK, LLP
 27
                                              /s/ Eli R. Greenstein
 28
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